Exhibit A
                                                     September II, 2000



VIA HAND DELIVERY

Mr. Larry Forgione
An American Place, LLC

Mr. Terrance Brennan
Artisinal, Fromagerie & Bistro, 'LLC

RE:      ARTISINAL, FROMAGERIE & BISTRO, LLC
         AN AMERICAN PLACE, LLC
         TWO PARK A VENUE- PT. BASEMENT, MEZZANINE & GRND FLR
         LEASE AGBEEMENI/SURRENDER AGREEMENT

Dear Gentlemen:

      Enclosed please find one (1) fully executed counterpart of the above referenced
agreement.

        Please acknowledge receipt by signing and returning this letter to my office. A
self-addressed stamped envelope is enclosed for your convenience.

                                                    Very truly yours,




ACKNOWLEDGED AND RECEIVED:

       Agreements were taken at closing.
BY: _ _ _ _ _ _ _ _ _ __

cc:   vBObBurns
       Lynn Rose
       David Perl
       Kammie M. Gormezano, Esq.


DEG:ja
Encis.
                           .-.~-




                                    AGREEMENT OF LEASE

                                            between



                                    TWO PARK COMPANY

                                            Landlord

                                              and


                         ARTISANAL, FRO MAG ERIE & BISTRO, LLC

                                             Tenant



                      Portions of the basement, mezzanine and ground floors
                                         Two Park Avenue
                                       New York, New York


                                      Proskauer Rose LLP
                                        1585 Broadway
                                   New York, New York 10036




3949/75979-010 NYLIB1/1202597 v6                                        09/07/00 02:32PM (160681
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                                   TABLE OF CONTENTS

DEFINffiONS ...••.........•••..........•. , ............••......•.....•....... 1

ARTICLE I       DEMISE. PREMISES. TERM. RENT .............•..........•......•. 9

ARTICLE2        USE AND OCCUPANCY .......................................... 10

ARTICLE 3       ALTERATIONS ................................................. 12

ARTICLE 4       REPAIRS-FLOOR LOAD .......................................... 16

ARTICLE 5       WINDOW CLEANING ............... ~ ............................ 19

ARTICLE 6       REQUIREMENTS OF LAW ........................................ 19

ARTICLE 7       SUBORDINATION ............................................... 20

ARTICLE 8       RULES AND REGULATIONS ..................................... 23

ARTICLE 9       INSURANCE. PROPERTY LOSS OR DAMAGE; REIMBURSEMENT .... 24

ARTICLE 10 DESTRUCTION-FIRE OR OTHER CAUSE ........................... 27

ARTICLE II EMINENT DOMAIN ............................................. 29

ARTICLE 12 ASSIGNMENT. SUBLETTING. MORTGAGE. ETC ............••...... 31

ARTICLE 13 ELECTRICITY .................................................• 42

ARTICLE 14 ACCESS TO PREMISES .......................................... 45

ARTICLE 15 CERTIFICATE OF OCCUPANCY .................................. 46

ARTICLE 16 DEFAULT .................................................•••.• 47

ARTICLE 17 REMEDIES AND DAMAGES ...............•..............•....... 50

ARTICLE 18 LANDLORD FEES AND EXPENSES ..................•............. 52

ARTICLE 19 NO REPRESENTATIONS BY LANDLORD .......................... 53

ARTICLE 20 END OF TERM ...........•..............•.......•...........•... 53

ARTICLE 21 QUIET ENJOYMENT .........................................•... 54
3949/75979·010 NYL!Bt/1202597 v6                              09/07/00 02:32PM (16068)
                                                                                            I   i
                          /--.




 ARTICLE 22 FAILURE TO GIVE POSSESSION .................................. 54

 ARTICLE 23 NO WAIVER .•........•..........•.............................. 55

 ARTICLE24 WAIVEROFTRIALBYJURY ..................................... 56

 ARTICLE 25 INABILITY TO PERFORM .................................•...... 56

 ARTICLE 26 BILLS AND NOTICES ............................................ 56

ARTICLE 27 ESCALATION ...........................................•....... 57

ARTICLE 28 SERVICES ...................................................... 64

ARTICLE 29• PARTNERSHIP TENANT ......................................... 65

ARTICLE 30 VAULT SPACE .................................................. 66

ARTICLE 31 SECURITY ..................................................... 66

ARTICLE 32 CAPTIONS ..................................................... 68

ARTICLE 33 PARTIES BOUND ............................................... 68

ARTICLE 34 BROKER ....................................................... 68

ARTICLE 35 INDEMNITY .................................................... 69

ARTICLE 36 ADJACENT EXCAVATION-SHORING .............................. 69 ·

ARTICLE 37 MISCELLANEOUS .............................................. 70

ARTICLE38 RENT CONTROL ................................................ 72

ARTICLE 39 TENANT'S SIGNS ............................................... 73

•ARTICLE 40 CONTINUOUS OPERATION ........•. , ..............•............ 73

ARTICLE 41 OPERATING COVENANTS ....................................... 75

Schedule A             - Rules and Regulations
EXHIBIT "A" -          - Floor Plan of the Premises
EXHIBIT"B"             - List of Contractors Approved in Connection with the Initial Alterations
EXHIBIT"C"             -Tenant's Projected Start-Up and Capital Expenditures

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       AGREEMENT OF LEASE, made as of the             8~ day of September, 2000, between
Landlord and Tenant


                                      WITNESSETH:

       The parties hereto, for themselves, their legal representatives, successors and assigns,
hereby covenant as follows.


                                          DEFINITIONS

       "Affiliate" shall mean a Person which shall(!) Control, (2) be under the Control of, or (3)
be under common Control with the Person in question.     ·

        "Alteration Fee" shall have the meaning set forth in Section 3.2 hereof.

       "Alterations" shall mean alterations, installations, improvements, additions or other
physical changes (other than decorations) in or about the Premises.

        "American" shall have the meaning set forth in Section 12.9(A) hereof.

        "American Fixture Costs" shall have the meaning set forth in Section 12.9(A) hereof.

        "Annual Statement" shall have the meaning set forth in Section 27.6 hereof.

        "Applicable Rate" shall mean the lesser of (x) two (2) percentage points above the then
current Base Rate, and (y) the maximum rate permitted by applicable law.

        "Assessed Valuation" shall have the meaning set forth in Section 27.1 hereof.

        "Assignment Criteria" shall have the meaning set forth in Section 12.8(A) hereof.

        "Assignment Proceeds" shall have the meaning set forth in Section 12.9(B) hereof.

        "Assignment Statement" shall have the meaning set forth in Section 12.8(C) hereof.

        "Assignment Rent" shall have the meaning set forth in Section 12.8(E) hereof.

        "Assignment Termination" shall have the meaning set forth in Section 12.8(C) hereof.




3949175979-010 NYLIB1 11202597 v6                1                         09/07/00 02:32 PM !16068)
        "Bankruptcy Code'',shall mean II U.S.C. Section 101 et seq., or any statute of similar
nature and purpose.

        "Base Rate" shall mean the rate cif interest publicly announced from time to time by The
Chase Manhattan Bank, N.A., or its successor, as its "prime lending rate" (or such other term as
may be used by The Chase Manhattan Bank, N.A., from time to time, for the rate presently
referred to as its "prime lending rate"), which rate was 9.00% on May 16,2000.

        "Base Taxes" shall have the meaning set forth in Section 27.1 hereof.

        "Brennan" shall have the meaning set forth in Section 42.3 hereof.

        "Broker" shall have the meaning set forth in Article 34 hereof.

        "Building" shall mean all the buildings, equipment and other improvements and
appurtenances of every kind and description now located or hereafter erected, constructed or
placed upon the land and any and all alterations, and replacements thereof, additions thereto and
substitutions therefor, known by the address of Two Park Avenue, New York, New York.

        "Building Svstems" shall mean the curtain wall or the mechanical, gas, electrical,
sanitary, heating, air conditioning, ventilating, elevator, plumbing, life-safety and other service
systems of the Building.

        "Business Davs" shall mean all days, excluding Saturdays, Sundays and all days observed
by either the State of New York or the Federal Goverrunent and by the labor unions servicing the
Building as legal holidays.

        "Commencement Date" shall have the meaning set forth in Section 1.1 hereof.

        "Control" or "control" shall mean the direct or indirect ownership of more than fifty
percent (50%) of the outstanding voting stock of a corporation or other majority equity and
control interest if not a corporation and the possession of power, directly or indirectly, to direct or
cause the direction of the management and policy of such corporation or other entity, whether
through the ownership of voting securities, by statute or according to the provisions of a contract.

        "Deficiencv" shall have the meaning set forth in Section 17.2 hereof.

        "Electricitv Additional Rent" shall have the meaning set forth in Section 13.2 hereof.

       "Electricitv Fee" shall have the meaning set forth in Section 13.3 hereof.

        "Electricitv Inclusion Charge" shall have the meaning set forth in Section 13.3 hereof.



3949/75979·010 NYLIB1/1202597 v6                  2                           09/07100 02:32PM !16068)
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        "Escalation Rent" shall mean, individually or collectively, the Tax Payment and the
 Percentage Rent.

        "Escrow Agent" shall have the meaning set forth in Section 12.8(A) hereof.

        "Escrow Agreement" shall have the meaning set forth in Section 12.8(A) hereof.

        "Existing Tenant" shall have the meaning set forth in Section 22.2 hereof.

        "Event of Default" shall have the meaning set forth in Section I6J hereof.

       "Expiration Date" ,;hall mean the Fixed Expiration Date or such earlier date on which the
Term shall sooner end pursuant to any of the terms, conditions or covenants ofthis Lease or
pursuant to law.

        "1st Rental Period" shall have the meaning set forth in Section I .I hereof.

       "l st Security Period" shall mean the period commencing on the Commencement Date and
ending on the day immediately preceding the fifth (5th) anniversary of the Commencement Date.

        "Fixed Expiration Date" shall have the meaning set forth in Section 1. I hereof.

        "Fixed Rent" shall have the meaning set forth in Section 1.1 hereof.

        "Governmental Authority (Authorities)" shall mean the United States of America, the
State of New York, the City ofNew York, any political subdivision thereof and any agency,
department, commission, board, bureau or instrumentality of any of the foregoing, or any
quasi-governmental authority, now existing or hereafter created, having jurisdiction over the Real
Property or any portion thereof.

        "Gross Sales" shall have the meaning set forth in Section 27.1 hereof.

        "HVAC" shall mean heat, ventilation and air conditioning.

        "HV AC Systems" shall mean the Building Systems providing HVAC.

         "Indemnitees" shall mean Landlord, the members and partners comprising Landlord and
its and their members, partners, shareholders, officers, directors, employees, agents and
contractors, Lessors and Mortgagees.

       "Initial Alterations" shall mean the Alterations to be made by Tenant to initially prepare
the Premises for Tenant's occupancy.



3949/75979·010 NYLI81/1202597 v6                 3                          09/07/00 02:32PM (16068)
                           ,.c.-'";\




        "Landlord", on the date as of which this Lease is made, shall mean Two Park Company, a
New York limited partnership having an office c/o MRC Management LLC, 330 Madison
Avenue, New York, New York 10017, but thereafter, "Landlord" shall mean only the fee owner
of the Real Property or if there shall exist a Superior Lease, the tenant thereunder.

          "Landlord's Assignment Payment" shall have the meaning set forth in Section 12.9(A)
hereof:

          "Lessor(s)" shall mean a lessor under a Superior Lease.

          "Letter of Credit" shall have the meaning set forth in Article 31 hereof.

        "Long Lead Work" shall mean any item which is not a stock item and must be specially
manufactured, fabricated or installed or is of such an unusual, delicate or fragile nature that there
is a substantial risk that

                 (i) there will be a delay in its manufacture, fabrication, delivery or installation, or

                 (ii) after delivery, such item will need to be reshipped or redelivered or repaired

so that in Landl~rd's reasonable judgment the item in question cannot be completed when the
standard items are completed even though the item of Long Lead Work in question is (I) ordered
together with the other items required and (2) installed or performed (after the manufacture or
fabrication thereof) in the order and sequence that such Long Lead Work and other items are
normally installed or performed in accordance with good construction practice. In addition,
"Long Lead Work" shall include any standard item which in accordance with good construction
practice should be completed after the completion of any item of work in the nature of the items
described in the immediately preceding sentence.

          "Merchandise" shal! have the meaning set forth in Section 27.1 hereof.

        "Mortgage(s)" shall mean any trust indenture or mortgage which may now or hereafter
affect the Real Property, the Building or any Superior Lease and the leasehold interest created
thereby, and all renewals, extensions, supplements, amendments, modifications, consolidations
and replacements thereof or thereto, substitutions therefor, and advances made thereunder.

          "Morteagee(s)" shall mean any trustee, mortgagee or holder of a Mortgage.

        '"Net Assignment Proceeds" shall have the meaning set forth in Section 12.9(A) hereof.

       "Non-Compliance Date" shall have the meaning set forth in Section 12.8(A) hereof.




3949175979-010 NYL!Sl/1202597 v6                   4                           09/07/00 02,32 PM {16068}
       "Operation of the Property" shall mean the maintenance, repair and management of the
Real Property and the curbs, sidewalks and areas adjacent thereto.

          "Operator" shall have the meaning set forth in Section 42.3 hereof.

          "Operator Services" shall have the meaning set faith in Section 42.3 hereof.

          "Overtime Periods" shall have the meaning set forth in Section 28.3 hereof.

          "Parties" shall have the meaning set forth in Section 37.2 hereof.

       "Partner" or "partner" shall mean any partner of Tenant, any employee of a professional
corporation which is a partner comprising Tenant, and any shareholder of Tenant if Tenant shall
become a professional corporation.

          "Partnershij? Tenant" shall have the meaning set forth in Article 29 hereof.

          "Percentage Rent" shall have the meaning set forth in Section 27.5 hereof.

          "Percentage Rent Threshold Amount" shall have the meaning set forth in Section 27.5
hereof.

       "Person(s) or person(s)" shall mean any natural person or persons, a partnership, a
corporation and any other form of business or legal association or entity.

        "Premises" shall mean, subject to the provisions of Section 14.4 hereof, the portions of
the basement, mezzanine and ground floors of the Building as set forth on the floor plans
attached hereto and made a part hereof as Exhibit "A".

          "Projected Budget" shall have the meaning set forth in Section 12.9(A) hereof.

          "Qualified Purchaser" shall have the meaning setforth in Section 12.8(A) hereof.

          "Real Propertv" shall mean the Building, together with the plot efland upon-~ch it
stands.

          "Recapture S9ace" shall have the meaning set forth in Section 12.6 hereof.

          "Recapture Sublease" shall have the meaning set forth in Section 12.6 hereof.

          "Rent Notice" shall have the meaning set forth in Section 39.3 hereof.




3949/75979·01 0 NYUB1 /1202597 v6                  5                           09107100 02:32 PM (16068)
        "Rental" shall mean and be deemed to include Fixed Reri~ Escalation Rent, all additional
rent and any other sums payable by Tenant hereunder.

        "Rental Period" shall mean the I st Rental Period, the 2nd Rental Period, or the 3rd Rental
Period, as the case may be.

        "Requirements" shall mean all present and future laws, rules, orders, ordinances,
regulations, statutes, requirements, codes and executive orders, extraordinary as well as qrdinary,
of all Governmental Authorities now existing or hereafter created, and of any and all of their
departments and bureaus, and of any applicable fire rating bureau, or other body exercising
similar funqions, affecting the Real Property or any portion thereof, or any street, avenue or
side\valk comprising a part of or in front thereof or any vault in or under the same, or requiring
removal of any encroachment, or affecting the maintenance, use or occupation of the Real
Property or any portion thereof.

          "Routine Assignment" shall have the meaning set forth in Section 12.8(B) hereof.

        "Rules and Regulations" shall mean the rules and regulations annexed hereto and made a
part hereof as Schedule A, and such other and further rules and regulations as Landlord or
Landlord's agents may from time to time adopt on such notice to be given as Landlord may elect,
subject to Tenant's right to dispute the reasonableness thereof as provided in Article 8 hereof.

          '"Sale of Business Assignment" shall have the meaning set forth in Section 12.8(A)
hereof.

          "'Sale of Business Escrow" shall have the meaning set forth in Section 12.8(A) hereof.

          "Sales Year" shall have the meaning set forth in Section 27.5 hereof.

          "Securitv Agreement" shall have the meaning set forth in Section 3.1 hereof.

          "2nd Rental Period·" shall have the meaning set forth in Section 1.1 hereof.

       "2nd Securitv Period" shall mean the period commencing on the fifth (5th) anniversary of
the Commencement Date and ending on the day immediately preceding the tenth (lOth)
anniversary of the Commencement Date.

          "Securitv Amount" shall mean:

                 (i)     One Hundred Thousand Dollars ($100,000) during the 1st Security Period;

                 (ii)    Seventy-Five Thousand Dollars ($75,000) during the 2nd Security Period;
and


3949175979-010 NYLIB111202597 v6                   6                         09107100 02:32PM (16068)
                  (iii) · Fifty Thousand Dollars ($50,000) during the 3rd Security Period.

       "Space Factor" shall mean Nine Thousand (9,000) as the same may be increased or
decreased pursuant to the terms hereof.

        "Specialty Alterations" shall mean Alterations consisting of kitchens, executive
bathrooms, raised computer floors, computer installations, raised walkways, storefronts,
escalators, vaults, libraries, internal staircases, dumbwaiters, pneumatic tubes, vertical and
horizontal transportation systems, and other Alterations of a similar character.

          "Sublease Termination Date" shall have the meaning set forth in Section 12.6 hereof.

       "Superior Lease{s)" shall mean all ground or underlying leases of the Real Property or the
Building and all renewals, extensions, supplements, amendments and modifications thereof.

          "System" shall have the meaning set forth in Section 27.7 hereof.

          "Taxes" shall have the meaning set forth in Section 27.1 hereof.

          "Tax Payment" shall have the meaning set forth in Section 27.2 hereof.

          "Tax Statement" shall have the meaning set forth in Section 27.1 hereof.

          "Tax Year" shall have the meaning set forth in Section 27.1 hereof.

        "Tenant" on the date as of which this Lease is made, shall mean Artisanal, Fromagerie &
Bistro, LLC, a New York limited liability company having an office at c/o Picholine, 35 West
64'h Street, New York, New York !0023, but thereafter "Tenant" shall mean only the tenant
under this Lease at the time in question; provided, however, that the originally named tenant and
any assignee of this Lease shall not be released from liability hereunder in the event of any
assignment of this Lease.

          "Tenant Statement" shall have the meaning set forth in Section 12.6 hereof.

          "Tenant's Assignment Payment" shall have the meaning set forth in Section 12.9(A)
hereof.

          "Tenant's Cost Statement" shall have the meaning set forth in Section 12.9(A) hereof.

        ''Tenant's Prooertv" shall mean Tenant's movable fixtures and movable partitions,
telephone and other equipment, furniture, furnishings, decorations, cash registers and other items
of personal property.



3949175979·010 NYLIB1/1202597 v6                  7                           09/07100 02:32PM (16068)
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       "Tenant's Share" shall mean One percent (!.00%) as the same may be increased or
decreased pursuant to the terms hereof.

        "Term" shall mean a term which shall commence on the Commencement Date and shall
expire on the Expiration Date.

        "3rd Rental Period" shall have the meaning set forth in Section 1.1 hereof.

        "3rd Securitv Period" shall mean the period commencing on the tenth (lOth) anniversary
of the Commencement Date and ending on the Fixed Expiration Date.

        "Three Month Average" shall have the meaning set forth in Section 13.3 hereof.

       "Unamortized Improvement Pavment" shall have the meaning set forth in Section
12.9(A) hereof.

        "Unavoidable Delays" shall have the meaning set forth in Article 25 hereof.




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                                             ARTICLE I
                                   DEMISE. PREMISES. TERM. RENT


         Section 1.1. Landlord hereby leases to Tenant and Tenant hereby hires from Landlord the
 Premises for the Term to commence on the date (the "Commencement Date") on which Landlord
 shall deliver possession of the Premises to Tenant and to end on the date (the "Fixed Expiration
 Date") which is the last· day of the month in which the fifteenth (15th) anniversary of the
 Commencement Date shall occur, at an annual rent (the "Fixed Rent") of:

                       (I)     Three Hundred Thousand Dollars ($300,000) ~ amium during the
period (the "1st Rental Period") commencing on the Commencement Date and ending on the day
immediately preceding the fifth (5th) anniversary of the Commencement Date, or if the
Commencement Date shall occur other than on the first day of the month, ending on the last day
of the month in which the fifth (5th) anniversary of the Commencement Date occurs ($25,000
per month),

                        (2)     Three Hundred Seventy-Two Thousand Dollars ($372,000) ~
 annum during the period (the "2nd Rental Period") commencing on the day next succeeding the
·end of the 1st Rental Period and ending on the day immediately preceding the tenth (lOth)
 anniversary of the Commencement Date, or if the Commencement Date shall occur other than on
 the first day of the month, ending on the last day of the month in which the tenth (1Oth)
 anniversary of the Commencement Date occurs ($31,000 per month), and

                      (3)     Four Hundred Thirty-Two Thousand Dollars ($432,000) ~
annum during the period (the "3rd Rental Period") commencing on the day next succeeding the
end of the 2nd Rental Period and ending on the Fixed Expiration Date ($36,000 per month),

which Tenant agrees to pay in lawful money of the United States which shall be legal tender in
payment of all debts and dues, public and private, at the time of payment, in equal monthly
installments in advance, on the first (1st) day of each calendar month during the Term
commencing on the Commencement Date, at the office of Landlord or such other place as
Landlord may designate, without any set-off, offset, abatement or deduction whatsoever, except
that Tenant shall pay the first full monthly installment on the execution hereof. At the request of
Landlord, Fixed Rent shall be payable when due by wire transfer of funds to an account
designated from time to time by Landlord.

        Section 1.2. (A) If the Commencement Date shall occur other than on the first (1") day
of any calendar month, then, on the Commencement Date, Tenant shall pay to Landlord an
amount equal to Eight Hundred Thirty-Three and 331100 Dollars ($833.33), multiplied by the
number of calendar days in the period from the Commencement Date to the last day of the month
in which the Commencement Date occurs, both dates inclusive.


3949175979-010 NYLIB1/1202597 v6                9                          09/07/00 02:32 PM (16068)
               (B) Tenant shall be entitled to a credit against Fixed Rent in an amount equal to
Nine Thousand Six Hundred Ninety-Seven and 04/100 Dollars ($9,697.04) per month during the
period commencing on the Commencement Date and ending on the date which is six (6) calendar
months after the Commencement Date, provided that (x) no Event of Default shall have occurred
and be continuing on the date(s) upon which the foregoing credit is to be applied, and (y)
Artisanal, Fromagerie & Bistro, LLC is then occupying the entire Premises.

               (C) If the Commencement Date shall occur on a date other than the first(!") day
of any calendar month, then the credit against Fixed Rent for the first (I'~ monthly installment of
Fixed Rent accruing hereunder shall be an amount equal to Three Hundred Twenty-Three and
23/I 00 Dollars ($323.23), multiplied by the number of calendar days in the period from the
Commencement Date to the last day of the month in which the Commencement Date shall occur,
both dates inclusive.

       Section 1.3. In addition to the payment required pursuant to Section 1.1 hereof,
simultaneously with the execution hereof, Tenant shall pay to Landlord, by certified check, an
amount equal to Sixteen Thousand One Hundred Seven and 501100 Dollars ($16,107.50)
pursuant to an agreement between Landlord and Tenant.


                                          ARTICLE2
                                     USE AND OCCUPANCY

        Section 2. I. (A) Tenant shall use and occupy the Premises solely as a first class
restaurant for the table service of first class quality cuisine and, if Tenant shall so elect, as a bar
for the sale for on-premises consumption only of fine quality beer, wines and spirits, provided,
however, that Tenant shall be permitted to operate a bar in the Premises only as an incidental use
to the use hereinbefore specified and in no event as a primary use of the same, and for no other
purpose. Tenant shall use and occupy the Premises during the Term as a dignified first-class
restaurant establishment in a high grade and reputable manner which shall not detract from the
character, appearance or dignity of the Building. Tenant shall not use or permit the use of the
Premises or any part thereof (i) in any way which would violate any of the covenants,
agreements. terms, provisions and conditions of this Lease, (ii) for any unlawful purposes or in
any unlawful manner, or (iii) in violation of the certificate of occupancy for the Premises or the
Building.                        ·

                (B)     If any governmental license or permit shall be required for the proper and
lawful conduct of Tenant's business in the Premises or any part thereof (including, without
limitation, a food service permit and/or a liquor license), Tenant, at its expense, shall duly
procure, and thereafter maintain, such license or permit and submit the same for inspection by
Landlord. Upon request by Tenant, Landlord, at Tenant's cost and expense, shall join in any
application for such food service permit and/or liquor license required to be obtained by Tenant


3949175979-010 NYLIB1/1202597 v6                  10                          09/07/00 02:32 PM ( 16068)
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(provided that the provisions of the applicable Requirement shall require that Landlord join in
such application) and shall otherwise cooperate with Tenant in connection therewith, provided
that Landlord shall not be obligated to incur any cost or expense, including, without limitation,
attorneys' fees and disbursements, or suffer any liability in connection therewith.

                 (C)     Tenant shall operate its business in the Premises during the Term under
the name "Artisanal", or any other name, provided that (i) such other name is used in connection
with a first class restaurant establishment in accordance with this Lease, and (ii) Tenant gives
Landlord at least ninety (90) days prior notice of such name change. Tenant covenants to open
for business on or before March I, 2000, and to be open for business to the general public at least
five (5) days per week for lunch and atleast six (6) days per week for dinner, at least during the
hours of 11:30 A.M. and ll :30 P.M. on such days, except that on the day on which Tenant does
not serve lunch, Tenant shall be open at least during the hours of5:30 P.M and I 1:30 P.M.

        Section 2.2. (A) Tenant shall not use the Premises or any part thereof, or permit the
Premises or any part thereofto be used, (1) to conduct or permit any fire, auction, going-out-of-
business or bankruptcy sale, (2) to engage in any unethical method of business operation, (3) as a
so-called "discount house" or for a "cut rate" or "discount" type of business, (4) to sell or display
for sale any pornographic or obscene material, (5) to sell tickets for lotteries, games of chance or
otherwise permit the Premises to be used for gambling, (6) to distribute or permit to be
distributed handbills or other matter to persons or customers outside the Premises, or (7) by the
United States government, the City or State ofNew York, any foreign government, the United
Nations or any agency or department of any of the foregoing. Tenant shall not use or permit to
be used the sidewalks or other space outside the Premises for any display, sale or similar
undertaking, or storage or use or permit to be used any loudspeaker, phonograph or other sound
system or advertising device which may be heard outside the Premises. Nothing contained in this
Section 2.2. shall prevent Tenant from providing outdoor seating for Tenant's restaurant,
provided that Tenant (i)'obtains Landlord's prior consent for such outdoor seating, and (ii)
obtains all applicable permits and licenses and complies with all applicable Requirements in
connection therewith. Nothing contained herein shall prevent Tenant from catering food outside
of the Premises, provided that all monies received in connection with such outside catering are
included in Gross Sales for the purpose of calculating Percentage Rent pursuant to Article 27
hereof.

                (B) Tenant acknowledges that Landlord may suffer irreparable harm by reason of
a breach or threatened breach of the provisions of this Article 2 and, accordingly, Landlord, in
addition to any other remedy that Landlord shall have under this Lease or permitted by law, shall
be entitled to seek the relief of a court of competent jurisdiction to enjoin the action, activity or
inaction that gives rise to, or may give rise to, such breach or threatened
                                                                  I
                                                                            breach by Tenant.




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                                           ARTICLE3
                                          ALTERATIONS

         Section 3. I. (A) Tenant shall not make any Alterations without Landlord's prior consent.
 Landlord shall not unreasonably withhold or delay its consent to any proposed nonstructural
Alterations, provided that such Alterations (i) do not affect any part of the Building other than the
Premises or require any alterations, installations, improvements, additions or other physical
changes to be performed in or made to any portion of the Building or the Real Property other
than the Premises, (ii) do not affect any service required to be furnished by Landlord to Tenant or
to any other tenant or occupant of the Building, (iii) do not affect the proper functioning of any
Building System, (iv) do not reduce the value or utility of the Building, and (v) do not violate the
certificate of occupancy for the Building or the Premises, provided that Tenant, at Tenant's sole
cost and expense and with Landlord's consent (which consent shall not be unreasonably withheld
in accordance with this Section 3.1 ), may apply for an amendment to the existing certificate of
occupancy which would permit any such Alterations, provided further that any such change to
the certificate of occupancy shall not affect any portion of the Building outside of the Premises.
Landlord shall not be deemed to be unreasonable with respect to withholding its consent to any
proposed nonstructural Alteration which meets the criteria set forth in this Section 3.l(A) if the
Lessor or Mortgagee, as the case may be, shall withhold its consent.

                 (B) (1) Prior to making any Alterations, including, without limitation, the Initial
Alterations. Tenant shall (i) submit to Landlord detailed plans and specifications (including
 layout. architectural, mechanical and structural drawings) for each proposed Alteration and shall
 not commence any such Alteration without first obtaining Landlord's approval of such plans and
specifications which, in the case of nonstructural Alterations which meet the criteria set forth in
Section 3.l(A) above, shall not be unreasonably withheld or deh1yed, (ii) at Tenant's expense,
obtain all permits, approvals and certificates required by any Governrnental Authorities, it being
agreed that all filings with Governrnental Authorities to obtain such permits, approvals and
certificates shall be made, at Tenant's expense, by a Person designated by Landlord, provided the
rates of such Person shall be commercially competitive (it being agreed that the Person so
designated as ofthe date hereof is Charles Rizzo of Charles Rizzo Co., Inc., II Penn Plaza, New
York~ New York), and (iii) furnish to Landlord duplicate original policies or certificates thereof
of worker's compensation (covering all persons to be employed by Tenant, and Tenant's
contractors and subcontractors in connection with such Alteration) and comprehensive public
liability (including property damage coverage) insurance in such form, with such companies, for
such periods and in such amounts as Landlord may reasonably approve, naming Landlord and its
agents, any Lessor and any Mortgagee, as additional insureds. Upon completion ofsuch
Alteration, Tenant, at Tenant's expense, shall obtain certificates of final approval of such Altera-
tion required by any Governmental Authority and shall furnish Landlord with copies thereof,
together with the "as-built" plans and specifications for such Alterations, it being agreed that all
filings with Governmental Authorities to obtain such permits, approvals and certificates shall be
made. at Tenant's expense, by a Person designated by Landlord, provided the rates of such Person
shall be commercially competitive (it being agreed that the Person so designated as of the date


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 hereof is Charles Rizzo of Charles Rizzo Co., Inc., 11 Penn Plaza, New York, New York). All
 Alterations shall be made and performed substantially in accordance with the plans and
 specifications therefor as approved by Landlord, all Requirements, the Rules and Regulations,
 and all reasonable rules and regulations relating to Alterations promulgated by Landlord in its
 reasonable judgment. All materials and equipment to be incorporated in the Premises as a result
 of any Alterations or a part thereof shall be first quality and no such materials or equipment
 (other than Tenant's Property, kitchen equipment and other moveable trade fixtures) shall be
 subject to any lien, encumbrance, chattel mortgage or title retention or security agreement. In
 addition, no Alteration (except with respect to (x) non-structural alterations in accordance with
 Section 3.1 hereof and (y) structural alterations at a cost for labor and materials, as reasonably
estimated by Landlord's architect, engineer or contractor, of not more than Three Hundred Fifty
Thousand Dollars ($350,000) in the aggregate) shall be undertaken prior to Tenant's delivering to
 Landlord either (i) a performance bond and labor and materials payment bond (issued by a surety
company and in form reasonably satisfactory to Landlord), each in an amount equal to one
hundred ten percent ( 110%) of the cost of such Alteration (as reasonably estimated by Landlord's
architect, engineer, or contractor), or (ii) such other security as shall be reasonably satisfactory to
Landlord or required by any Mortgagee or Lessor. If, as a result of any Alterations performed by
Tenant, including, without limitation, the Initial Alterations, any alterations, installations,
improvements, additions or other physical changes are required to be performed or made to any
portion of the Building or the Real Property other than the Premises in order to comply with any
Requirement(s), which alterations, installations, improvements, additions or other physical
changes would not otherwise have had to be performed or made pursuant to applicable
RequLrement(s) at such time, Landlord, at Tenant's sole cost and expense, may perform or make
such alterations, installations, improvements, additions or other physical changes and take such
actions as are reasonably necessary and Tenant, within five (5) days after demand therefor by
Landlord, shall provide Landlord with such security as Landlord shall reasonably require, in an
amount equal to one hundred ten percent (110%) of the cost of such alterations, installations,
improvements, additions or other physical changes, as reasonably estimated by Landlord's
architect, engineer or contractor. All Alteration(s) shall be performed only under the supervision
of an independent licensed architect approved by Landlord, which approval shall not be
unreasonably withheld.

                         (2)     Landlord reserves the right to disapprove any plans and
specifications in part, to reserve approval of items shown thereon pending its review and
approval of other plans and specifications, and to condition its approval upon Tenant making
revisions to the plans and specifications or supplying additional information, which approval by
Landlord shall not be unreasonably withheld in accordance with the provisions of Section 3.1
hereof. Any review or approval by Landlord of any plans and/or specifications or any
preparation or design of any plans by Landlord's architect or engineer (or any architect or
engineer designated by Landlord) with respect to any Alteration is solely for Landlord's benefit,
and without any representation or warranty whatsoever to Tenant or any other Person with
respect to the compliance thereof with any Requirements, the adequacy, correctness or efficiency
thereof or otherwise.


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                         (3)     Tenant covenants and agrees that, except with respect to Tenant!s
  Property, no security agreement, whether by way of conditional sales agreement, chattel
 mortgage or other title retention or instrument of similar import (a "Security Agreement") shall
 be placed upon any improvement made by Tenant which is affixed to the Premises. In the event
 that any of the machinery, fixtures, furniture and equipment installed by Tenant in the Premises
 are purchased or acquired by Tenant subject to a Security Agreement, Tenant undertakes and
 agrees (i) that no Security Agreement or Uniform Commercial Code filing statement shall be
 permitted to be filed as a lien against the Premises, the Building or the Real Property, and (ii) to
 cause to be inserted in any Security Agreement the following provisions: "Notwithstanding
 anything to the, contrary contained herein, this chattel mortgage, conditional sales agreement, title
 retention agreement or security agreement shall not create or be filed as a lien against the land,
 building and improvements comprising the real property in which the goods, machii:tery,
 equipment, appliances or other personal property covered hereby are to be located or installed."
·If any such lien, based on a Security Agreement or Uniform Commercial Code filing statement,
 is filed against the Premises, the Building or the Real Property, Tenant shall, within ten (10) days
 following notice thereof from Landlord, cause such lien or notice to be removed or discharged at
 Tenant's cost and expense, and Tenant's failure to do so shall constitute a breach of a material
 provision of this Lease.

                 (C) Tenant shall be permitted to perform Alterations during the hours of8:00
A.M. to 6:00 P.M. on Business Days and at all other times, provided that (i) such work shall not
interfere with or interrupt the operation and maintenance of the Building or unreaSonably
interfere with or interrupt the use and occupancy of the Building by other tenants in the Building,
and (ii) in the case of work done outside of the hours of 8:00A.M. to 6:00P.M. on Business
Days, Tenant shall reimburse Landlord for any overtime costs incurred in connection with such
work within twenty (20) days after demand therefor. Otherwise, Alterations shall be performed
at such times and in such manner as Landlord may from time to time reasonably designate. All
Tenant's Property installed by Tenant and all Alterations in and to the Premises which may be
made by Tenant at its own cost and expense prior to and during the Term, shall remain the
property of Tenant. Upon the Expiration Date, Tenant shall remove all of Tenant's Property from
the Premises and, at Tenant's option, Tenant also may remove, at Tenant's cost and expense, any
Alterations made by Tenant to the Premises, provided, however, in any case, that Tenant shall
repair and restore in a good and worker! ike manner to good condition any damage to the
Premises or the Building caused by such removal. Notwithstanding the foregoing, however,
Landlord, upon notice given at least thirty (30) days prior to the Fixed Expiration Date or upon
such shorter notice as is reasonable under the circumstances upon the earlier expiration of the
Term. may require Tenant to remove any Alterations, and to repair and restore in a good and
worker! ike manner to good condition any damage to the Premises or the Building caused by such
removal.

                (D)   (I) All Alterations shall be performed, at Tenant's sole cost and expense,
by contractors, subcontractors or mechanics approved by Landlord, which approval shall not be
unreasonably withheld with respect to contractors; subcontractors or mechanics performing


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 Alterations that do not affect any Building System. Prior to making an Alteration, at Tenant's
 request, Landlord shall furnish Tenant with a list of contractors who may perform Alterations to
 the Premises on behalf of Tenant (it being agreed that the list of contractors and subcontractors
 approved by Landlord with respect to the performance of the Initial Alterations is attached hereto
 and made a part hereof as Exhibit"B"). If Tenant engages any contractor set forth on the list,
 Tenant shall not be required to obtain Landlord's consent for such contractor unless, prior to the ·
 earlier of (a) entering into a contract with such contractor, and (b) the commencement of work by
 such contractor, Landlord shall notify Tenant that such contractor has been removed from the list.

                        (2) Notwithstanding the foregoing, with respect to any Alteration
affecting any Building System, (i) Tenant shall select a contractor from a list of apProved
contractors furnished by Landlord to Tenant (containing at least three (3) contractors) and (ii) the·
Alteration shall, at Tenant's cost and expense, be designed by Landlord's engineer for the relevant
Building System.

               (E) Any mechanic's lien filed against the Premises or the Real Property for work
claimed to have been done for, or materials claimed to have been furnished to, Tenant shall be
discharged by Tenant within thirty (30) days after Tenant shall have received notice thereof (or
such shorter period if required by the terms of any Superior Lease or Mortgage), at Tenant's
expense, by payment or filing the bond required by law. Tenant shall not, at any time prior to or
during the Term, directly or indirectly employ, or permit the employment of, any contractor,
mechanic or laborer in the Premises, whether in connection with any Alteration or otherwise, if
such employment would interfere or cause any conflict with other contractors, mechanics or
laborers engaged in the construction, maintenance or operation of the Building by Landlord,
Tenant or others, or of any adjacent property owned by Landlord. In the event of any such inter-
ference or conflict, Tenant, upon demand of Landlord, shall cause all contractors, mechanics or
laborers causing such interference or conflict to leave the Building immediately.

                (F)     Tenant shall commence performance of the Initial Alterations by not later
than thirty (30) days after the Commencement Date, shall thereafter diligently continuously
prosecute the same to completion and shall substantially complete the Initial Alterations by not
later than the date on which Tenant opens for business pursuant to Section 2.1 (C) hereof.

        Section 3.2. Tenant shall pay to Landlord or, at Landlord's option, to Landlord's agent, as
additional rent, all actual out-of-pocket costs and expenses reasonably incurred by Landlord or
Landlord's agent in connection with any Alterations, including, without limitation, the Initial
Alterations (the "Alteration Fee"). The Alteration Fee shall be paid by Tenant within ten (10)
days after demand therefor. Tenant also shall pay any fee charged by any Lessor or Mortgagee in
reviewing the plans and specifications for such Alterations or inspecting the progress of
completion of the same.

         Section 3.3. Upon the request of Tenant, Landlord, at Tenant's cost and el(Jlense, shall
join in any applications for any permits, approvals or certificates required to be obtained by


3949/75979-010 NYLIB1/1202597 v6                 15                         09/07/00 02:32PM (16068)
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Tenant in connection with any pennitted Alteration (provided that the provisions of the
applicable Requirement shall require that Landlord join in such application) and shall otherwise
cooperate with Tenant in connection therewith, provided that Landlord shall not be obligated to
incur any cost or expense, including, without limitation, attorneys' fees and disbursements, or
suffer any liability in connection therewith.


                                           ARTICLE4
                                     REP AIRS-FLOOR LOAD

         Section 4.1. Landlord shall operate, maintain and make all necessary repairs (both·
 structural and nonstructural) to the part of Building Systems which provide service to the ·
  Premises (but not to the distribution portions of such Building Systems located within the
 Premises) and the public portions of the Building, both exterior and interior, in confonnance with
 standards applicable to non-institutional first class office and retail buildings in Manhattan.
 Tenant, at Tenant's sole cost and expense, shall take good care of the Premises and the fixtures,
 equipment and appurtenances therein and the distribution systems and shall make all non-
 structural repairs thereto (including, without limitation, the exterior and interior of all windows,
 plate glass, showcase windows, doors, door frames and bucks) as and when needed to preserve
 them in good working order and condition, except for reasonable wear and tear, obsolescence and
 damage for which Tenant is not responsible pursuant to the provisions of Article I 0 hereof.
 Tenant. at Tenant's sole cost and expense, shall replace Tenant's Property when desirable or
 necessary in accordance with prudent commercial practices consistent with the first class
·operation of the Premises for the uses as set forth in Section 2.1 hereof. Notwithstanding the
 foregoing, all damage or injury to the Premises or to any other part of the Building and Building
 Systems, or to its fixtures, equipment and appurtenances, whether requiring structural or
 nonstructural repairs, caused by or resulting from carelessness, omission, neglect or improper
 conduct of, or Alterations made by, Tenant, Tenant's agents, employees, invitees or licensees,
 shall be repaired at Tenant's sole cost and expense, by Tenant to the reasonable satisfaction of
 Landlord (if the required repairs are nonstructural in nature and do not affect any Building
 System), or by Landlord (if the required repairs are structural in nature or affect any Building
 System). All of the aforesaid repairs shall be of first quality and of a class consistent with
 non-institutional first class office and retail building work or construction and shall be made in
 accordance with the provisions of Article 3 hereof. If Tenant fails after ten (10) days' notice (or
 such shorter period as Landlord may be permitted pursuant to any Superior Lease or Mortgage or
 such shorter period as may be required due to an emergency) to proceed with due diligence to
 make repairs required to be made by Tenant, the same may be made by Landlord at the expense
 of Tenant. and the expenses thereof incurred by Landlord, with interest thereon at the Applicable
 Rate, shall be forthwith paid to Landlord as additional rent after rendition of a bill or statement
 therefor. Tenant shall give Landlord prompt notice of any defective condition in the Building or
 in any Building System, located in, servicing or passing through the Premises of which Tenant
 becomes aware.



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        Section 42. Tenant shall not place a load upon any floor of the Premises exceeding the
pounds per square foot "live load" permitted by the Certificate of Occupancy for the Premises.
Tenant shall not move any safe, heavy machinery, heavy equipment, business machines, freight,
bulky matter or fixtures into or out of the Building without Landlord's prior consent, which
consent shall not be unreasonably withheld, and shall make payment to Landlord of Landlord's
costs in connection therewith. If such safe, machinery, eqUipment, freight, bulky matter or
fixtures requires special handling, Tenant shall employ only persons holding a Master Rigger's
license to do said work. All work in connection therewith shall comply with all Requirements
and the Rules and Regulations, and shall be done during such hours as Landlord may reasonably
designate. Business machines and mechanical equipment shall be placed and maintained by
Tenant at Tenant's expense in settings sufficient to absorb and prevent vibration, noise and
annoyance. Except as expressly provided in this Lease, there shall be no allowance to Tenant for
a diminution of rental value and no liability on the part of Landlord by reason ofinconvenience,
annoyance or injury to business arising from Landlord, Tenant or others making, or failing to
make, any repairs, alterations, additions or improvements in or to any portion of the Building or
the Premises, or in or to fixtures, appurtenances or equipment thereof.

        Section 4.3. Landlord shall use its reasonable efforts to minimize interference with
Tenant's use and occupancy of the Premises in making any repairs, alterations, additions or
improvements; provided, however, that Landlord shall have no obligation to employ contractors
or labor at so-called overtime or other premium pay rates or to incur any other overtime costs or
expenses whatsoever, except that Landlord, l\t its expense, shall employ contractors or labor at
so-called overtime or other premium pay rates if necessary to make any repair required to be
made by it hereunder to remedy any condition that either (i) results in a denial of access to the
Premises, (ii} threatens the health or safety of any occupant of the Premises, or (iii) except in the
case of a fire or other casualty, materially interferes with Tenant's ability to conduct its business
in the Premises. In all other cases, at Tenant's request, Landlord shall employ contractors or
labor at so-called overtime or other premium pay rates and incur any other overtime costs or
expenses in making any repairs, alterations, additions or improvements, and Tenant shall pay to
Landlord, as additional rent, within ten (I 0) Business Days after demand, an amount equal to the
difference between the overtime or other premium pay rates and the regular pay rates for such
labor and any other overtime costs or expenses so incurred.

         Section 4.4. Tenant acknowledges that the nature of the business to be conducted in the
Premises could, in the absence of adequate preventive measures, create objectionable fumes,
vapors or odors, vermin, damage and injury, unreasonable noise and other conditions which
would cause annoyance and interference to the Building and its occtipants. As an express
inducement to Landlord to enter into this Lease, Tenant agrees that it shall conduct its operation
in the Premises so as to minimize such annoyance or interference and Tenant specifically agrees
that in furtherance of this covenant it shall, at its own cost and expense:

                        (I)   install (to the extent not already installed), maintain, service and
repair a ventilating and exhaust system servicing the Premises only and make all replacements


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 thereto during the Temi, including installation of charcoal filters, rotoclone or other similar
 devices at all points of cooking (if required in Landlord's reasonable judgment), and the
 establislunent of control procedures to eliminate odors, and in furtherance and not in limitation of
 the foregoing, maintain such ventilating exhaust system, and any ducts connecting thereto, in
 such manner so as not to interfere with the Building's ventilating system;

                      (2)      provide, to Landlord's reasonable satisfaction, chemical treatment
for the exhaust system for the elimination of all odors and fumes;                  ·

                       (3)    keep the drain, waste and sewer pipes and connections with water
mains, to the extent the same service the Premises exclusively, free from obstruction, and
maintain grease traps in the main soil lines ofthe Premises;

                       (4)    keep the Premises free of noxious chemicals or inflammable
materials other than those customarily employed in connection with restaurant use;

                      (5)     provide such other exhaust, cleaning or similar systems which shall
be necessary to prevent any smoke, fumes, vapors, odors or other offensive substances from
emanating from the Premises to the annoyance of other occupants of the Building;

                     (6)     fireproof all draperies and curtains in the Premises and submit to
Landlord. upon Landlord's request, current certificates evidencing such fireproofing;

                      (7)     install and maintain in all cooking areas, at its sole cost and
expense, chemical fire extinguishing devices (such as ansul) approved by the Fire Insurance
Rating Organization having jurisdiction over the Premises and, if gas is used in the Premises for
cooking or other purposes, suitable gas cut-off devices (manual and automatic), in accordance
with all Requirements;

                        (8)     take all reasonable steps, at its sole cost and expense, to prevent
fat, grease, or any other greasy substance from entering the waste lines of the Building;

                      (9)     perform, at its sole cost and expense, any and all maintenance
reasonably necessary or desirable in order to keep the floors in the Premises in a waterproof
condition; and

                       (1 0)  employ the most improved methods for the prevention and
extermination of vermin, rats or mice in the Premises.

In the event that at any time during the Term there shall be any violation of the foregoing
covenants of this Section 4.4, or notwithstanding the performance by Tenant of such covenants,
additional services, equipment or facilities shall be necessary in Landlord's reasonable judgment
to accomplish the purposes of this Section 4.4, Landlord shall have the right upon ten (10) days'


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prior written notice to Tenant (except in the case of an emergency), to perform any of such
obligations or provide any such additional services or equipment to accomplish snch purposes
and Tenant shall reimburse Landlord, as additional rent, for any expenditures made by Landlord
in connection therewith within ten (I 0) Business Days after receipt by Tenant of statement from
Landlord thereof. All work required to be done by Tenant pursuant to the provisions of this
Section 4.4 shall be done in strict compliance with the provisions and conditions of this Lease.
Nothing contained in this Section 4.4 shall limit, modify or otherwise alter the provisions of
Section 2.2 hereof.


                                          ARTICLES
                                      WINDOW CLEANING

       Tenant shall not clean, nor require, pennit, suffer or allow any window in the Premises to
be cleaned from the outside in violation of Section 202 of the Labor Law, or any other
Requirement, or of the rules of the Board of Standards and Appeals, or of any other board or
body having or asserting jurisdiction.


                                          ARTICLE6
                                    REQUIREMENTS OF LAW

         Section 6.1. Tenant, at its sole cost and expense shall comply with all Requirements
applicable to the Premises, including, without limitation, those applicable to the making of any
Alterations therein or the result of the making thereof and those applicable by reason of the
nature or type of business operated by Tenant in the Premises. Tenant shall not do or pennit to
be done any act or thing upon the Premises which will invalidate or be in conflict with a standard
"all-risk" insurance policy; and shall not do, or penni! anything to be done in or upon the
Premises, or bring or keep anything therein, except as now or hereafter pennitted by the New
York City Fire Department, New York Board of Fire Underwriters, the Insurance Services Office
or other authority having jurisdiction and then only in such quantity and manner of storage as not
to increase the rate for fire insurance applicable to the Building, or use the Premises in a manner
which shall increase the rate of fire insurance on the Building or on property located therein, over
that in similar type buildings or in effect on the Commencement Date. Ifby reason ofTenant's
failure to comply with the provisions ofthis Article, the fire insurance rate shall be higher than it
would be if the provisions were complied with, then Tenant shall desist from doing or permitting
to be do11e any such act or thing and shall reimburse Landlord, as additional rent hereunder, for
that part of all fire insurance premiums thereafter paid by Landlord which shall have been
charged because of such failure by Tenant, and shall make such reimbursement upon demand by
Landlord. In any action or proceeding wherein Landlord and Tenant are parties, a schedule or
"make up" of rates for the Building or the Premises issued by the Insurance Services Office, or
other body fixing such fire insurance rates, shall be conclusive evidence of the facts therein stated
and of the several items and charges in the fire insurance rates then applicable to the Building.


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         Section 6.2. Tenant, at its sole cost and expense and after notice to Landlord, may contest
 by appropriate proceedings prosecuted diligently and in good faith, the legality or applicability of
 any Requirement affecting the Premises, provided that (a) Landlord (or any Indemnitee) shall not
 be subject to imprisonment or to prosecution for a crime, nor shall the Real Property or any part
 thereof be subject to being condemned or vacated, nor shall the certificate of occupancy for the
 Premises or the Building be suspended or threatened to be suspended by reason of
 non-compliance or by reason of such contest; (b) before the commencement of such contest, if
 Landlord or any Indemnitee may be subject to any civil fines or penalties or other crimiD.ai
 penalties or if Landlord may be liable to any independent third party as a result of such
 noncompliance, Tenant shall furnish to Landlord either (i) a bond of a surety company
satisfactory to Landlord, in form and substance reasonably satisfactory to Landlord, and in an
amount equal to one hundred twenty percent (120%) of the sum of(A) the cost of such
compliance, (B) the criminal or civil penalties or fines that may accrue by reason of such
non-compliance, and (C) the amount of such liability to independent third parties (as reasonably
estimated by Landlord), and shall indemnify Landlord (and any Indemnitee) against the cost of
such compliance and liability resulting from or incurred in connection with such contest or
non-compliance (except that Tenant shall not be required to furnish such bond to Landlord if it
has otherwise furnished any similar bond required by law to the appropriate Governmental
Authority and has named Landlord as a beneficiary thereunder) or (ii) other security reasonably
satisfactory in all respects to Landlord; (c) such non-compliance or contest shall not constitute or
result in a violation (either with the giving of notice or the passage oftime or both) of the terms
of any Mortgage or Superior Lease, or if such Superior Lease or Mortgage shall c·ondition such
non-compliance or contest upon the taking of action or furnishing of security by Landlord, such
action shall be taken or such security shall be furnished at the expense of Tenant; and (d) Tenant
shall keep Landlord regularly advised as to the status of such proceedings. Without limiting the
applicability of the foregoing, Landlord (or any Indemnitee) shall be deemed subject to
prosecution for a crime if Landlord (or any Indemnitee), a Lessor, a Mortgagee or any of their
officers, directors, partners, shareholders, agents or employees is charged with a crime of any
kind whatsoever, unless such charges are withdrawn ten (10) days before Landlord (or any
Indemnitee), such Lessor or such Mortgagee or such officer, director, partner, shareholder, agent
or employee, as the case may be, is required to plead or answer thereto.


                                          ARTICLE 7
                                       SUBORDINATION

        Section 7.1. This Lease shall be subject and subordinate to each and every Superior
 Lease and to each and every Mortgage. This clause shall be self-operative and no further
.instrument of subordination shall be required from Tenant to make the interest of any Lessor or
Mortgagee superior to the interest of Tenant hereunder; however, Tenant shall execute and
deliver promptly any instrument, in recordable form, that Landlord, any Mortgagee or Lessor
 may request to evidence and confirm such subordination. If the date of expiration of any Superi-
or Lease shall be the same day as the Expiration Date, the Term shall end and expire twelve (12)


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hours prior to the expiration of the Superior Lease. Tenant shall not do anything that would
constitute a default under any Superior Lease or Mortgage, or omit to do anything that Tenant is
obligated to do under the terms of this Lease so as to cause Landlord to be in default thereunder.
If, in connection with the financing of the Real Property, the Building or the interest of the lessee
under any Superior Lease, or if in connection with the entering into of a Superior Lease, any
lending institution or Lessor shall request reasonable modifications of this Lease that do not
increase Tenant's monetary obligations under this Lease, or materially adversely affect or
diminish the rights, or materially increase the other obligations of Tenant under this Lease,
Tenant shall make such modifications.

        Section 7.2. If at any time prior to the expiration of the Term, any Superior Lease shall
 terminate or be terminated for any reason or any Mortgagee comes into possession of the Real
 Property or the Building or the estate created by any Superior Lease by receiver or otherwise,
Tenant agrees, at the election and upon demand of any owner of the Real Property or the
Building, or of the Lessor, or of any Mortgagee in possession of the Real Property or the
Building, to attorn, from time to time, to any such owner, Lessor or Mortgagee or any person
acquiring the interest of Landlord as a result of any such termination, or as a result of a fore-
closure of the Mortgage or the granting of a deed in lieu of foreclosure, upon the then executory
terms and conditions of this Lease, subjectto the provisions of Section 7.I hereof and this
Section 7.2, for the remainder of the Term, provided that such owner, Lessor or Mortgagee, or
receiver caused to be appointed by any of the foregoing, as the case may be, shall then be entitled
to possession of the Premises and provided further that such owner, Lessor or Mortgagee, as the
case may be, or anyone claiming by, through or under such owner, Lessor or Mortgagee, as the
case may be, including a purchaser at a foreclosure sale, shall not be:

                       (!)     liable for any act or omission of any prior landlord (including,
without limitation, the then defaulting landlord), or

                       (2)     subject to any defense or offsets which Tenant may have against
any prior landlord (including, without limitation, the then defaulting landlord), or

                       (3)     bound by any payment of Rental which Tenant may have made to
any prior landlord (including, without limitation, the then defaulting landlord) more than thirty
(30) days in advance of the date upon which such payment was due, or

                       (4)       bound by any obligation to make any payment to or on behalf of
Tenant, or

                        (5)    bound by any obligation to perform any work or to make
improvements to the Premises, except for (i) repairs.and maintenance pursuant to the provisions
of Article 4, the need for which repairs and maintenance first arises after the date upon which
such owner, Lessor, or Mortgagee shall be entitled to possession of the Premises, (ii) repairs to
the Premises or any part thereof as a result of damage by fire or other casualty pursuant to Article


3949/75979-010 NYLIB111202597 v6                 21                         09/07/00 02:32PM 116068)
10 hereof, but only to the extent that such repairs can be reasonably made from the net proceeds
of any insurance actually made available to such owner, Lessor or Mortgagee, and (iii) repairs to
the Premises as a result of a partial condemnation pursuant to Article 11 hereof, but only to the
extent that such repairs can be reasonably made from the net proceeds of any award made
available to such owner, Lessor or Mortgagee, or

                          (6)      bound by any amendment or modification of this Lease made
without its consent, or

                       (7)     bound to return Tenant's security deposit, if any, until such deposit
has come into its actual possession and Tenant would be entitled to such security deposit
pursuant to the terms of this Lease.

The provisions of this Section 7.2 shall enure to the benefit of any such owner, Lessor or
Mortgagee, shall apply notwithstanding that, as a matter of law, this Lease may terminate upon
the termination of any Superior Lease, shall be self-operative upon any such demand, and no
further instrument shall be required to give effect to said provisions. Tenant, however, upon
demand of any such owner, Lessor or Mortgagee, shall execute, at Tenant's expense, from time to
time, instruments, in recordable form, in confirmation of the foregoing provisions of this Section
7.2, satisfactory to any such owner, Lessor or Mortgagee, acknowledging such attornment and
setting forth the terms and conditions ofits tenancy. Nothlng contained in this Section 7.2 shall
be construed to impair any right otherwise exercisable by any such owner, Lessor or Mortgagee.
Notwithstanding the provisions of this Section 7.2, this Lease shall not terminate by reason of the
termination of any Superior Lease without the prior wTitten consent of the Mortgagee of the
Mortgage which is a first mortgage on Landlord's interest in the Real Property or the leasehold
estate created by such Superior Lease.

        Section 7.3. ·From time to time, within seven (7) days next following request by
Landlord, any Mortgagee or any Lessor, Tenant shall deliver to Landlord, such Mortgagee or
such Lessor a written statement executed by Tenant, in form reasonably satisfactory to Landlord,
such Mortgagee or such Lessor, (I) stating that this Lease is then in full force and effect and has
not been modified (or if modified, setting forth all modifications), (2) setting forth the date to
which the Fixed Rent, Escalation Rent and other items of Rental have been paid, (3) stating
whether or not, to the best knowledge of Tenant, Landlord is in default under this Lease, and, if
Landlord is in default, setting forth the specific nature of all such defaults, and (4) as to any other
matters reasonably requested by Landlord, such Mortgagee or such Lessor. Tenant acknowledges
that any statement delivered pursuant to this Section 7.3 may be relied upon by any purchaser or
owner of the Real Property or the Building, or Landlord's interest in the Real Property or the
Building or any Superior Lease, or by any Mortgagee, or by an assignee of any Mortgagee, or by
any Lessor.

        Section 7.4. From time to time, within seven (7) days next following request by Tenant
but not more frequently than twice in any twelve (12) month period, Landlord shall deliver to


3949/75979·010 NYLIBl/1202597 v6                  22                          09/07/00 02:32PM (160681
Tenant a written statement executed by Landlord (i) stating that this Lease is then in full force
and effect and has not been modified (or if modified, setting forth all modifications), (ii) setting
forth the date to which the Fixed Rent, Escalation Rent and any other items of Rental have been
paid, (iii) stating whether or not, to the best knowledge of Landlord (but without having made
any investigation), Tenant is in default under this Lease, and, if Tenant is in default, setting forth
the specific nature of all such defaults, and (iv) as to any other matters reasonably requested by
Tenant and related to this Lease.

        Section 7.5. As long as any Superior Lease or Mortgage shall exist (of which Tenant
shall have been given notice), Tenant shall not seek to tenninate this Lease by reason of any act
or omission of Landlord until Tenant shall have given written notice of such act or omission to
all Lessors and Mortgagees at such addresses as shall have been furnished to Tenant by such
Lessors and Mortgagees and, if any such Lessor or Mortgagee, as the case may be, shall have
notified Tenant within ten (I 0) Business Days following receipt of such notice of its intention to
remedy such act or omission, until a reasonable period of time shall have elapsed following the
giving of such notice, during which period such Lessors and Mortgagees shall have the right, but
not the obligation, to remedy such act or omission.

        Section 7.6. Tenant hereby irrevocably waives any and all right(s) it may have in
connection with any zoning lot merger or transfer of development rights with respect to the Real
Property including, without limitation, any rights it may have to be a party to, to contest, or to
execute, any Declaration of Restrictions (as such term is used in Section 12-10 of the Zoning
Resolution of The City of New York effective December 15, I961, as amended) with respect to
the Real Property, which would cause the Premises to be merged with or unmerged from any
other zoning lot pursuant to such Zoning Resolution or to any document of a similar nature and
purpose, and Tenant agrees that this Lease shall be subject and subordinate to any Declaration of
Restrictions or any other document of similar nature and purpose now or hereafter affecting the
Real Properly. In confirmation of such subordination and waiver, Tenant shall execute and
deliver promptly any certificate or instrument that Landlord reasonably may request

       Section 7.7. On the date on which this Lease is unconditionally executed and delivered
by Landlord and Tenant, Bayerische Landes bank Cayman Islands Branch, as Administrative
Agent, is the Mortgagee under the existing Mortgage and there is no existing Superior Lease.


                                          ARTICLES
                                   RULES AND REGULATIONS

        Tenant and Tenant's contractors, employees, agents, visitors, invitees and licensees shall
comply with the Rules and Regulations. Tenant shall have the right to dispute the reasonableness
of any additional Rule or Regulation hereafter adopted by Landlord. If Tenant disputes the
reasonableness of any additional Rule or Regulation hereafter adopted by Landlord, the dispute
shall be determined by arbitration in the City ofNew York in accordance with the rules and


3949175979·01 0 NYUB1/1202597 v6                 23                          09/07100 02:32 PM 1160681
regulations then obtaining of the American Arbitra,tion Association or its successor. Any such
determination shall be fmal and conclusive upon the parties hereto. The right to dispute the
reasonableness of any additional Rule or Regulation upon Tenant's part shall be deemed waived
unless the same shall be asserted by service of a notice upon Landlord within thirty (30) days
after receipt by Tenant of notice of the adoption of any such additional Rule or Regulation.
Nothing in this Lease contained shall be construed to impose upon Landlord any duty or
obligation to enforce the Rules and Regulations or terms, covenants or conditions in any other
lease against any other tenant, and Landlord shall not be liable to Tenant for violation of the same
by any other tenant, its employees, agents, visitors or licensees. In the event of any conflict
between the provisions ofthis Lease and the Rules and Regulations, the provisions of this Lease
shall control.


                                 ARTICLE9
            INSURANCE. PROPERTY LOSS OR DAMAGE; REIMBURSEMENT

         Section 9.1. (A) Any Building employee to whom any property shall be entrusted by or
on behalf of Tenant shall be deemed to be acting as Tenant's agent with respect to such property
and neither Landlord nor its agents shall be liable for any damage to property of Tenant or of
others entrusted to employees of the Building, nor for the loss of or damage to any property of
 Tenant by theft or otherwise. Neither Landlord nor its agents shall be liable for any injuty (or
death) to persons or damage to property, or interruption ofTenant's business, resulting from fire
 or other casualty; nor shall Landlord or its agents be liable for any such injury (or death) to
persons or damage caused by other tenants or persons in the Building or caused by construction
of any private, public or quasi-public work; nor shall Landlord be liable for any injuty (or death)
to persons or damage to property or improvements, or interruption of Tenant's business, resulting
from any latent defect in the Premises or in the Building (provided that the foregoing shall not
relieve Landlord from its obligations, if any, to repair such latent defect pursuant to the
provisions of Article 4 hereof). Anything in this Article 9 to the contrary notwithstanding, except
as expressly set forth herein, Landlord shall not be relieved from responsibility to Tenant for any
loss or damage caused to Tenant wholly or in part by the negligent acts or omissions ofLandlord.
Nothing in the foregoing sentence shall affect any right of Landlord to the indemnity from Tenant
to which Landlord may be entitled under Article 35 hereof in order to recoup for payments made
to compensate for losses of third parties,

               (B)      If at any time any windows of the Premises ate temporarily closed,
datkened or bricked-up due to any Requirement or by reason of repairs, maintenance, alterations,
or improvements to the Building, or the storefront or any signboatd is temporatily removed,
obstructed or altered, or any scaffolding or "sidewalk bridge" is erected in front of the Building
due to any Requirement or by reason of any repairs, maintenance, alterations to the Building or
any property adjacent to the Building, Landlord shall not be liable for any damage Tenant may
sustain thereby and Tenant shall not be entitled to any compensation therefor, nor abatement or
diminution of Fixed Rent or any other item of Rental, nor shall the same release Tenant from its


3949n5979-Q10 NYUBl/1202597 v6                  24                         09/07/00 02:32 PM (16068)
obligations hereunder, nor constitute an actual or constructive eviction, in whole or in part, by
reason of inconvenience or annoyance to Tenant, or injury to or interruption of Tenant's business,
or otherwise, nor impose any liability upon Landlord or its agents. If at any time the windows of
the Premises are temporarily closed, darkened or bricked-up, as aforesaid or any scaffolding or
sidewalk bridge is erected in from of the Premises, then, unless Tenant is required pursuant to the
Lease to perform the repairs, maintenance, alterations, or improvements, or to comply with the
Requirements, which resulted in such windows being closed, darkened or bricked-up or such
scaffolding or sidewalk bridge being erected in front of the Premises, Landlord shall perform
such repairs, maintenance, alterations or improvements and comply with the applicable
Requirements with reasonable diligence and otherwise take such action as IIUiy be reasonably
necessary to minimize !he period during which such windows are temporarily closed, darkened,
or bricked-up or such scaffolding or sidewalk bridge remains in front of the Premises. Landlord
shall place on any sidewalk bridge which is erected in front of the Premises a sign identifYing
Tenant which is visible from the street. Landlord shall permanently brick up windows to the
Premises only to the extent required by Requirements. If any windows are darkened or bricked-
up due to Landlord's voluntary acts (and not due to' Requirements), Landlord shall use reasonable
efforts to minimize the time period during which any such windows are affected.

                (C) Tenant shall immediately notifY Landlord of any fire or accident in the
Premises.

        Section 9.2. Tenant shall obtain and keep in full force and effect (i) an "all risk"
insurance policy (including, without limitation, fire extended coverage, vandalism, water and
sprinkler damage) for Tenant's improvements, betterments (including, without limitation, all
Alterations), personalty and Tenant's Property at the Premises in an amount equal to one hundred
percent (I 00%) of the replacement value thereof, (ii) a policy of commercial general liability and
property damage insurance on an occurrence basis, with a broad form contractual liability
endorsement, (iii) plate glass insurance on a replacement cost basis, (iv) business interruption
insurance insuring interruption or stoppage ofTenant's business at the Premises for a period of
not less than one (I) year and (v) Liquor Liability (dram shop) insurance in an amount of not less
than Five Million Dollars ($5~000,000) on an occurrence basis, covering bodily injury and death
to one or more persons and One Million Dollars ($1,000,000) in connection with property
damage. Such policies shall provide that Tenant is named as the insured. Landlord, Landlord's
managing agent, Landlord's agents and any Lessors and any Mortgagees (whose names shall have
been furnished to Tenant) shall be added as additional insureds, as their respective interests may
appear, with respect to the insurance required to be carried. Such policy with respect to clause
(ii) above shall include a provision under which the insurer agrees to indemnity, defend and hold
Landlord, Landlord's managing agent, Landlord's agents and such Lessors and Mortgagees harm-
less from and against, subject to the limits ofliability set forth in this Section 9.2, all cost,
expense and liability arising out of, or based upon, any and all claims, accidents, injuries and
damages mentioned in Article 35. In addition, the policy required to be carried pursuant to
clause (ii) above shall contain a provision that (a) no act or omission of Tenant shall affect or
limit the obligation of the insurer to pay the ;unount of any loss sustained and (b) the policy shall


3949/75979.010 NYU81/1202597 v6                  25                          09/07/00 02:32PM {160681




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be non-cancelable with respect to Landlord, Landlord's managing agent, Landlord's agents and
such Lessors and Mortgagees (whose names and addresses shall have been furnished to Tenant)
unless thirty (30) days' prior written notice shall have been given to Landlord by certified mail,
return receipt requested, which notice shall contain the policy number and the names of the
insured and additional insureds. In addition, upon receipt by Tenant of any notice of cancellation
or any other notice from the insurance carrier which may adversely affect the coverage of the
insureds under such policy of insurance, Tenant shall inunediately deliver to Landlord and any
other additional insured hereunder a copy of such notice. The minimum amounts of liability
under the policy of insurance required to be carried pursuant to clause (ii) above shall be a
combined single limit with respect to each occurrence in an amount of Five Million Dollars
($5,000,000) for injury (or death) to persons and damage to property, which amount shall be
increased from time to time to that amount of insurance which in Landlord's reasonable judgment
is then being customarily required by prudent landlords of non-institutional first class buildings
in New York City with respect to tenants leasing space similar in size, nature and location to the
Premises. All insurance required to be carried by Tenant pursuant to the terms of this Lease shall
be effected under valid and enforceable policies issued by reputable and independent insurers
permitted to do business in the State of New York, and rated in Best's Insurance Guide, or any
successor thereto (or if there be none, an organization having a national reputation) as having a
general policyholder rating of "A" and a financial rating of at least "XIII".

        Section 9.3. On or prior to the Commencement Date, Tenant shall deliver to Landlord
appropriate certificates of insurance, including evidence of waivers of subrogation required
pursuant to Section 10.5 hereof, required to be carried by Tenant pursuant to this Article 9.
Evidence of each renewal or replacement of a policy shall be delivered by Tenant to Landlord at
least twenty (20) days prior to the expiration of such policy.

        Section 9.4. Tenant acknowledges that Landlord shall not carry insurance on, and shall
not be responsible for damage to, Tenant's Property or any Alterations, betterments or
improvements to the Premises (unless and to the extent caused by Landlord's negligence or
willful misconduct) and that Landlord shall not carry insurance against, or be responsible for any
loss suffered by Tenant due to, interruption of Tenant's business.

        Section 9.5. If, notwithstanding the recovery of insurance proceeds by Tenant for loss,
damage or destruction of its property (or rental value or business interruptions) Landlord is liable
to Tenant with respect thereto or is obligated under this Lease to make replacement, repair or
restoration, then, at Landlord's option, either (i) the amount of the net proceeds of Tenant's
insurance against such loss, damage or destruction shall be offset against Landlord's liability to
Tenant therefor, or (ii) shall be made available to Landlord to pay for replacement, repair or
restoration.




3949/75979-010 NYLI81!1202597 v6                26                                09/07/00 02:32PM (16068)
                                       ARTICLE 10
                            DESTRUCTION~FIRE OR OTHER CAUSE


         Section 10.1. (A) If the Premises shall be damaged by fire or other casualty, Landlord, at
its sole cost and expense, shall diligently repair the floor and ceiling slabs and the demising walls
of the Premises and the Building Systems (but not the distribution portions of such Building
Systems) to the point at which such Building Systems enter into the Premises, all to the condition
which existed on the date of such fire or casualty. Tenant shall give prompt notice of any such
damage to Landlord. Landlord shall have no obligation to repair any damage to, or to replace,
any Alterations, betterments, improvements or Tenant's Property or any wall finishings, wall
coverings or other items not specifically set forth in the immediately preceding sentence, whether
installed in the Premises before, on or after the Commencement Date. Landlord shall use its
reasonable efforts to minimize interference with Tenant's use and occupancy in making any
repairs pursuant to this Section. Tenant's obligations to pay all Fixed Rent and all other items of
Rental sh'!II continue in full force and effect and shall not abate during the period the Premises is
affected by any such fire or other casualty, or during the period of the repair of the Premises after
any such fire or other casualty.

                (B)    Prior to the substantial completion of Landlord's repair obligations set
forth in Section I0.1 (A) hereof, Landlord shall provide Tenant and Tenant's contractor,
subcontractors and materialmen access to the Premises to perform Alterations on the following
terms and conditions (but not to occupy the same for the conduct of business):

                        (I}     Tenant shall not commence work in any portion of the Premises
until the date specified in a notice from Landlord to Tenant stating that the repairs required to be
made by Landlord have been or will be completed to the extent reasonably necessary, in
Landlord's reasonable discretion, to permit the commencement of the Alterations then prudent to
be performed in accordance with good construction practice in the portion of the Premises in
question without interference with, and consistent with the performance of, the repairs remaining
to be performed.

                      (2}      Such access by Tenant shall be deemed to be subject to all of the
applicable provisions of this Lease.

                        (3)     It is expressly understood that if Landlord shall be delayed from
substantially completing the repairs due to any acts of Tenant, its agents, servants, employees or
contractors, including, without limitation, by reason of the performance of any Alteration, by
reason of Tenant's failure or refusal to comply or to cause its architects, engineers, designers and
contractors to comply with any of Tenant's obligations described or referred to in this Lease, or if
such repairs are not completed because under good construction scheduling practice such repairs
should be performed after completion of any Alteration, then such repairs shall be deemed
substantially complete on the date when the repairs would have been substantially complete but



3949/75979·010 NYLIB1i1202597 v6                27                          09/07/00 02:32PM (160681




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for such delay. Any additional costs to Landlord to complete any repairs occasioned by such
delay shall be paid by Tenant to Landlord within ten (10) days after demand, as additional rent.

        Section 10.2. Anything contained in Section 10.1 hereof to the contrary notwithstanding,
if the Building shall be so damaged by fire or other casualty that, in Landlord's reasonable
opinion, substantial alteration, demolition, or reconstruction of the Building shall be required
(whether or not the Premises shall have been damaged or rendered untenantable), then Landlord,
at Landlord's option, may, not lat6r than ninety (90) days following the damage, give Tenant a
notice in writing terminating this Lease. If Landlord elects to terminate this Lease, the Term
shall expire upon a date set by Landlord, but not sooner than the tenth (lOth) day after such
notice is given, and Tenant shall vacate the Premises .and surrender the same to Landlord in
accordance with the provisions of Article 20 hereof. Upon the termination of this Lease under
the conditions provided for in this Section I0.2, the Fixed Rent and Escalation Rent shall be
apportioned and any prepaid portion of Fixed Rent and Escalation Rent for any period after such
date shall be refunded by Landlord to Tenant.

         Section I0.3. (A) Within forty-five (45) days after notice to Landlord of any damage
described in Section 10.! hereof, Landlord shall deliver to Tenant a statement prepared by a
reputable contractor setting forth such contractor's estimate as to the time required to repair such
damage as required by Section I 0.1 hereof, exclusive of time required to repair any Alterations,
betterments or improvements to the Premises (which are Tenant's obligation to repair). If the
estimated time period exceeds eighteen (18) months from the date of such statement, Tenant may
elect to terminate this Lease by notice to Landlord not later than thirty {30) days following receipt
of such statement. If Tenant makes such election, the Term shall expire upon the thirtieth {30th}
day after notice of such election is given by Tenant, and Tenant shall vacate the Premises and
surrender the same to Landlord in accordance with the provisions of Article 20 hereof. If Tenant
shall not have elected to terminate this Lease pursuant to this Article 10 {or is not entitled to
terminate this Lease pursuant to this Article I 0), the damages shall be diligently repaired by and
at the expense of Landlord as set forth in Section I 0.1 hereof.

                (B)    Except as expressly set forth in this Section I0.3, Tenant shall have no
other options to cancel this Lease under this Article I 0.

        Section I 0.4. This Article I 0 constitutes an express agreement governing any case of
damage or destruction of the Premises or the Building by fire or other casualty, and Section 227
of the Real Property Law of the State ofNew York, which provides for such contingency in the
absence of an express agreement, and any other law of like nature and purpose now or hereafter
in force shall have no application in any such case.

       Section l 0.5. The parties hereto shall procure an appropriate clause in, or endorsement
on, any fire or extended coverage insurance covering the Premises, the Building and personal
property, fixtures and equipment located thereon or therein, pursuant to which the insurance
companies waive subrogation or consent to a waiver of right of recovery and having obtained


3949/75979.010 NYLIB1/1202597 v6                 28                         09/07/00 02:32PM (160681
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  such clauses or endorsements of waiver of subrogation or consent to a waiver of right of
  recovery, will not make any claim against or seek to recover from the other for any loss or
· damage to its property or the property of others resulting from fire or other hazards covered by
  such fire and extended coverage insurance, provided, however, that the release, discharge,
  exoneration and covenant not to sue herein contained shall be limited by and be coextensive with
  the terms and provisions of the waiver of subrogation clause or endorsements or clauses or
  endorsements consenting to a waiver of right of recovery. If the payment of an additional
  premium is required for the inclusion of such waiver of subrogation provision, each party shall
  advise the other of the amount of any such additional premiums and the other party at its own
  election may, but shall not be obligated to, pay the same. If such other party shall not elect to pay
  such additional premium, the first party shall not be required to obtain such waiver of subroga-
  tion provision. If either party shall be unable to obtain the inclusion of such clause even with the
  payment of an additional premium, then such party shall attempt to name the other party as an
  additional insured (but not a loss payee) under the policy. If the payment of an additional
  premium is required for naming the other party as an additional insured (but not a loss payee),
 each party shall advise the other of the amount of any such additional premium and the other
  party at its own election may, but shall not be obligated to, pay the same. If such other party shall
  not elect to pay such additional premium or ifit shaH not be possible to have the other party
 named as an additional insured (but not loss payee), even with the payment of an additional
 premium, then (in either event) such party shall so notify the first party and the first party shall
 not have the obligation to name the other party as an additional insured. Tenant acknowledges
 that Landlord shall not carry insurance on and shall not be responsible for damage to, Tenant's
 Property or Alterations, betterments or improvements to the Premises and that Landlord shall not
 carry insurance against, or be responsible for any loss suffered by Tenant due to, interruption of
 Tenant's business.


                                          ARTICLE II
                                        EMINENT DOMAIN

        Section 11.1. If the whole of the Real Property, the Building or the Premises shall be
acquired or condemned for any public or quasi-public use or purpose, this Lease and the Term
shall end as of the date of the vesting of title with the same effect as if said date were the Expira-
tion Date. If only a part of the Real Property and not the entire Premises shall be so acquired or
condemned then, (I) except as hereinafter provided in this Section 11.1, this Lease and the Term
shall continue in force and effect, but, if a part of the Premises is included in the part of the Real
Property so acquired or condemned, from and after the date of the vesting of title, the Fixed Rent
and the Space Factor shall be reduced in the proportion which the area of the part of the Premises
so acquired or condemned bears to the total area of the Premises immediately prior to such acqui-
sition or condemnation and Tenant's Share shall be redetermined based upon the proportion in
which the ratio between the rentable area of the Premises remaining after such acquisition or
condemnation bears to the rentable area of the Building remaining after such acquisition or
condemnation; (2) whether or not the Premises shall be affected thereby, Landlord, at Landlord's


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   option, may give to Tenant, within sixty (60) days next following the date upon which Landlord
   shall have received notice of vesting of title, a thirty (30) days' notice of termination of this Lease
   if Landlord shall elect to terminate leases (including this Lease), affecting at least fifty percent
   (50%) of the rentable area of the Building or the rentable area of any retail areas thereof
   (excluding any rentable area leased by Landlord or its Affiliates); and (3) if the part of the Real
   Property so acquired or condemned shall contain more than twenty-five percent (25%) of the
   total area of the Premises immediately prior to such acquisition or condemnation, or if, by reason
   of such acquisition or condemnation, Tenant no longer has reasonable means of access to the
   Premises, Tenant, at Tenant's option, may give to Landlord, within sixty (60) days next following
  the date upon which Tenant shall have received notice of vesting of title, a thirty (30) days' notice
   of termination of this Lease. If any such thirty (30) days' notice of termination is given by Land-
  lord or Tenant, this Lease and the Term shall come to an end and expire upon the expiration of
  said thirty (30) days with the same effect as if the date of expiration of said thirty (30) days were
  the Expiration Date. If a part of the Premises shall be so acquired or condemned and this Lease
  and the Term shall not be terminated pursuaot to the foregoing provisions of this Section 11.1,
  Landlord, at Landlord's expense, shall restore that part of the Premises not so acquired or con-
  demned by erecting demising walls and restoring the Building Systems servicing the Premises,
  but not the distribution portions of such Systems located within the Premises, at the point at
  which such Building Systems enter the Premises to a self-contained rental unit exclusive of
- Tenant's Alterations, betterments and improvements at the Premises. Upon the termination of
  this Lease and the Term pursuant to the provisions of this Section 11.1, the Fixed Rent and all
  other items of Rental shall be apportioned and any prepaid portion of Rental for any period after
  such date shall be refunded by Landlord to Tenant.                       ·

           Section 11.2. In the event of any such acquisition or condemnation of all or any part of
 the Real Property, Landlord shall be entitled to receive the entire award for any such acquisition
 or condemnation, Tenant shall have no claim against Landlord or the condemning authority for
 the value of any unexpired portion of the Term and Tenant hereby expressly assignsto·Landlord·
 all of its right in and to any such award. Nothing contained in this Section 11.2 shall be deemed
 to prevent Tenant from making a separate claim in any condemnation proceedings for the then
 value of any Tenant's Property included in such taking, and for any moving expenses.

         Section 11.3. If the whole or any part ofthe Premises shall be acquired or condemned
 temporarily during the Term for any public or quasi-public use or purpose, Tenant shall give
 prompt notice thereof to Landlord and the Term shall not be reduced or affected in any way and
 Tenant shall continue to pay in full all items of Rental payable by Tenant hereunder without
 reduction or abatement, and Tenant shall be entitled to receive for itself any award or payments
 for such use, provided, however, that:           ·

                 (i)     if the acquisition or condemnation is for a period not extending 'beyond the
                 Term and if such award or payment is made less frequently than in monthly
                 installments, the same shall be paid to and held by Landlord as a fund which
                 Landlord shall apply from time to time to the Rental payable by Tenant hereunder,


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                except that, if by reason of such acquisition or condemnation changes or
                alterations are required to be made to the Premises which would necessitate an
                expenditure to restore the Premises, then a portion of such award or payment
                considered by Landlord as appropriate to cover the expenses of the restoration
                shall be retained by Landlord, without application as aforesaid, and applied
                toward the restoration of the Premises as provided in Section 11. I hereof; or·

                (ii)    if the acquisition or condemnation is for a period extending beyond the
                Term, such award or payment shall be apportioned between Landlord and Tenant
                as of the Expiration Date; Tenant's share thereof, if paid less frequently than in
                monthly installments, shall be paid to Landlord and applied in accordance with the
                provisions of clause (i) above, provided, however, that the amount of any award
                or payment allowed or retained for restoration of the Prerrrises shall remain the
                property of Landlord ifthis Lease shall expire prior to the restoration of the
                Premises.


                                   / ARTICLE 12
                     . ASSIGNMENT. SUBLETTING, MORTGAGE. ETC.

         Section I 2.1. (A) Except as expressly permitted herein, Tenant, without the prior consent
of Landlord in each instance, shall not (a) assign its rights or delegate its duties under this Lease
(whether by operation of law, transfers of interests in Tenant or otherwise), mortgage or encum-
ber its interest in this Lease, in whole or in part, (b) sublet, or permit the subletting of; the
Premises or any part thereof; or (c) permit the Premises or any part thereof to be occupied or used
for desk space, mailing privileges or otherwise, by any Person other than Tenant.

               (B) If this Lease is assigned to any person or entity pursuant to the provisions of
the Bankruptcy Code, any and all monies or other consideration payable or otherwise to be
delivered in connection with such assignment shall be paid or delivered to Landlord, shall be and
remain the exclusive property of Landlord and shall not constitute property of Tenant or of the
estate of Tenant v,rithin the meaning of the Bankruptcy Code. Any and all monies or other
consideration constituting Landlord's property under the preceding sentence not paid or delivered
to Landlord shall be held in trust for the benefit of Landlord and shall be promptly paid to or
turned over to Landlord.

        Section 12.2. (A) If Tenant's interest in this Lease is assigned in violation of the
provisions of this Article 12, such assigrunent shall be void and of no force and effect against
Landlord; provided, however, that Landlord may collect an amount equal to the then Fixed Rent
plus any other item of Rental from the assignee as a fee for its use and occupancy, and shall apply
the net amount collected to the Fixed Rent and other items of Rental reserved in this Lease. If
the Premises or any part thereof are sublet to; or occupied by, or used by, any Person other than
Tenant, whether or not in violation of this Article I 2, Landlord, after default by Tenant under this


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Lease, including, without limitation;·a subletting or occupancy in violation of this Article 12,
may collect any item of Rental or other sums paid by the subtenant, user or occupant as a fee for
its use and occupancy, and shall apply the net amount collected to the Fixed Rent and other items
of Rental reserved in this Lease. No such assignment, subletting, occupancy or use, whether with
or without Landlord's prior consent, nor any such collection or application of Rental or fee for
use and occupancy, shall be deemed a waiver by Landlord of any term, covenant or condition of
this Lease or the acceptance by Landlord of such assignee, subtenant, occupant or user as tenant
hereunder. The consent by Landlord to any assignment, subletting, occupancy or use shall not
relieve Tenant from its obligation to obtain the express prior consent ofLandlord to any further
assignment, subletting, occupancy or use.

                (B) Tenant shall reimburse Landlord on demand for any costs that may be
incurred by Landlord in connection with any proposed assignment ofTenant's interest in this
Lease or any proposed subletting of the Premises or any part thereof, including, without
limitation, any reasonable processing fee, reasonable attorneys' fees and disbursements and the
reasonable costs of making investigations as to the acceptability of the proposed subtenant or the
proposed assignee.

               (C) Neither any assignment of Tenant's interest in this Lease nor any subletting,
occupancy or use of the Premises or any part thereof by any Person other than Tenant, nor any
collection of Rental by Landlord from any Person other than Tenant as provided in this Section
12.2, nor any application of any such Rental as provided in this Section 12.2 shall, in any
circumstances, relieve Tenant of its obligations under this Lease on Tenant's part to be observed
and performed.

                  (D) Any Person to which this Lease is assigned pursuant to the provisions of the
Bankruptcy Code shall be deemed without further act or deed to have assumed all of the obli-
gations arising under this Lease on and after the date of such assignment. Any such assignee
                            to
shall execute and deliver Landlord upon demand an instrument confirming such assumption.
No assignment of this Lease shall relieve Tenant of its obligations hereunder and, subsequent to
any assignment, Tenant's liability hereunder shall continue notwithstanding any subsequent
modification or amendment hereof orth~ release of any subsequent tenant hereunder from any
liability, to all of which Tenant hereby consents in advance.

        Section 12.3. (A) If Tenant assumes this Lease and proposes to assign the same
pursuant to the provisions of the Bankruptcy Code to any Person who shall have made a bona
fide offer to accept an assignment of this Lease on terms acceptable to Tenant, then notice of
such proposed assignment shall be given to Landlord by Tenant no later than twenty (20) days
after receipt by Tenant, but in any event no later than ten (10) days prior to the date that Tenant
shall make application to a court of competent jurisdiction for authority and approval to enter
into such assignment and assumption. Such notice shall set forth (a) the name and address of
such Person, (b) all of the terms and conditions of such offer, and (c) adequate assurance of
future performance by such Person under the Lease as set forth in Paragraph (B) below,


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including, without limitation, the assurance referred to in Section 365(b)(3) of the Bankruptcy
Code. Landlord shall have the prior right and option, to be exercised by notice to Tenant given at
any time prior to the effective date of such proposed assigmnent, to accept an assigmnent of this
Lease upon the same terms and conditions and for the same consideration, if any, as the bona fide
offer made by such Person, less any brokerage commissions which would otherwise be payable
by Tenant out of the consideration to be paid by such Person in connection with the assignment
of this Lease.

                 (B) The term "adequate assurance of future performance" as used in this Lease
shall mean that any proposed assignee shall, among other things, (a) deposit with Landlord on the
assumption of this Lease an amount equal to nine (9) months of the then Fixed Rent as security
for the faithful performance and observance by such assignee of the terms and obligations of this
Lease, which sum shall be held by Landlord, in accordance with the provisions of Article 31
hereof. (b) furnish Land)ord with financial statements of such assignee for the prior three (3)
fiscal years, as finally determined after an audit and certified as correct by a certified public
accountant, which financial statements shall show a net worth of at least six (6) times the then
Fixed Rent for each of such three (3) years, (c) grant to Landlord a security interest iJJ. such
property of the proposed assignee as Landlord shall deem necessary to secure such assignee's
future performance under this Lease, and (d) provide such other information or take such action
as Landlord, in its reasonable judgment shall determine is necessary to provide adequate
assurance of the performance by such assignee of its obligations under the Lease.

         Section 12.4. Either a transfer (including the issuance oftreasury stock or the creation
and issuance of new stock or a new class of stock) of a controlling interest in the shares of Tenant
or of any entity which holds an interest in Tenant through one or more intermediaries (if Tenant
or such entity is a corporation or trust) or a transfer of a majority of the total interest in Tenant or
of any entity which holds an interest in Tenant through one or more intermediaries (if Tenant or
such entity is a partnership or other entity) at any one time or over a period of time through a
series of transfers, shall be deemed an assignment of this Lease and shall be subject to all of the
provisions of this Article 12, including, without limitation, the requirement that Tenant obtain
Landlord's prior consent thereto. The transfer of shares of Tenant or of any entity which holds an
interest in Tenant through one or more intermediaries (if Tenant or such entity is a corporation or
trust) for purposes of this Section 12.4 shall not include the sale of shares by persons other than
those deemed "insiders" within the meaning of the Securities Exchange Act of 1934, as amended,
which sale is effected through the "over-the-counter market" or through any recognized stock
exchange.

       Section 12.5. If, at any time after the originally named Tenant herein may have assigned
Tcnant's interest in this Lease, this Lease shall be disaffirmed or rejected in any proceeding of the
types described in paragraph (E) of Section 16.1 hereof, or in any similar proceeding, or in the
event of termination of this Lease by reason of any such proceeding or by reason oflapse of time
following notice of termination given pursuant to said Article I 6 based upon any of the Events of
Default set forth in such paragraph, any prior Tenant, including, without limitation, the originally


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named Tenant, upon request of Landlord given within thirty (30} days next following any such
disaffirmance, rejection or termination {and actual notice thereof to Landlord in the event of a
disaffmnance or rejection or in the event of termination other than by act of Landlord), shall (1)
pay to Landlord all Fixed Rent, Escalation Rent and other items of Rental due and owing by the
assignee to Landlord under this Lease to and including the date of such disaffirmance; rejection
or termination, and (2) as "tenant", enter into a new lease With Landlord of the Premises for a
term commencing on the effective date of such disaffirmance, rejection or termination and
ending on the Expiration Date, unless sooner terminated as in such lease provided, at the same
Fixed Rent and upon the then executory terms, covenants and conditions as are contained in this
Lease, except that (a) Tenant's rights under the new lease shall be subject to the possessory rights
ofthe assignee under this Lease and the possessory rights of any person claiming through or
under such assignee or by virtue of any statute or of any order of any court, (b) such new lease
shall require all defaults existing under this Lease to be cured by Tenant with due diligence, and
(c) such new lease shall require Tenant to pay all Escalation Rent reserved in this Lease which,
had this Lease not been so disaffirmed, rejected or terminated, would have accrued under the
provisions of Article 27 hereof after the date of such disaffirmance, rejection or termination with
respect to any period prior thereto. If any such prior Tenant shall default in its obligation to enter
into said new lease for a period often (10) days next following Landlord's request therefor, then,
in addition to all other rights and remedies by reason of such default, either at law or in equity,
Landlord shall have the same rights and remedies against such Tenant as if such Tenant had
entered into such new lease and such new lease had thereafter been terminated as of the
commencement date thereof by reason of such Tenant's default thereunder.

           Section 12.6. (A) At least fifteen (15) Business Days prior to any proposed subletting of
  the Premises, Tenant shall submit a statement to Landlord (a "Tenant Statement") containing or
  accompanied by the following information: (a) the name and address of the proposed subtenant,
  (b) the terms and conditions of the proposed subletting, including, without limitation, the rent
  payable and the cost (including overhead and supervision) of any improvements (including any
  demolition to be performed) to the Premises for occupancy by such subtenant, (c) the nature and
  character of the business of the proposed subtenant, (d) the financial statements of the proposed
  subtenant and a description of the experience of the proposed subtenant and the principals thereof
  in the operation of restaurants in Manhattan, and (e) any other information that Landlord may
  reasonably request, together with a statement specifically directing Landlord's attention to the
  provisions of this Section 12.6(A) requiring Landlord to respond to Tenant's request within
  fifteen (15) Business Days after Landlord's receipt of the Tenant Statement. Landlord shall have
  the right, exercisable by notice to Tenant within fifteen (15) Business Days after Landlord's
, receipt of the Tenant Statement, to either (i) terminate this Lease on a date to be specified in
, Landlord's notice to Tenant (the "Sublease Termination Date"), which date shall not be earlier
  than one (I) day before the effective date of the proposed subletting nor later than sixty-one (61)
  days after said effective date, or (ii) to sublet (in its own name or that of its designee) the
  Premises (the "Recapture Space") from Tenant on the terms and conditions set forth in the
  Tenant Statement (as modified by the provisions of paragraph (C) of this Section 12.6) for a term
  expiring on the day immediately preceding the Expiration Date. If Landlord shall fail to notifY


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Tenant within said fifteen (15) Business Day period of Landlord's intention to exe~ise its rights
pursuant to this Section !2.6(A) hereof or of Landlord's consent to or disapproval of the proposed
subletting pursuant to the Tenant Statement, or if Landlord shall have consented to snch
subletting, Tenant shall have the right to sublease the Premises to such proposed subtenant on the
same terms and conditions set forth in the Tenant Statement, subject to the terms and conditions
of this Lease. If Tenant shall not enter into such sublease within sixty (60) days after the delivery
of the Tenant Statement to Landlord, then the provisions of Section 12.1 and this Section 12.6
shall again be applicable to any other proposed subletting. If Tenant shall enter into such
sublease within sixty (60) days as aforesaid, Tenant shall deliver a true, complete and fully
executed counterpart of such sublease to Landlord within five (5) days after execution thereof.

               (B)     If Landlord exercises its option to terminate this Lease as aforesaid, Tenant
shall vacate and surrender the Premises on or before the Sublease Termination Date in
accordance with Article 20 hereof and the Term shall end on the Sublease Termination Date as if
it were the Expiration Date.

               (C)    If Landlord exercises its option to sublet the Recapture Space,-snch
sublease to Landlord or its designee as subtenant (each, a "Recapture Sublease") shall:

                        (i)    be at a rental equal to the lesser of (x) the sum of the Fixed Rent,
Escalation Rent and Electricity Additional Rent then payable hereunder and (y} the sublease rent
set forth in the Tenant Statement (including electricity) and otherv.ise be upon the same terms
and conditions as those contained in this Lease (as modified by the Tenant Statement, except
such as are irrelevant or inapplicable and except as otherv.ise expressly set forth to the contrary
in this paragraph (C));

                       (ii)   give the subtenant the unqualified and unrestricted right, without
Tenant's permission, to assign such sublease and to further sublet the Recapture Space or any part
thereof and to make any and all changes, alterations, and improvements in the Recapture Space;

                       (iii)   provide in substance that any such changes, alterations, and
improvements made in the Recapture Space may be removed, in whole or in part, prior to or
upon the expiration or other termination of the Recapture Sublease provided that any material
damage and injury caused thereby shall be repaired;

                         (iv)     provide that (i) the parties to such Sublease expressly negate any
intention that any estate created under such Sublease be merged with any other estate held by
either of said parties, (ii) prior to the commencement of the term of the Recapture Sublease,
Tenant, at its sole cost and expense (unless the Tenant Statement provides otherwise), shall make
such alterations as may be required or reasonably deemed necessary by the subtenant, and (iii) at
the expiration of the term of such Sublease, Tenant shall accept the Recapture Space in its then
existing condition, broom clean;



3949175979-010 NYLIBl/1202597 v6                35                          09/07/00 02:32PM (16068)
                      (v)    provide that the subtenant or occupant 11ViY use and occupy the
Recapture Space for any lawful purpose (without regard to any limitation set forth in the Tenant
Statement); and

                        (vi)       not require the subtenant thereunder to post a security deposit

                (D)      Performance by Landlord, or its designee, under a Recapture Sublease
shall be deemed performance by Tenant of any similar obligation under this Lease and Tenant
shall not be liable for any default under this Lease or deemed to be in default hereunder if such
default is occasioned by or arises from any act or omission of the subtenant under the Recapture
Sublease or is occasioned by or arises from any act or omission of any occupant under the
Recapture Sublease.

                 (E)    If Landlord is unable to give Tenant possession of the Recapture Space at
the expiration of the term of the Recapture Sublease by reason of the holding over or retention of
possession of any tenant or other occupant, then (w) Landlord shall continue to pay all charges
previously payable, and comply with all other obligations, under the Recapture Sublease until the
date upon which Landlord shall give Tenant possession of the Recapture Space free of
occupancies, (x) neither the Expiration Date nor the validity of this Lease shall be affected, (y)
Tenant waives any rights under Section 223-a of the Real Property Law ofNew York, or any
successor statute of similar import, to rescind this Lease and further waives the right to recover
any damages from Landlord which may result from the failure of Landlord to deliver possession
of the Recapture Space at the end of the term of the Recapture Sublease, and (z) Landlord, at
Landlord's expense, shall use its reasonable efforts to deliver possession of the Recapture Space
to Tenant and in connection therewith, if necessary, shall institute and diligently and in good
faith prose.cute holdover and any other appropriate proceedings against the occupant of such
Space; if Landlord fails to prosecute such proceedings in such manner and such failure continues
after reasonable notice thereof by Tenant, Tenant may prosecute such proceedings in Landlord's
name and at Landlord's expense.

                (F)     The failure by Landlord to exercise its option under Section 12.6(A) with
respect to any subletting shall not be deem.ed a waiver of such option with respect to any
extension of such subletting or any subsequent subletting of the Premises affected thereby.

        Section 12.7. (A) In connection with any subletting of the Premises, Tenant shall pay to
Landlord an amount equal to sixty percent (60%) of any Sublease Profit derived therefrom.
Anything contained herein to the contrary notwithstanding, Tenant shall not be entitled to any
proceeds derived from or relating to (directly or indirectly) any subletting of the Recapture Space
by Landlord or its designee to a subtenant. All sums payable hereunder by Tenant shall be
calculated on an annualized basis, but shall be paid to Landlord, as additional rent, within ten
(1 0) days after receipt thereof by Tenant.

               (B)     For purposes of this Lease:


3949/75979-010 NYLIBl/1202597 v6                   36                          09/07!00 02:32 PM {15068)
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                        (1)    "Sublease Profit" shall mean the excess of(i) the Sublease Rent
over (ii) the then Fixed Rent, Escalation Rent and Electricity Additional Rent.

                       (2)     "Sublease Rent" shall mean any rent or other consideration paid to
Tenant directly or indirectly by any subtenant or any other amount received by Tenant from or in
connection with any subletting (including, but not limited to, sums paid for the sale or rental, or
consideration received on account of any contribution, of Tenant's Property or sums paid in
connection with the supply of electricity or HVAC), less the Sublease Expenses.

                        (3)      "Sublease Expenses" shall mean: (i) in the event of a sale to or
leasing by such subtenant of Tenant's Property, the then unamortized or undepreciated cost
thereof, determined on the basis of Tenant's federal income tax returns, (ii) the reasonable
out-of-pocket costs and expenses of Tenant in making such sublease, such as brokers' fees,
attorneys' fees, and advertising fees paid to unrelated third parties, (iii) any Sums paid to Landlord
pursuant to Section 12.2(B) hereof, and (iv) the cost of improvements or alterations made by
Tenant expressly and solely for the purpose of preparing the Premises for such subtenancy if not
used by Tenant subsequent to the expiration of the term of the sublease. In determining Sublease
Rent, the costs set fonh in clauses (i) (with respect only to a leasing by such subtenant of
Tenant's Property), (ii), (iii) and (iv) shall be amortized on a straight-line basis over the term of
such sublease.

                        (4)     Sublease Profit shall be recalculated from time to time to reflect
any corrections in the prior calculation thereof due to (i) subsequent payments received or made
by Tenant, (ii) the final adjustment of payments to be made by or to Tenant, and (iii) mistake.
Promptly after receipt or final adjustment of any such payments or discovery of any such
mistake, Tenant shall submit to Landlord a recalculation of the Sublease Profit, and an
adjustment shall be made between Landlord and Tenant, on account of prior payments made or
credits received pursuant to this Section 12.7.

         Section 17.8. (A) (!) For purposes of this Lease, a "Sale of Business Assignment" shall
mean a proposed assignment of this Lease in conjunction with the sale or transfer of all or
substantially all of the assets and business of Tenant where (I) the resulting restaurant operated at
the Premises by such assignee or transferee (a) is operated, for a period of at least two (2) years,
under the same name under which Tenant's restaurant at the Premises was operated prior to such
sale or transfer, (b) retains, for a period of at least two (2) years, the same decor (with no material
alterations thereto) as in Tenant's restaurant prior to such sale or transfer, (c) contracts in writing,
for a period of at least two (2) years after such sale or transfer, to employ Brennan as the operator
of such restaurant and Brennan operates such restaurant during such period, and (d) operates as a
first-class restaurant comparable with Tenant's restaurant prior to such sale or transfer (the
criteria set forth in clauses (a) through (d) above being referred to herein as the "Assignment
Criteria"'), and (II) the principal of such proposed assignee responsible for the operation of the
restaurant at the Premises (or, in the case of clause (z) below, the proposed assignee) (x) is a
first-class restauranteur with at least ten (10) years of experience in the restaurant business


3949/75979-010 NYLIBl/1.202597 v6                 37                           09107100 02:32PM (16068)
comparable with Brennan's experience as of the date hereof, (y) has at least one (1) other
restaurant in the New York City area of similar quality to Tenant's restaurant prior to such sale or
transfer, and (z) has a net worth and annual income and cash flow, determined in accordance
with generally accepted accounting principles, consistently applied, after giving effect to such
assignment, equal to the greater of Tenant's net worth and annual income and cash flow, as so
determined, on (i) the date immediately preceding the date of such assignment, and (ii) the
Commencement Date (any assignee meeting the conditions set forth in clauses (x) through (z)
above being referred to herein as a "Qualified Purchaser'').

                        (2)     If a Sale of Business Assignment is consummated and the
Qualified Purchaser fails to comply, at any time during the two (2) year period after the effective
date of such Sale of Business Assignment, with the Assignment Criteria (except with respect to
clause (c) of Section 12.8(A)(I) above, if such failure is due to the disability or death of
Brennan), then, from and after such date of non-compliance (the "Non-Compliance Date") (i) the
Sale of Business Assignment shall be deemed a Routine Assignment for purposes of this Lease
and, at any time thereafter, Landlord may exercise all of its rights hereunder that it would be
permitted to exercise if such Sale of Business Assignment were a Routine Assignment,
including, without limitation, the right to terminate this Lease as set forth in Section 12.8(C)(2)
hereof, but without any obligation by Landlord to make any payment pursuant to Section
12.9(A)(2) hereof, (ii) such failure to comply with the Assignment Criteria shall constitute an
Event of Default under this Lease and Landlord shall have all rights and remedies to which it is
entitled hereunder with respect to an Event of Default, and (iii) Landlord may direct Escrow
Agent to deliver the Sale of Business Escrow to Landlord in accordance with Section 12.8(C)(3)
below.

                       (3)     If Landlord consentS to a Sale of Business Assignment proposed by
Tenant, then Landlord and Tenant, promptly after receipt of Landlord's consent to such
Assignment, shall enter into an escrow agreement (the "Escrow Agreement") with Landlord's
attorney, as so designated by Landlord ("Escrow Agent"), pursuant to which Tenant shall deposit
into escrow (the "Sale of Business Escrow"), on or prior to the effective date of such Sale of
Business Assignment, an amount equal to Landlord's Assignment Payment (as defmed in Section
12.9 hereof) that would be payable toL:ndlord if the Sale of Business Assignment were a
Routine Assignment, which Sale of Business Escrow shall be held by Escrow Agent on the terms
set forth herein. The Escrow Agreement shall provide that (i) if the Qualified Purchaser
complies with the Assignment Criteria set forth in Section 12.8(A)(l) hereof during the entire
two (2) year period, then Landlord and Tenant shall direct Escrow Agent to deliver the Sale of
Business Escrow to Tenant promptly after the end of such period, and (ii) if the Qualified
Purchaser fails to comply, at any time during the two (2) year period, with the Assignment
Criteria, then Landlord may direct Escrow Agent to deliver the Sale of Business Escrow to
Landlord; It shall be a condition of Tenant's right to enter into a Sale of Business Assignment
that Landlord, Tenant and the Escrow Agent each execute and deliver the Escrow Agreement.




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              (B)    For purposes of this Lease, a "Routine Assignment" shall mean any
proposed assignment of this Lease which does not constitute a Sale of Business Assignment.

                 (C)    (I)      At least fifteen (15) Business Days prior to any proposed Sale of
 Business Assignment or Routine Assignment, Tenant shall submit a statement to Landlord (the
 "Assignment Statement") containing the following inforniation: (i) a statement whether the
 assignment is a Sale of Business Assignment or a Routine Assignment, (ii) the name and address
of the proposed assignee, (iii) the material terms and conditions of the proposed assignment,
including, without limitation, the consideration payable for such assignment and the cost (in-
cluding overhead and supervision) of any improvements (including any demolition to be
performed) to the Premises proposed to be made by Tenant to prepare the Premises for
occupancy by such assignee, and the cost of any other inducements to be provided by Tenant to
such proposed assignee in connection with such assignment, by way of contribution or otherwise,
(iv) the nature and character of the business of the proposed assignee, (v) the financial statement
and a description of the experience in the operation of restaurants in Manhattan of the proposed
assignee and the principals thereof, (vi) in the case of a Sale of Business Assignment, a
certification by Tenant and the proposed assignee that the proposed assignment is a Sale of
Business Assignment, together with evidence that the proposed assignment satisfies the
Assignment Criteria, and (vii) any other information that Landlord may reasonably request
(provided that such other information is requested by Landlord within ten (I 0) Business Days
after Landlord's receipt of the Tenant Statement), together with a statement specifically directing
Landlord's attention to the provisions of this Section 12.8(C)(l) requiring Landlord to respond to
Tenant's request within fifteen (15) Business Days after Landlord's receipt of the Assignment
Statement. The Assignment Statement shall be executed by Tenant and the proposed assignee
and shall indicate both parties' intent (but not necessarily binding obligation) to enter into an
assignment agreement conforming to the terms and conditions of the Assignment Statement and
on such other terms and conditions to which the parties may agree which are not inconsistent
with the material terms set forth in the Assignment Statement.

                       (2)     Landlord shall have the right, exercisable by written notice given
by Landlord to Tenant within fifteen (15) Business Days after Landlord's receipt of an
Assignment Statement with respect to a Routine Assignment, to terminate this Lease (an
"Assitmment Termination"), in which event the Term shall expire on a date set by Landlord that
is not sooner than ninety (90) days after the date of Landlord's notice, and Tenant shall vacate the
Premises and surrender the same to Landlord on such date set by Landlord in accordance with the
provisions of Article 20 hereof

                        (3)     If Landlord shall fail to notify Tenant within said fifteen (15)
Business Day period of Landlord's intention to exercise its rights pursuant to paragraph {C)(2) of
this Section 12.8 or of Landlord's consent to or disapproval of the proposed assignment pursuant
to the Assignment Statement, or if Landlord shall have consented to such assignment pursuant to
the (erms of this Article 12, then Tenant shall be free to assign the Premises to such proposed
assignee on the same terms and conditions set forth in the Assignment Statement. If Tenant shall


3949175979·01 0 NYUBl/1202597 v6                39                         09/07/00 02:32PM {16068)
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not enter into such assignment within sixty (60) days after the delivery of the Assignment
Statement to Landlord, then the provisions of this Section 12.8 shall again be applicable in their
entirety to any proposed assignment.

                (D)     IfTenant shall assign this Lease, Tenant shall deliver to Landlorcl, within
five (5) days after execution thereof, (x) a duplicate origirial instrument of assignment in form
and substance reasonably satisfactory to Landlord, duly executed by Tenant, (y) an instrument in
form and substance reasonably satisfactory to Landlord, duly executed by the assignee, in which
such assignee shall assume observance and performance of, and agree to be personally bound by,
all of the terms, covenants and conditions of this Lease on Tenant's part to be observed and
performed, and (z) in the case of a Sale of Business Assignment, a copy of the executed contract
referred to in Section l2.8(A)(I)(c) hereof.

               (E)    If Landlord consents to any Sale of Business Assignment or Routine
Assignment, then, from and after the effective date of such Assignment, the Fixed Rent payable
hereunder for each Rental Period shall be increased by ten percent (10%) of the Fixed Rent
payable hereunder for each Rental Period (such increased rent being referred to herein as the
"Assignment Rent").

                 (F)     Promptly after a determination has been made of the Assignment Rent, the
parties shall execute and deliver to each other an instrumynt setting forth the Fixed Rent for the
remainder of the term of this Lease as determined in accordance with this Section 12.8, provided
that failure of the parties to execute and deliver such instrument shall not affect the payment of
the Assignment Rent pursuant to this Section 12.8.

         Section 12.9. (A)(!) If Tenant submits an Assignment Statement to which Landlord
consents or is deemed to have consented pursuant to the provisions of this Article 12, then
Tenant shall pay (x) to Landlord, in the case of a Routine Assignment, within ten (10) days after
receipt thereof, or (y) to Escrow Agent, in the case of a Sale of Business Assignment, on or prior
to the effective date of such Sale of Business Assignment, an amount equal to the product of (I)
the Assignment Proceeds, Jess (i) in the event of a sale (or contribution of Tenant's Property, the
then unamortized or undepreciated cost thereof, determined by amortizing such costs on a
straight-line basis over the term of this Lease, (ii) the reasonable out-of-pocket costs and
expenses of Tenant in making such assignment, such as broker's fees, attorneys' fees and
advertising fees paid to unrelated third parties, (iii) any sums paid by Tenant to Landlord
pursuant to Section !2.2(B) hereof, and (iv) the cost of improvements or alterations made by
Tenant expressly and solely for the purpose of preparing the Premises for such assignment and
the cost of any other inducements to be provided by Tenant to the proposed assignee in
connection with such assignment by way of contribution or otherwise (the Assignment Proceeds,
less the amounts set forth in clauses (i) through (iv) above, being referred to herein as the "Net
Assignment Proceeds"), and (v) the then unamortized amount of (I) the "hard" costs of Tenant's
Initial Alterations, other than any costs for Initial Alterations which are moveable and decorative
in nature (collectively, the "Alteration Costs"), and (2) the amount paid by Tenant to An


3949/75979·010 NYUB1/1202597 v6                 40                         09/07/00 02:32PM (16068)
American Place, LLC ("American") for the purchase of American's fixtures (the "American
Fixture Costs"), determined in each case by amortizing such costs on a straight-line basis over
the term of this Lease (the "Unamortized Improvement Payment"), and (II) sixty percent (60%)
(such amount payable to Landlord or Escrow Agent being referred to herein as "Landlord's
Assignment Pavment"). Tenant has advised Landlord, and Landlord has agreed, that subject to
verification thereof in Tenant's Cost Statement, the amount of the American Fixture Costs shall
be Four Hundred Twenty-Five Thousand Dollars ($425,000) as reflected in Tenant's estimated
Projected Start-Up and Capital Expenditures attached hereto as Exhibit "C" and made a part
hereof (the "Projected Budget"). Within ninety (90) days after the date on which Tenant opens
for business, Tenant shall deliver to Landlord a statement signed by Tenant's independent
certified public accountant ("Tenant's Cost Statement"), certifying the amount of the Alteration
Costs and the American Fixture Costs, together with reasonable backup documentation of such
Costs. The costs included in the determination of the Alteration Costs (i) shall be substantially
similar to the categories of costs set forth in the Projected Budget, and (ii) shall not exceed the
costs set forth in the Projected Budget by more than thirty percent (30%) of such Projected
Budget (exclusive of the American Fixture Costs).

                        (2)     If Tenant submits an Assignment Statement with respect to a
Routine Assignment and Landlord exercises its right to terminate this Lease pursuant to Section
 J2.8(C)(2) hereof, then (A) Landlord shall pay to Tenant an amount equal to (X) the
 Unamortized Improvement Payment, plus (Y) the product of (I) (i) the Net Assignment Proceeds,
less (ii) the Unamortized Improvement Payment, and (II) forty percent (40%) ("Tenant's
Assignment Pavment"), and (B) Tenant shall pay to Landlord, within ten (I 0) days after demand
therefor, an amount equal to the cost of the items set forth in Paragraph 12.9(A)(I)(iv) above, as
such costs are reflected in the Assignment Statement. Tenant's Assignment Payment shall be
payable by Landlord over the same period of time that the Assignment Proceeds would have been
payable to Tenant pursuant to the Assignment Statement if Landlord had not elected to terminate
this Lease; provided, however, that Landlord shall have the right to prepay such installments of
Tenant's Assignment Payment in a lump-sum payment discounted at a discount rate equal to the
then current yield on the Federal Treasury Bill, Note or Bond with a maturity closest to the Fixed
Expiration Date.

                (B)      For purposes of this Lease, "Assignment Proceeds" shall mean, in the case
of a Routine Assignment or Sale of Business Assignment, all consideration payable to Tenant,
directly or indirectly, by any assignee, or any other amount received by Tenant from or in
connection with any such assignment (including, but not limited to, sums paid for the sale or
rental, or consideration received on account of any contribution, of Tenant's Property).

        s~ction 12.1 0. Notwithstanding any other provision of this Lease, neither Tenant nor
any direct or indirect assignee or subtenant of Tenant may enter into any lease, sublease, license,
concession or other agreement for use, occupancy or utilization of space in the Premises which
provides for a rental or other payment for such use, occupancy or utilization based in whole or in
part on the net income or profits derived by any person from the property leased, occupied or


3949175979·010 NYLIBl/1202597 v6                4!                          09/07100 02:32PM {16068!
utilized, or which would require the payment of any consideration which would not fall within
the definition of "rents from real property", as that term is defined in Section 856(d) of the
Internal Revenue Code of 1986, as amended.


                                            ARTICLE 13
                                           ELECTRICITY

         Section 13.1. Tenant shall at all times comply with the rules, regulations, terms and
conditions applicable to service, equipment, wiring and requirements of the public utility
supplying electricity to the Building. Tenant shall not use any electrical equipment which would
 exceed the capacity of existing feeders to the Building or the risers or wiring installations therein
or which will overload such installations or interfere with the electrical service to other tenants of
the Building. In the event that, in Landlord's reasonable judgment, Tenant's electrical
requirements necessitate installation of an additional riser, risers or other proper and necessary
equipment, Landlord shall so notify Tenant of same. Within five (5) Business Days after receipt
of such notice, Tenant shall either cease such use of such additional electricity or shall request
that additional electrical capacity (specifying the amount requested) be made a,vailable to Tenant.
Landlord, in· Landlord's reasonable judgment shall determine whether to make available such
additional electrical capacity to Tenant and the amount of such additional electrical capacity to be
made available. If Landlord shall agree to make available additional electrical capacity and the
same necessitates installation of an additional riser, risers or other proper and necessary
equipment, including, without limitation, any switchgear, the same shall be installed by
Landlord. Any such installation shall be made at Tenant's sole cost and expense, and shall be·
chargeable and collectible as additional rent and paid within ten (1 0) days after the rendition of a
bill to Tenant therefor. Landlord shall not be liable in any way to Tenant for any fuilure or defect
in the supply or character of electric service furnished to the Premises by reason of any
requirement, act or omission of the utility serving the Building or for any other reason not
attributable to the gross negligence of Landlord, whether electricity is provided by public or
private utility or by any electricity generation system owned and operated by Landlord.

        Section 13.2. (A) Unless Landlord elects to have Tenant obtain electricity from the
public utility company furnishing electricity to the Building pursuant to the provisions of Section
13 .4 hereof, then subject to the provisions of Section 13.3 hereof, electricity shall be furnished by
Landlord to the Premises and Tenant shall pay to Landlord, as additional rent for such service,
during the Term, an amount (the "Electricitv Additional Rent") equal to (i) the amount Landlord
actually pays to the utility company to provide electricity to the Premises, including all applicable
surcharges, demand charges, time-of-day charges, energy charges, fuel adjustment charges, rate
adjustment charges, taxes and other sums payable in respect thereof and net of any rebates or
credits actually received by Landlord in respect of such electricity supplied to the Premises,
based on Tenant's demand and/or consumption of electricity (and/or any other method of
quantifying Tenant's use of or demand for electricity as set forth in the utility company's tariff) as
registered on a meter or submeter for purposes of measuring such demand, consumption and/or


3949175979-010 NYLJB1/1202597 v6                 42                          09107/00 02:32PM {16068)
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other method of quantifying Tenant's use of or demand for electricity (it being agreed that such
meter or submeter shall measure demand and consumption, and off-peak and on-peak use, in
either case to the extent such factors are relevant in making the determination of Landlord's cost)
plus (ii) four percent (4%) of the amount set forth in clause (i) above as Landlord's administrative
charge for overhead supervision. Tenant, from time to time, shall have the right to review ·
Landlord's meter readings, and Landlord's calculation of the Electricity Additional Rent, at
reasonable times and on reasonable prior notice, by giving notice thereof to Landlord on or prior
to the thirtieth (30"') day after the date when Landlord gives Tenant a bill or statement for the
Electricity Additional Rent.

                 (B) Where more than one meter measures the electricity supplied to Tenant, the
electricity rendered through each meter may be computed and billed separately in accordance
with the provisions hereinabove set forth. Bills for the Electricity Additional Rent shall be
rendercil to Tenant at such time as Landlord may elect, and Tenant shall pay the amount shown
thereon to Landlord within ten (1 0)' days after receipt of such bill. Tenant expressly
acknowledges that in connection with the installation of the meters or submeters, the electricity
being supplied to the Premises shall be temporarily interrupted. Landlord shall use reasonable
efforts to minimize interference with the conduct of Tenant's business in connection with such
installation; provided, however, that Landlord shall have no obligation to employ contractors or
labor at so-called overtime or other premium pay rates or to incur any other overtime costs or
expenses whatsoever.

         Section I 3.3. (A) If, prior to Tenant's performance of the Initial Alterations, such meters
or submeters become non-operational for any reason, Tenant shall be provided access to the
Premises or portion thereoffor the purpose of performing Tenant's Initial Alterations and Tenant
shall pay to Landlord a fee (the "Electricity Fee") in consideration of Landlord furnishing .
electricity to the Premises for construction lighting and for power for normal construction tools.
The Electricity Fee shall only be payable with respect to the period during which such meters or
submetcrs are non-operational. Upon the meters becoming operational, Tenant shall pay
Electricity Additional Rent based upon the demand and consumption shown on such meters or
submeters, as more particularly set forth in Section 13.2 hereof. The Electricity Fee shall be an
amount equal to the product of (x) Seventy-Three and 97/100 Dollars ($73.97) (provided,
howe\'er, that if Landlord shall provide Tenant with access to less than the entire Premises, the
Electricity Fee s,hall be proportionately reduced based on the area of the Premises to which
Tenant has been given access), and (y) the number of calendar days on which Tenant shall have
access to the Premises or portion thereof for the purpose of performing Tenant's Initial
Alterations. Landlord shall render a biU to Tenant for such Electricity Fee from time to time, but
not more frequently than monthly, and Tenant shall pay such Electricity Fee to Landlord, as
additional rent, within ten (10) days after receipt of such bill.

                (B) If, at any time during the Term after the performance of the Initial
Alterations, the meters or submeters in the Premises become non-operational for any reason and
Tenant shall occupy all or any portion of the Premises for the conduct of business, Landlord shall


3949/75979·010 NYLIB1/1202597 v6                 43                             09/07100 02:32PM (16068)
  furnish electric CIUTent to the Premises on a "rent inclusion" basis, until said meters or submeters
  become operational. Upon such meters or submeters becoming operational, Tenant shall pay
  Electricity Additional Rent pursuant to Section 13.2 hereof. The Fixed Rent set forth in this
  Lease does not include a charge for such electric service. Accordingly, Tenant shall pay to
  Landlord on the first day of each month during such inclusion period, in the same manner as
  Fixed Rent is payable hereunder, an amount equal to Two Thousand Two Hundred Fifty Dollars
  ($2,250) (the "Electricity Inclusion Charge"). If such inclusion period shall commence on a date
  other than the first (1st) day of any calendar month, Tenant shall pay to Landlord on the date such
  inclusion period commences an amount equal to the product of (i) Seventy-Three and 97/100
 Dollars, and (ii) the number of calendar days in the period from the beginning of such inclusion
  period to the last day of the month in which such date shall occur, both dates inclUsive. If
 Landlord is supplying electricity to only a portion of the Premises on a "rent inclusion" basis as
 aforesaid, the Electricity Inclusion Charge shall be proportionately reduced based on the area of
 the Premises being supplied with electricity on a "rent inclusion" basis. The parties agree that
 although the charge for furnishing electrical energy is reflected in the Electricity Inclusion
 Charge on a so called "rent inclusion" basis, the value to Tenant of such service may not be
·accurately reflected in such Electricity Inclusion Charge. Accordingly, Landlord and Tenant
 agree that after the meters and/or submeters are operational and electricity is being furnished to
 such portion of the Premises pursuant to Section 13.2 hereof for a three (3) month period, the
 Electricity Inclusion Charge shall be adjusted based on the average of the Electricity Additional
 Rent, ("Three Month Average") payable by Tenant for such three (3) month period with respect to
 the portion of the Premises which was previously being furnished with electricitY on a "rent
 inclusion" basis. If the Three Month Average shall exceed the Electricity Inclusion Charge,
 Tenant, within ten (10) Business Days after demand therefor, shall pay such excess to Landlord,
 and if the Electricity Inclusion Charge shall exceed the Three Month Average, Landlord, at its
 option, shall either promptly refund to Tenant such excess or shall credit such excess against
 immediately subsequent monthly installments of Fixed Rent next becoming due and payable
 hereunder.

         Section 13 .4. If Landlord shall be required by Requirements or the public utility serving
the Premises to discontinue furnishing electricity to Tenant, this Lease shall continue in full force
and effect and shall be unaffected therety, except only that from and after the effective date of
such discontinuance, Landlord shall not be obligated to furnish electricity to Tenant and Tenant
shall not be obligated to pay the. Electricity Additional Rent or the Electricity Inclusion Charge, .
as the case may be. If Landlord so discontinues furnishing electricity to Tenant, Tenant shall use
diligent efforts to obtain electric energy directly from the public utility furnishing electric service
to the Building. The costs of such service shall be paid by Tenant directly to such public utility.
Such electricity may be furnished to Tenant by means of the existing electrical facilities serving
the Premises, at no charge, to the extent the same are available, suitable and safe for such
purposes as determined by Landlord. All meters and all additional panel boards, feeders, risers,
wiring and other conductors and equipment which may be required to obtain electricity shall be
installed by Landlord at Tenant's expense. Provided Tenant shall use and continue to use diligent
efforts to obtain electric energy directly from the public utility, Landlord, to the extent permitted


3949/75979.010 NYLIB1/1202597 v6                  44                          09/07100 02:32 PM (16068)
by applicable Requirements, shall not discontinue furnishing electricity to the Premises until such
installations have been made and Tenant shall be able to obtain electricity directly from the
public utility.


                                         ARTICLE 14
                                     ACCESS TO PREMISES

         Section 14.1. (A) Tenant shall permit Landlord, Landlord's agents, representatives,
 contractors and employees and public utilities servicing the Building to erect, use and maintain,
 concealed ducts, pipes and conduits in and through the Premises as Landlord deems reasonably
necessary for Landlord's business operations. Landlord, Landlord's agents, representatives,
contractors, and employees and the agents, representatives, contractors, and employees of public
utilities servicing the Building shall have the right to enter the Premises at all reasonable times
upon reasonable prior notice (except in the case of an emergency in which event Landlord and
Landlord's agents, representatives, contractors, and employees may enter without prior notice to
Tenant), which notice may l;>e oral, to examine the same, to show them to prospective purchasers,
or prospective or existing Mortgagees or Lessors, and to make such repairs, alterations, im-
provements, additions or restorations (i) as Landlord may deem reasonably necessary or desirable
to the Premises or to any other portion of the Building, or (ii) which Landlord may elect to per-
form following ten (I 0) days after notice, except in the case of an emergency (in which event
Landlord and Landlord's agents, representatives, contractors, and employees may enter without
prior notice to Tenant), following Tenant's failure to make repairs or perform any work which
Tenant is obligated to make or perform under this Lease, or (iii) for the purpose of complying
with any Requirements, a-Superior Lease or a Mortgage, and Landlord shall be allowed to take
all material into and upon the Premises that may be required therefor without the same con-
stituting an eviction or constructive eviction of Tenant in whole or in part and the Fixed Rent
(and any other item of Rental) shall in no wise abate while said repairs, alterations,
improvements, additions or restorations are being made, by reason ofloss or interruption of
business of Tenant, or otherwise.

              (B)    Any work performed or installations made pursuant to this Article 14 shall
be made with reasonable diligence and otherwise pursuant to the provisions of Section 4.3
hereof.

                (C)    Except as hereinafter provided, any pipes, ducts, or conduits installed in or
through the Premises pursuant to this Article 14 shall be concealed behind, beneath or within
partitioning, columns, ceilings or floors located or to be located in the Premises.
Notwithstanding the foregoing, any such pipes, ducts, or conduits may be furred at points
immediately adjacent to partitioning columns or ceilings located or to be located in the Premises,
provided that the same are completely furred and that the installation of such pipes, ducts, or
conduits, when completed, shall not reduce the usable area of the Premises beyond a de minimis
amount.


3949/75979-010 NYL!Bl/1202597 v6                45                          09/07/00 02:32PM (16068!
      Section I 4.2. During the nine (9) month period prior to the Expiration Date, Landlord
may exhibit the Premises to prospective tenants thereof.

         Section 14.3. If Tenant shall not be present when for any reason entry into the Premises
shall be necessary or permissible, Landlord or Landlord's agents, representatives, contractors or
employees may enter the same without rendering Landlord or such agents liable therefor if during
such entry Landlord or Landlord's agents shall accord reasonable care under the circlllllStaiices to
Tenant's Property, and without in any manner affecting this Lease. Nothing herein contained,
however, shall be deemed or construed to impose upon Landlord any obligation, responsibility or
liability whatsoever, for the care, supervision or repair of the Building or any part thereof, other
than as herein provided.

        Section 14.4. Landlord also shall have the right at any time, without the same
constituting an actual or constructive eviction and without incurring any liability to Tenant
therefor, to change the arrangement or location of entrances or passageways, doors and door-
ways, and corridors, elevators, stairs, toilets, or other public parts of the Building and to change
the name, number or designation by which the Building is commonly kn(lwn, provided any such
change does not (a) unreasonably reduce, interfere with or deprive Tenant of access to the
Building or the Premises, (b) reduce the rentable area (except by a de minimis amount) of the
Premises, or (c) move the entrance(s) to the Premises (except by a de minimis amount). All parts
(except surfaces facing the interior of the Premises) of all walls, windows and doors bounding
the Premises {including exterior Building walls, exterior core corridor walls, exterior doors and
entrances), all balconies, terraces and roofs adjacent to the Premises, all space in or adjacent to
the Premises used for shafts, stacks, stairways, chutes, pipes, conduits, ducts, fan rooms, heating,
air cooling, plumbing and other mechanical facilities, service closets and other Building facilities
are not part of the Premises, and Landlord shall have the use thereof, as well as access thereto
through the Premises for the purposes of operation, maintenance, alteration and repair.


                                          ARTICLE 15
                                  CERTIFICATE OF OCCUPANCY

        Tenant shall not at any time use or occupy the Premises in violation of the certificate of
occupancy at such time issued for the Premises or for the Building and in the event that any
department of the City or State of New York smill hereafter contend or declare by notice,
violation, order or in any other manner whatsoever that the Premises are used for a purpose
which is a violation of such certificate of occupancy, Tenant, upon written notice from Landlord
or any Governmental Authority, shall immediately discontinue such use of the Premises;
provided, however, that Tenant, at Tenant's sole cost and expense and with Landlord's consent
(which consent shall not be unreasonably withheld), may apply for, and pay all costs in
connection with, an amendment to the existing certificate of occupancy which would permit any
such use which is permitted in accordance with this Lease, provided further that any such change
to the certificate of occupancy shall not affect the use of any portion of the Building outside of


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 the Premises. On the Commencement Date a temporary or permanent certificate of occupancy
 covering the Premises will be in force pennitting certain portions of the Premises to be used for
 ''retail" or ''storage" purposes, as the case may be, provided, however, neither such certificate,
 nor any provision of this Lease, nor any act or omission of Landlord, shall be deemed to
 constitute a representation or warranty that any particular part of the Premises may be used for
 either "retail" or "storage" purposes, or that the Premises, or any part thereof, lawfully may be
 used or occupied for any particular purpose or in any particular manner, in contradistinction to
 mere "retail" or "storage" use, as the case may be.


                                             ARTICLE 16
                                              DEFAULT

         Section 16.1. Each of the following events shall be an "Event of Default" hereunder:

                  (A) if Tenant shall default in the payment when due of any installment of Fixed
  Rent and such default shall continue for five (5) days after notice of such default is given to
. Tenant, or in the payment when due of any other item of Rental and such default shall continue
  for five (5) days after notice of such default is given to Tenant, except that if Landlord shall have
  given two (2) such notices in any twelve ( 12) month period, Tenant shall not be entitled to any
  further notice of its delinquency in the payment of Rental until such time as twelve (12)
  consecutive months shall have elapsed without Tenant having defaulted in any such payment; or

                 (B) Intentionally Omitted; or,

                 (C) if the Premises shall become vacant, deserted or abandoned or if Tenant shall
 fail to be open to the public for the conduct of its business as provided in Section 2.1 (C) hereof
 for more than five (5) consecutive days more than four (4) times in any six (6) month period
 (other than by reason of casualty or similar reasons beyond Tenant's reasonable control); or

                (D) if Tenant's interest or any portion thereof in this Lease shall devolve upon or
 pass to any person, whether by operation of law or otherwise, except as expressly permitted
 under Article 12 hereof; or

                 (E) (I) if Tenant shall generally not, or shall be unable to, or shall admit in
 writing its inability to, pay its debts as they become due; or

                        (2) if Tenant shall commence or institute any case, proceeding or other
 action (A) seeking relief on its behalf as debtor, or to adjudicatl! it a bankrupt or insolvent, or
 seeking reorganization, arrangement, adjustment, winding-up, liquidation, dissolution,
 composition or other relief with respect to it or its debts under any existing or future law of any
 jurisdiction, domestic or foreign, relating to bankruptcy, insolvency, reorganization or relief of



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debtors, or (B) seeking appointment of a receiver, trustee, custodian or other similar official for it
or for all or any substantial part of its property; or

                        (3) if Ten ant shall make a general assignment for the benefit of creditors;
or

                        (4) if any case, proceeding or other action shall be commenced or
instituted against Tenant (A) seeking to have an order for relief entered against it as debtor or to
adjudicate it a bankrupt or insolvent, or seeking reorganization, arrangement, adjustment,
winding-up, liquidation, dissolution, composition or other relief with respect to it or its debts
under any existing or future law of any jurisdiction, domestic or foreign, relating to bankruptcy,
insolvency, reorganization or relief of debtors, or (B) seeking appointment of a receiver, trustee,
custodian or other similar official for it or for all or any substantial part of its property, which in
either of such cases (i) results in any such entry of an order for relief, adjudication of bankruptcy
or insolvency or such an appointment or the issuance or entry of any other order having a similar
effect or (ii) remains undismissed for a period of sixty (60) days; or

                       (5) if any case, proceeding or other action shall be commenced or
instituted against Tenant seeking issuance of a warrant of attachment, execution, distraint or
similar process against all or any substantial part of its property which results in the entry of an
order for any such relief which shall not have been vacated, discharged, or stayed or bonded
pending appeal within sixty (60) days from the entry thereof; or

                       (6) if Tenant shall take any action in furtherance of, or indicating its
consent to, approval of, or acquiescence in, any of the acts set forth in clauses (2), (3), ( 4) or (5)
above; or

                        (7) if a trustee, receiver or other custodian is appointed for any substantial
part of the assets of Tenant which appointment is not vacated or stayed within seven (7) Business
DaYs; or

               (F) ifTenant shall fail more than five (5) times during any twelve (12) month
period to pay any installment afFixed Rent or any item ofRental when due after receipt of the
notice and the expiration of the applicable grace period pursuant to the provisions of paragraph
(A) above, ifsuch notice and grace period are then required; or

               (G) if Tenant shall fail to pay any installments of Fixed Rent or items of Rental
when due as required by this Lease, and Landlord shall bring more than two (2) summary
dispossess proceedings during any twelve (12) month period; or

               (H) if Landlord shall present the Letter of Credit to the bank which issued the
same in accordance with the provisions of Article 31 hereof, and the bank shall fail to honor the
Letter of Credit and pay the proceeds thereof to Landlord for any reason whatsoever; or


3949!75979-010 NYUBl /1202597 v6                  48                           09107100 02,32 PM (16068}
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                 (!) if Tenant shall default in the observance or performance of any other tenn,
covenant or condition of this Lease on Tenant's part to be observed or performed and Tenant
shall fail to remedy such default within twenty (20) days after notice by Landlord to Tenant of
such default, or if such default is of such a nature that it cannot with due diligence be completely
remedied within said period of twenty (20) days and Tenant shall not commence within said
period of twenty (20) days, or shall not thereafter diligently prosecute to completion, all steps
necessary to remedy such defuult

         Section 16.2. (A) If an Event of Default (i) described in Section 16.l(E) hereof shall
 occur, or (ii) described in Sections 16.I(A), (B), (C), (D), (F), (G), (H) or (I) shall occur and
 Landlord, at any time thereafter, at its option gives written notice to Tenant stating that this Lease
 and the Term shall expire and terminate five (5) days after the date Landlord shall give Tenant
such notice, then this Lease and the Term and all rights of Tenant under this Lease shall expire
and terminate as if the date on which the Event of Default described in clause (i) above occurred
or five (5) days after the date of such notice, pursuant to clause (ii) above, as the case may be,
were the Fixed Expiration Date, and Tenant immediately shall quit and surrender the Premises,
but Tenant shall nonetheless be liable for all of its obligations hereunder, as provided for in
Articles 17 and 18 hereof. Anything contained herein to the contrary notwithstanding, if such
termination shall be stayed by order of any court having jurisdiction over any proceeding
described in Section 16.1 (E) hereof, or by federal or state statute, then, following the expiration
of any such stay, or if the trustee appointed in any such proceeding, Tenant or Tenant as
debtor-in-possession shall fail to assume Tenant's obligations under this Lease within the period
prescribed therefor by law or within one hundred twenty (120) days after entty of the order for
relief or as may be allowed by the court, or if said trustee, Tenant or Tenant as
debtor-in-possession shall fail to provide adequate protection of Landlord's right, title and
interest in and to the Premises or adequate assurance of the complete and continuous future
performance of Tenant's obligations under this Lease as provided in Section 12.3(B), Landlord,
to the extent permitted by law or by leave of the court having jurisdiction over such proceeding,
shall have the right, at its election, to terminate this Lease on five (5) days' notice to Tenant,
Tenant as debtor-in-possession or said trustee and upon the expiration of said five (5) day period
this Lease shall cease and expire as aforesaid and Tenant, Tenant as debtor-in-possession or said
trustee shall immediately quit and surrender the Premises as aforesaid.

                (B) If an Event of Default described in Section !6.I(A) hereof shall occur, or this
Lease shall be terminated as provided in Section 16.2(A) hereof, Landlord, without notice, ·may
reenter and repossess the Premises using such force for that purpose as may be necessary without
being liable to indictment, prosecution or damages therefor and may dispossess Tenant by
summary proceedings or otherwise.

        Section 16.3. If at any time, (i) Tenant shall be comprised of two (2) or more persons, or
(ii) Tenant's obligations under this Lease shall have been guaranteed by any person other than
Tenant, or (iii) Tenant's interest in this Lease shall have been assigned, the word "Tenant", as
used in Section !6.I(E), shall be deemed to mean any one or more of the persons primarily or


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secondarily liable for Tenant's obligations under this Lease. Any monies received by Landlord
from or on behalf of Tenant during the pendency of any proceeding of the types referred to in
Section 16.1 (E) shall be deemed paid as compensation for the use and occupation of the Premises
and the acceptance of any such compensation by Landlord shall not be deemed an acceptance of
Rental or a waiver on the part of Landlord of any rights under Section 16.2.


                                              ARTICLE 17
                                        REMEDIES AND DAMAGES

        Section 17.1. (A) If there shall occur any Event of Default, and this Lease and the Term
shall expire and come to an end as provided in Article 16 hereof:

                       (I) Tenant shall quit and peacefully surrender the Premises to Landlord,
and Landlord and its agents may immediately, or at any time after such default or after the date
upon which this Lease and the Term shall expire and come to an end, re-enter the Premises or
any part thereof, without notice, either by summary proceedings, or by any other applicable
action or proceeding, or by force or otherwise (without being liable to indictment, prosecution or
damages therefor), and may repossess the Premises and dispossess Tenant and any other persons
from the Premises and remove any and all of their property and effects from the Premises; and.

                         (2) Landlord, at Landlord's option, may relet the whole or any portion or
portions of the Premises from time to time, either in the name of Landlord or otherwise, to such
tenant or tenants, for such term or terms ending before, on or after the Expiration Date, at such
rental or rentals and upon such other conditions, which may include concessions and free rent
periods, as Landlord, in its sole discretion, may determine; provided, however, that Landlord
shall have no obligation to relet the Premises or any part thereof and shall in no event be liable
for refusal or failure to relet the Premises or any part thereof, or, in the event of any such
relctting, for refusal or failure to collect any rent due upon any such reletting, and no such refusal
or failure shall operate to relieve Tenant of any liability under this Lease or otherwise affect any
such liability, and Landlord, at Landlord's option, may make such repairs, replacements,
alterations, additions, improvements, decorations and other physical changes in and to the
Premises as Landlord, in its sole discretion, considers advisable or necessary in connection with
any such reletting or proposed reletting, without relieving Tenant of any liability under this Lease
or otherwise affecting any such liability.

                 (B) Tenant hereby waives the service of any notice of intention to re-enter or to
institute legal proceedings to that end which may otherwise be required to be given under any
present or fu!\Jre law. Tenant, on its own behalf and on behalf of all persons claiming through or
under Tenant, including all creditors, does further hereby waive any and ail rights which Tenant
and all such persons might othervvise have under any present or future law to redeem the
Premises. or to re-enter or repossess the Premises, or to restore the operation of this Lease, after
(a) Tenant shall have been dispossessed by a judgment or by warrant of any court or judge, or (b)


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any re-entry by Landlord, or (c) any expiration or tennination of this Lease and the Tenn,
whether such dispossess, re-entry, expiration or tennination shall be by operation oflaw or
pursuant to the provisions of this Lease. The words "re-enter," "re-entry" and "re-entered" as
used in this Lease shall not be deemed to be restricted to their teclmicallegal meanings. In the
event of a breach or threatened breach by Tenant, or any persons claiming through or under
Tenant, of any term, covenant or condition of this Lease, Landlord shall have the right to enjoin
such breach and the right to invoke any other remedy allowed by law or in equity as if re-entry,
summary proceedings and other special remedies were not provided in this Lease for such
breach. The right to invoke the remedies hereinbefore set forth are cumulative and shall not
preclude Landlord from invoking any other remedy allowed at law or in equity.

        Section 17.2. (A} If this Lease and the Term shall expire and come to an end as provided
in Article I6 hereof, or by or under any summary proceeding or any other action or proceeding,
or if Landlord shall re-enter the Premises as provided in Section 17.1, or by or under any
summary proceeding or any other action or proceeding, then, in any of said events:

                       (I) Tenant shall pay to Landlord all Fixed Rent, Escalation Rent and other
items of Rental payable under this Lease by Tenant to Landlord to the date upon which this Lease
and the Term shall have expired and come to an end or to the date of re-entry upon the Premises
by Landlord, as the case may be;

                       (2) Tenant also shall be liable for and shall pay to Landlord, as dsrnages,
any deficiency (referred to as "Deficiency") between the Rental for the period which otherwise
would have constituted the unexpired portion of the Term and the net amount, if any, of rents
collected under any reletting effected pursuant to the provisions of clause (2) of Section 17.1 (A)
for any part of such period (first deducting from the rents collected under any snch reletting all of
Landlord's expenses in connection with the termination of this Lease, Landlord's re-entry upon
the Premises and with such reletting, including, but not limited to, all repossession costs,
brokerage commissions, legal expenses, attorneys' fees and disbursements, alteration costs,
contribution to work and other expenses of preparing the Premises for such reletting); any such
Deficiency shall be paid in monthly installments by Tenant on the days specified in this Lease for
payment of installments of Fixed Rent; Landlord shall be entitled to recover from Tenant each
monthly Deficiency as the same shall arise, and no suit to collect the amount of the Deficien'cy
for any month shall prejudice Landlord's right to collect the Deficiency for any subsequent month
by a similar proceeding; and

                        (3) whether or not Landlord shall have collected any monthly Deficiency
as aforesaid, Landlord shall be entitled to recover from Tenant, and Tenant shall pay to Landlord,
on demand, in lieu of any further Deficiency as and for liquidated and agreed final damages, a
sum equal to the amount by which the Rental for the period which otherwise would have
constituted the unexpired portion of the Term (commencing on the date immediately succeeding
the last date with respect to which a Deficiency, if any, was collected) exceeds the then fa:ir and
reasonable rental value of the Premises for the same period, both discounted to present worth at


3949/75979-010 NYLI81/1202597 v6                51                          09/07/00 02:32PM 116068)
the Base Rate; if, before presentation of proof of such liquidated damages to any court,
commission or tribunal, the PremiseS, or any part thereof, shall have been relet by Landlord for
the period which otherwise would have constituted the unexpired portion of the Term, or any part
thereof, the amount of rent reserved upon such reletting shall be deemed, prima facie, to be the
fair and reasonable rental value for the part or the whole of the Premises so relet during the term
of the reletting.

                (B) If the Premises, or any part thereof, shall be relet together with other space in
the Building, the rents collected or reserved under any such reletting and the expenses of any
such reletting shall be equitably apportioned for the purposes of this Section 17.2. Tenant siian
in no event be entitled to any rents collected or payable under any reletting, whether or not such
rents shall exceed the Fixed Rent reserved in this Lease. Solely for the purposes of this Article
17, the term "Escalation Rent" as used in Section 17.2(A) shall mean the Escalation Rent in
effect immediately prior to the Expiration Date, or the date of re-entry upon the Premises by
Landlord, as the case may be, adjusted to reflect any increase pursuant to the provisions of
Article 27 hereof for the year immediately preceding such event. Nothing contained in Article 16
hereof or this Article I 7 shall be deemed to limit or preclude the recovery by Landlord from
Tenant of the maximum amount allowed to be obtained as damages by any statute or rule oflaw,
or of any sums or damages to which Landlord may be entitled in addition to the damages set
forth in this Section 17.2.


                                       ARTICLE 18
                               LANDLORD FEES AND EXPENSES

         Section 18.!. lfTenant shall be in default under this Lease or if Tenant shall do or permit
to be done any act or thing upon the Premises which would cause Landlord to be in default under
any Superior Lease or Mortgage, Landlord may(!) as provided in Section !4.1 hereof, perform
the same for the account of Tenant, or (2) make any expenditure or incur any obligation for the
payment of money, including, without limitation, reasonable attorneys' fees and disbursements in
instituting, prosecuting or defending any action or proceeding, and the cost thereof, with interest
thereon at the Applicable Rate, shall be deemed to be additional rent hereunder and shall be paid
by Tenant to Landlord within ten(! 0) days of rendition of any bill or statement to Tenant
therefor and if the term of this Lease shall have expired at the time of making of such
expenditures or incurring of such obligations, such sums shall be recoverable by Landlord as
damages.

        Section 18.2. lfTenant shall fail to pay any installment of Fixed Rent, Escalation Rent or
any other item of Rental when due after applicable notice and grace period (if any), Tenant shall
pay to Landlord, in addition to such installment of Fixed Rent, Escalation Rent or other item of
Rental. as the case may be, as a late charge and as additional rent, a sum equal to interest at the
Applicable Rate on the amount unpaid, computed from the date such payment was due to and in-
cluding the date of payment.


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                                      ARTICLE 19
                           NO REPRESENTATIONS BY LANDLORD

        Section 19.1. Landlord and Landlord's agents and representatives have made no
representations or promises with respect to the Building, the Real Property or the Premises
except as herein expressly set forth, and no rights, easements or licenses are acquired by Tenant
by implication or otherwise except as expressly set forth herein. Tenant shall accept possession
of the Premises in the condition which shall exist on the Commencement Date "as is" (subject to .
the provisions of Section 4.1 hereof), and Landlord shall have no obligation to perform any work
or make any installations in order to prepare the Premises for Tenant's occupancy;


                                          ARTICLE20
                                         END OF TERM

        Upon the expiration or other termination of this Lease, Tenant shall quit and surrender to
 Landlord the Premises, vacant, broom clean, in good order and condition, ordinary wear and tear
and damage for which Tenant is not responsible under the terms of this Lease excepted, and
otherwise in compliance with the provisions of Article 3 hereof. If the last day oftlie Term falls
on Saturday or Sunday, this Lease shall expire on the Business Day immediately preceding.
Tenant expressly waives, for itself and for any person claiming through or under Tenant, any
rights which Tenant or any such person may have under the provisions of Section 2201 of the
New York Ci vi! Practice Law and Rules and of any successor law of like import then in force in
connection with any holdover summary proceedings which Landlord may institute to eoforce the
foregoing provisions of this Article 20. Tenant acknowledges that possession of the Premises
must be surrendered to Landlord on the Expiration Date. Tenant agrees to indemnity and save
Landlord harmless from and against all claims, losses, damages, liabilities, costs and expenses
(including, without limitation, attorneys' fees and disbursements)resulting from delay by Tenant
in so surrendering the Premises, including, without limitation, any claims made by any
succeeding tenant founded on such delay. The parties recognize and agree that the damage to
Landlord resulting from any failure by Tenant to timely surrender possession of the Premises as
aforesaid will be extremely substantial, will exceed the amount of the monthly installments of the
Fixed Rent and Rental theretofore payable hereunder, and will be impossible to accurately
measure. Tenant therefore agrees that if possession of the Premises is not surrendered to
Landlord on the Expiration Date, in addition to any other rights or remedies Landlord may have
hereunder or at law, and without in any manner limiting Landlord's right to demonstrate and
collect any damages suffered by Landlord and arising from Tenant's failure to surrender the
Premises as provided herein, Tenant shall pay to Landlord on account of use and occupancy of
the Premises for each month and/or for each portion of any month during which Tenant holds
over in the Premises after the Expiration Date, a sum equal to the greater of (i) two (2) times the
aggregate of that portion of the Fixed Rent, Escalation Rent and Rental which was payable under
this Lease during the last month of the Term, and (ii) two (2) times the then fair market rental


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value for the Premises. Nothing herein contained shall be deemed to permit Tenant to retain
possession of the Premises after the Expiration Date or to limit in any manner Landlord's right to
regain possession of the Premises through summary proceedings, or otherwise, and no
acceptance by Landlord of payments from Tenant after the Expiration Date shall be deemed to be
ather than on account of the amount to be paid by Tenant in accordance with the provisions of
this Article 20. The provisions of this Article 20 shall survive the Expiration Date.


                                         ARTICLE21
                                      QUIET ENJOYMENT

        Provided no Event of Default has occurred and is continuing, Tenant may peaceably and
quietly enjoy the Premises subject, nevertheless, to the terms and conditions afthis Lease.


                                           ARTICLE22
                                  FAILURE TO GIVE POSSESSION

        Section 22.1. Tenant waives any right to rescind this Lease under Section 223-a of the
New York Real Property Law or any successor statute of similar nature and purpose then in force
and further waives the right to recover any damages which may result from Landlord's failure far
any reason to deliver possession of the Premises on the date set forth in Section 1.1 hereofforthe
commencement ofthe Term. The provisions of this Article are intended to constitute an "express
provision to the contrary" within the meaning of Section 223-a of the New York Real Property
Law. Nci such failure to give possession on the date set forth in Section 1.1 hereof for the
commencement of the Term shall in any wise affect the validity ofthis Lease or the obligations
of Tenant hereunder or give rise to any claim for damages by Tenant or claim for rescission of
this Lease, nor shall the same be construed in any wise to extend the Term.

         Section 22.2. Tenant acknowledges that the Premises are currently occupied by an
existing Tenant ("Existing Tenant"). Landlord and Tenant hereby expressly acknowledge and
agree that this Lease is conditioned upon the unconditional execution and delivery by Landlord
and Existing Tenant of an agreement with respect to the surrender of the Premises on terms and
conditions acceptable to Landlord in its sole discretion (the aforesaid event being hereinafter
referred to as the "Condition"), and shall be of no force and effect unless and until the Condition
is satisfied; it being underst.ood and agreed however, that if for any reason whatsoever, the
Condition is not satisfied or waived by Landlord on or before the date which is ninety (90) days
after the date hereof, this Lease shall be void ab initio, and be of no force and effect, and
Landlord and Tenant shall have no obligations or liability to the other respective party under this
Lease.




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                                                   ARTICLE23
                                                  NO WAIVER

              Section 23.1. No act or thing done by Landlord or Landlord's agents during the Term
      shall be deemed an acceptance of a surrender of the Premises, and no agreement to accept such
      surrender shall be valid unless in writing signed by Landlord. No employee of Landlord or of
      Landlord's agents shall have any power to accept the keys of the Premises prior to the termination
      of this Lease. The delivery of keys to any employee of Landlord or of Landlord's agents shall not
      operate as a termination of this Lease or a surrender of the Premises. In the event Tenant at any
      time desires to have Landlord sublet the Premises for Tenant's account, Landlord or Landlord's
      agents are authorized to receive said keys for such purpose without releasing Tenant from any of
      the obligations under this Lease, and Tenant hereby relieves Landlord of any liability for loss of
      or damage to any of Tenant's effects in connection with such subletting.

               Section 23.2. The failure of Landlord to seek redress for violation of, or to insist upon the
      strict performance of, any covenant or condition of this Lease, or any of the Rules and
      Regulations set forth or hereafter adopted by Landlord, shall not prevent a subsequent act, which
      would have originally constituted a violation of the provisions of this Lease, from having all of
      the force and effect of an original violation of the provisions of this Lease. The receipt by
      Landlord of Fixed Rent, Escalation Rent or any other item of Rental with knowledge of the
      breach of any covenant of this Lease shall not be deemed a waiver of such breach. The failure of
      Landlord to enforce any of the Rules and Regulations set forth, or hereafter adopted, against Ten-
      ant or any other tenant in the Building shall not be deemed a waiver of any such Rules and
      Regulations. No provision of this Lease shall be deemed to have been waived by Landlord,
      unless such waiver be in writing signed by Landlord. No payment by Tenant or receipt by
      Landlord of a Jesser amount than the monthly Fixed Rent or other item of Rental herein stipu-
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      lated shall be deemed to be other than on account of the earliest stipulated Fixed Rent or other
      item of Rental, or as Landlord may elect to apply same, nor shall any endorsement or statement
      on any check or any letter accompanying any check or payment as Fixed Rent or other item of
      Rental be deemed an accord and satisfaction, and Landlord may accept such check or payment
      without prejudice to Landlord's right to recover the balance of such Fixed Rent or other item of
      Rental or to pursue any other remedy pro.vided in this Lease. This Lease contains the entire
      agreement between the parties and all prior negotiations and agreements are merged herein. Any
      executory agreement hereafter made shall be ineffective to change, modifY, discharge or effect an
      abandonment of this Lease in whole or in part unless such executory agreement is in writing and
      signed by the party against whom enforcement of the change, modification, discharge or
      abandonment is sought.




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                                         ARTICLE24
                                   WAIVER OF TRIAL BY JURY

        The respective parties hereto shall and they hereby do waive trial by jury in any action,
proceeding or counterclaim brought by either of the parties hereto against the other (except for
personal injury or property damage) on any matters whatsoever arising out of or in any way
c01mected with this Lease, the relationship of Landlord and Tenant, Tenant's use or occupancy of
the Premises, or for the enforcement of any remedy under any statute, emergency or otherwise. If
Landlord commences any summary proceeding against Tenant, Tenant will not interpose any
counterclaim of whatever nature or description in any such proceeding (unless failure to impose
such counterclaim would preclude Tenant from asserting in a separate action the claim which is
the subject of such counterclaim), and will not seek to consolidate such proceeding with any
other action which may have been or will be brought in any other court by Tenant.


                                         ARTICLE25
                                    INABILITY TO PERFORM

        This Lease and the obligation of Tenant to pay Rental hereunder and perform all of the
other covenants and agreements hereunder on the part of Tenant to be performed shal! in no wise
be affected. impaired or excused because Landlord is unable to fulfill any of its obligations under
this Lease expressly or impliedly to be performed by Landlord or because Landlord is unable to
make, or is delayed in making any repairs, additions, alterations, improvements or decorations or
is unable to supply or is delayed in supplying any equipment or fixtures, if Landlord is prevented
or delayed from so doing by reason of strikes or labor troubles or by accideni, or by any cause
whatsoever beyond Landlord's control, including, but not limited to, laws, goverrunental
preemption in connection with a national emergency or by reason of any Requirements of any
Go\·ernmental Authority or by reason of failure of the HVAC, electrical, plumbing, or other
Building Systems in the Building, or by reason of the conditions of supply and demand which
have been or are affected by war or other emergency ("Unavoidable Delays").


                                          ARTICLE26
                                      BILLS AND NOTICES

        Except as otherwise expressly p:ovided in this Lease, any bills, statements, consents,
notices, demands. requests or other communications given or required to be given under this
Lease shall be in writing and shall be deemed sufficiently given or rendered if delivered by hand
(against a signed receipt) or if sent by registered or certified mail (return receipt requested)
addressed

               if to Tenant (a) at Tenant's address set forth in this Lease, Attn.:
               Mr. Terrance Brennan, if mailed prior to Tenant's taking pos-


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                 session of the Premises, or (b) at the Building, Attn.: Mr. Terrance
                 Brennan, if mailed subsequent to Tenant's taking possession of the
                 Premises, or (c) at any place where Tenant or any agent or
                 employee of Tenant may be found if mailed subsequentto Tenant's
                 vacating, deserting, abandoning or surrendering the Premises, in
                 each case with a copy to Maloney & Porcelli, 225 Broadway, New
                 York, New York 10007, Attn.: Joseph Porcelli, Esq., or

                 if to Landlord at Landlord's address set forth in this Lease, Attn.:
                 Mr. David E. Green, and with copies to (x) Vornado Realty Trust,
                 210 Route 4 East, Paramus, New Jersey07652, Attn.: Mr. Joseph
                 Macnow, (y) Proskauer Rose LLP, 1585 Broadway, New York,
                 New York 10036, Attn.: Lawrence J. Lipsmi, Esq., and (z) each
                 Mortgagee and Lessor which shall have requested same, by notice
                 given in accordance with the provisions of this Article 26 at the
                 address designated by such Mortgagee or Lessor, or

to such other address(es) as Landlord, Tenant or any Mortgagf!e or Lessor may designate as its
new address(es) for such purpose by notice given to the other in accordance with the provisions
of this Article 26. Any such bill, statement, consent, notice, demand, request or other
communication shall be deemed to have been rendered or given on the date when it shall have
been hand delivered or three (3) Business Days from when it shall have been mailed as provided
in this Article 26. Anything contained herein to the contrary notwithstanding, any Tax
Statement or any other bill, statement, consent, notice, demand, request or other communication
from Landlord to Tenant with respect to any item of Rental (other than any "default notice" if
required hereunder) may be sent to Tenant by regular United States mail.


                                            ARTICLE27
                                           ESCALATION

      Section 27.1. For the purposes of this Article 27, the following terms shall have the
meanings set forth below.

              (A) "Assessed Valuation" shall mean the amount for which the Real Property is
assessed pursuant to applicable provisions of the New York City Charter and of the
Administrative Code of the City ofNew York for the purpose of calculating all or any portion of
the Taxes payable with respect to the Real Property.

                (B) "Base Taxes" shall mean the Taxes payable for the twelve (12) month period
commencing on January I, 2000 and ending on December 31,2000. Accordingly, Base Taxes
shall mean fifty percent (50%) of the sum of (x) the Taxes payable for the Tax Year commencing



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on July 1, 1999 and ending on June 30,2000, and (y) the Taxes payable for the Tax Year
conunencing on July!, 2000 and ending on June 30,2001.

                (C) "Taxes" shall mean the aggregate amount of real estate taxes and any general
or special assessments (exclusive of penalties and interest thereon) imposed upon the Real
 Property (including, without limitation, (i) assessments niade upon or with respect to any "air"
and "development" rights now or hereafter appurtenant to or affecting the Real Property, (ii) any
fee, tax or charge imposed by any Govenunental Authority for any vaults, vault space or other
space within or outside the boundaries of the Real Propertj, and· (iii) any taxes or assessments
levied after the date of this Lease in whole or in part for public benefits to the Real Property or
the Building, including, without limitation, any Business Improvement District taxes and
assessments) without taking into account any discount that Landlord may receive by virtue of any
early payment of Taxes; provided, that if because of any change in the taxation of real estate, any
other tax or assessment, however denominated (including, without limitation, any franchise,
income, profit, sales, use, occupancy, gross receipts or rental tax) is imposed upon Landlord or
the owner of the Real Property or the Building, or the occupancy, rents or income therefrom, in
substitution for any of the foregoing Taxes, such other tax or assessment shall be deemed part of
Taxes computed as if Landlord's sole asset were the Real Property. With respect to any Tax
Year, all expenses, including attorneys' fees and disbursements, experts' and other witnesses'
fees, incurred in contesting the validity or amount of any Taxes or in obtaining a refund ofTaxes
shall be considered as part of the Taxes for such Tax Year. Anything contained herein to the
contrary notwithstanding, Taxes shall not be deemed to include (w) any taxes on Landlord's
income, (x) franchise taxes, (y) estate or inheritance taxes or (z) any similar taxes imposed on
Landlord, unless such taxes are levied, assessed or imposed in lieu of or as a substitute for the
whole or any part of the taxes, assessments, levies, impositions which now constitute Taxes.

              (D) "Tax Statement" shall mean a statement in reasonable detail setting forth a
comparison of the Taxes for a Tax Year with the Base Taxes.

                 (E) "Tax Year" shall mean the period July I through June 30 (or such other
period as hereinafter may be duly adopted by the Governmental Authority then imposing taxes as
its fiscal year for real estate tax purposes), any portion of which occurs during the Term.

               (F)    "Gross Sales" shall mean the sum of all gross receipts, computed on a cash
basis and in accordance with generally accepted auditing standards, consistently applied, derived
from the operation of Tenant's business at the Premises or from outside catering for the
applicable Sales Year in question, including, without limitation:

                       (I)     the entire amount of the price charged for all food, beverages,
goods, wares and merchandise (collectively, the "Merchandise") sold, and all charges for all
services performed by Tenant from all business conducted at, upon or from the Premises by
Tenant, whether made for cash, by check, on credit, charge accounts or otherwise, without
reserve or deduction for inability or failure to collect the same, including, but not limited to,


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transactions {i) where the orders therefor originate at or are accepted by Tenant from or at any
place other than the Premises, but delivery or performance thereof is made at or from the
Premises; all sales made and orders received in or at the Premises shall be deemed as made and
complete therein whether or not delivery or performance thereof is made at or from the Premises,
and all orders which result from solicitation off the Premises but which are conducted by
personnel operating from or reporting to or under the control or supervision of Tenant, or any
employee of Tenant and delivery or performance thereofis made at or from the Premises shall be
deemed part of Gross Sales; (ii) by means of mechanical or other vending devices; and (iii)
originating from whatever source, and which Tenant in the normal and customary course of
Tenant's operations would credit or attribute to Tenant's business conducted in the Premises;

                      (2)    all proceeds of any "business interruption" insurance required to be
carried by Tenant hereunder; and

                     (3)     all monies or other consideration in kind or otherwise, received by
Tenant from Tenant's operations at, upon or from the Premises, which are neither included in or
excluded from Gross Sales by other provisions of this definition, but without any duplication;
and

                      (4)      all monies received in connection with Tenant's catering of food
outside of the Premises.

Each charge or sale upon installment or credit shall be treated as a sale for the full or partial
price, as the case may be, at the time when Tenant shall receive payment (whether full or partial)
therefor. For the purpose of ascertaining the amount of Gross Sales upon which the payment of
Percentage Rent is to be computed hereunder, the following shall be excluded from Gross Sales:
(i) the amount of any local, county, State or Federal sales, luxury or excise tax on such sales
collected by Tenant (but not by any vendor ofTenant), provided such tax is both added to the
selling price (or absorbed therein) and paid to the taxing authority by Tenant, provided, however,
no franchise or capital stock tax and no income or similar tax based upon income, profits, gross
sales, as such, shall be included or deducted from Gross Sales, respectively, in any event
whatsoever; (ii) gratuities and tips to Tenant's employees which are added to the customer's
check or invoice and which Tenant is committed to, and in fact does, tum over to its employees,
(iii) complimentary meals to customers of Tenant, provided that the cost of such complimentary
meals does not exceed Three Hundred Sixty-Five Thousand Dollars ($365,000) per year; and (iv)
sales of Merchandise accomplished over the internet. For purposes of determining Percentage
Rent payable hereunder, "Tenant" shall be deemed to include (i) Tenant named herein, (ii) all
assignees, subtenants, licensees, concessionaires and occupants of all or any portion of the
Premises, and (iii) all affiliates of each of the foregoing.

        Section 27.2. (A) If the Taxes payable for any Tax Year (any part or all of which falls
within the Term) shall represent an increase above the Base Taxes, then Tenant shall pay as
additional rent for such Tax Year and continuing thereafter until a new Tax Statement is rendered


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to Tenant, Tenant's Share of such increase (the "Tax Pavment") as shown on the Tax Statement
with respect to such Tax Year. Tenant shall be obliged to pay the Tax Payment regardless of
whether Tenant is exempt in whole or part, from the payment of any Taxes by reason of Tenant's
diplomatic status or for any other reason whatsoever. The Taxes shall be computed initially on
the basis of the Assessed Valuation in effect at the time the Tax Statement is rendered (as the
Taxes may have been settled or finally adjudicated prior tO such time) regardless of any then
pending application, proceeding or appeal respecting the reduction of any such Assessed
Valuation, but shall be subject to subsequent adjustment as provided in Section 27.3 hereof.

                (B)    At any time during or after the Term, Landlord may render to Tenant a Tax
Statement or Statements showing (i) a comparison of the Taxes for the Tax Year with the Base
Taxes and (ii) the amount of the Tax Payment resulting from such comparison. On the first day
of the month following the furnishing to Tenant of a Tax Statement, Tenant shall pay to Landlord
a sum equal to I/l2th of the Tax Payment shown thereon to be due for such Tax Year multiplied
by the number of months of the Term then elapsed since the conunencement of such Tax Year.
Tenant shall continue to pay to Landlord a sum equal to one-twelfth (l/12th) of the Tax Payment
sho\\on on such Tax Statement on the firSt day of each succeeding month until the first day of the
month following the month in which Landlord shall deliver to Tenant a new Tax Statement. If
Landlord furnishes a Tax Statement for a new Tax Year subsequent to the conunencement
thereof, promptly after the new Tax Statement is furnished to Tenant, Landlord shall give notice
to Tenant stating whether the amount previously paid by Tenant to Landlord for the current Tax
Year was greater or less than the installments ofthe Tax Payment for the current tax year in
accordance with the Tax Statement, and (a) if there shall be a deficiency, Tenant shall pay the
amount thereof within ten (I 0) days after demand therefor, or (b) if there shall have been an
overpayment, Landlord shall credit the amount thereof against the next monthly installments of
the Fixed Rent payable under this Lease. Tax Payments shall be collectible by Landlord in the
same marmer as Fixed Rent. Landlord's failure to render a Tax Statement shall not prejudice
Landlord's right to render a Tax Statement during or with respect to any subsequent Tax Year,
and shall not eliminate or reduce Tenant's obligation to make Tax Payments for such Tax Year.

        Section 27.3. (A) Only Landlord shall be eligible to institute tax reduction or other
proceedings to reduce the Assessed Valuation. In the event that, after a Tax Statement has been
sent to Tenant, an Assessed Valuation which had been utilized in computing the Taxes for a Tax
Year is reduced (as a result of settlement, final determination of legal proceedings or otherwise),
and as a result thereof a refund of Taxes is actually received by or on behalf of Landlord, then,
promptly after receipt of such refund, Landlord shall send Tenant a Tax Statement adjusting the
Taxes for such Tax Year (taking into account the expenses mentioned in Section 27.l(C) hereof)
and setting forth Tenant's Share of such refund and Tenant shall be entitled to receive such Share,
at Landlord's option, either by way of a c~dit against the Fixed Rent next becoming due after the
sending of such Tax Statement or by a refund to the extent no further Fixed Rent is due;
provided, however, that Tenant's Share of such refund shall be limited to the portion of the Tax
Payment, if any, which Tenant had theretofore paid to Landlord attributable to increases in Taxes



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  for the Tax Year to which the refund is applicable on the basis of the Assessed Valuation before
· it had been reduced.

                 (B)     In the event that, after a Tax Statement has been sent to Tenant, the
 Assessed Valuation which had been utilized in computing the Base Taxes is reduced (as a result
 of settlement, final determination oflegal proceedings or·otherwise) then, and in such event: (i)
 the Base Taxes shall be retroactively adjusted to reflect such reduction, and (ii) all retroactive
 Tax Payments resulting from such retroactive adjustment shall be due and payable when billed
 by Landlord. Landlord promptly shall send to Tenant a statement setting forth the basis for such
 retroactive adjustment and Tax Payments.

         Section 27.4. The expiration or termination of this Lease during any Tax Yi:ar shall not
 affect the rights orobligations of the parties hereto respecting any payments of Tax Payments for
 such Tax Year, and any Tax Statement relating to such Tax Payment, may be sent to Tenant
 subsequent to, and all such rights and obligations shall survive, any such expiration or
 termination. In determining the amount of the Tax Payment for the Tax Year in which the Term
 shall expire, the payment of the Tax Payment for the Tax Year shall be prorated based on the
 number of days of the Term which fall within such Tax Year. Any payments due under such Tax
 Statement shall be payable within twenty (20) days after such Statement is sent to Tenant.

         Section 27.5. (A) For each Sales Year during the Term, Tenant shall pay to Landlord, as
 additional rent, on or before the thirtieth (30th) day after the end of each year, an annual amount
 (the "Percentage Rent") equal to six percent (6%) of the difference between (i) Gross Sales made
 during each Sales Year and (ii) the Percentage Rent Threshold Amount with respect to such Sales
 Year.

                 (B)     The first "Sales Year" shall mean the period from the fourth (4'")
 anniversary of the Commencement Date through December 31 of such year. Each succeeding
 Sales Year shall commence on January 1 of the immediately succeeding calendar year, and end
 on December 3 I of such calendar year. The final Sales Year shall end on the Expiration Date,
 and no Percentage Rent shall be payable with respect to any period after such date. If the fust
 Sales Year or the futal Sales Year under this Lease shall be shorter than a twelve (12) month
 period, then, solely for purposes of calculating Percentage Rent, the Percentage Rent Threshold
 Amount shall be deemed to be prorated based upon the number of days in such Sales Year.

                (C)    The term "Percentage Rent Threshold Amount" shall mean, with respect to
 each calendar year during the period commencing on the fourth (4th) anniversary of the
 Commencement Date and ending on the Fixed Expiration Date, Five Million Dollars
 ($5,000,000).

        Section 27.6. (A) Tenant shall submit to Landlord on or before the thirtieth (30th) day
 following the end of each Sales Year or partial Sales Year (including the last Sales Year, as to
 which Tenant's obligation shall survive the tennination of this Lease) a written statement (the


 3949/75979-010 NYLIB1/1202597 v6                61                         09/07/00 02:32PM (16068)
"Annual Statement"), signed and certified as being true and correct by a corporate officer of
Tenant, showing in reasonable detail Gross Sales during the preceding Sales Year, an itemization
of all permissible exclusions therefrom except with respect to such Gross Sales which are voided
in accordance with customary restaurant practices and no record thereof is maintained, and a
calculation of the Percentage Rent payable with respect to the Sales Year in question based upon
such Gross Sales. Each Annual Statement shall also be duly certified to be true and correct in
compliance with the definition of Gross Sales and in accordance with generally accepted auditing
standards consistently applied by an independent certified public accountant selected by Tenant
and approved by Landlord, which approval shall not be unreasonably withheld. If an Annual
Statement shall disclose that Percentage Rent is payable for the applicable Sales Year, then such
Annual Statement shall be accompanied by the amount Percentage Rent payable as shown
thereon.

                (B)   The Annual Statement shall be in reasonable detail and shall be prepared
in accordance with generally accepted accounting principles, consistently applied. The
acceptance by Landlord of pf!yments of Percentage Rent or Annual Statements thereof shall be
without prejudice and shall In no event constitute a waiver of Landlord's right to claim a
deficiency in the payment of Percentage Rent or to audit Tenant's books of account and records
as set forth below.

        Section 27.7. (A) Tenant shall prepare and keep for a period of not less than five (5)
years following the end of each Sales Year during the Term, true and accurate books of account
and records, conforming to generally accepted auditing standards, consistently applied, including,
but not limited to, sales tax and other reports filed with goverrunental authorities, of all sales and
other transactions by Tenant from which Gross Sales can be determined. Tenant shall record all
sales, at the time each sale is made, whether for cash or credit, in cash register or registers
containing locked and cumulative tapes (or other non-tamperable media if a computerized system
is used) with accumulation capacity. Tenant shall use such system which is currently recognized
and accepted in the restaurant industry and is reasonably approved by Landlord for Tenant's
record-keeping, accounting and supervisor system (collectively, the "System") to generate
transaction tapes which (i) record each transaction, including, without limitation, voids and "no
sales", and (ii) are dated and numerically and sequentially related to all guest checks. All
customer receipts shall be recorded in the System before the order can be obtained from the
kitchen and shall be serially pre-numbered. Tenant shall keep all transaction tapes and all sales
receipts, including, without limitation, all void sales receipts, for a period of not less than five (5)
years following the end of each calendar year during the Term. All catering events (including
outside catering events) shall be recorded by Tenant on function sheets which clearly describe the
size and scope of such function. All deposits received by Tenant for catering events shall be
recorded in a ledger relating such deposits to bank deposits for the same day. On the date of the
catering event, the full sales amount, including the amount of the deposit, shall be recorded in the
System.




3949/75979·010 NYLIB1 /1202597 v6                 62                           09/07/00 02:32PM (160661
                 (B) Landlord, at its sole cost and expense (except as hereinafter provided), shall
have the right, with prior notice to Tenant, to cause a complete audit of any Annual Statement to
be performed by an independent certified public accountant and in connection with such audit, to
examine Tenant's books of account and records related to the Premises (including all supporting
data and any other records pertaining to the Premises from which Gross Sales may be tested or
determined). Tenant shall make all such books of account and records available for examination
at the office where such books and records are regularly maintained (which shall be located in the
City ofNew York) and shall produce the same at the request of Landlord upon reasonable prior
notice. Landlord and Landlord's agent, at Landlord's sole cost and expense, shall have the right
to copy and duplicate such information as Landlord may require. If any such audit discloses the
actual Gross Sales exceed those reported, such determination shall be conclusively binding upon
the parties unless within fifteen (15) days after receipt by Tenant of the written results of
Landlord's accountant's audit, Tenant notifies Landlord that Tenant disputes the results of such
audit. IfTenant does not so notify Landlord within such fifteen (15) day period, Tenant shall pay
Landlord within three (3) days after the expiration of such fifteen (15) day period such
Percentage Rent as may be so shown to be payable. If such audit shall reveal that the Percentage
Rent paid based upon such Gross Sales shall have been understated by more than five percent
(5%), then Tenant shall pay the fees of the accountant in connection with such audit, and the
payment to be made to Landlord as a result of such understatement shall bear interest at the
Applicable Rate. The furnishing by Tenant of any fraudulent statement more than one (I) time in
any twelve (12) month period shall constitute an Event of Default under this Lease. In the event
Tenant notifies Landlord within the time period specified above that Tenant disputes the results
of Landlord's audit, and within thirty (30) days thereafter Landlord and Tenant are unable to
agree on the amount of Percentage Rent payable for the period in question, such dispute shall be
determined by arbitration in accordance with the rules of the American Arbitration Association.
Each of the arbitrators shall be certified public accountants with not less than ten (1 0) years
experience in the auditing of restaurant accounts and records. Pending a final determination,
Tenant shall continue to pay Percentage Rent provided by and in accordance with the terms and
conditions hereof and, in addition thereto, shall pay to Landlord, without waiving any rights to
contest such payment, the amount Landlord has determined to be due and owing pursuant to
Landlord's audit and which forms the basis of the dispute or question. If, based upon the final
determination hereunder, the payments made by Tenant on account of Landlord's audit which
was the subject of the dispute or question were (i) less than the Percentage Rent finally
determined to be due and payable, Tenant shall pay to Landlord the amount of such deficiency
within ten (1 0) days after demand therefor, or (ii) greater than the Percentage Rent which is
finally determined to be due, Landlord shall credit the amount of such excess against the
immediately ensuing installments of Rental otherwise payable hereunder.

                (C)     If any audit shall be commenced by Landlord or there shall arise
differences or disputes concerning Gross Sales then, and in any such event, Tenant's books of
account and records (including all supporting data and any other records from which Gross Sales
may be tested or determined) shall be preserved and retained by Tenant until the later of a final
resolution or final determination of such dispute or difference or seven (7) years following the


3949/75979-010 NYUB1/1202597 v6                 63                         09!07!00 02:32 PM (16068)
end of the Sales Year in question. Any infonnation obtained by Landlord as the result of such
audit shall be treated as confidential, except in any litigation or proceeding between the parties
and except further that Landlord may disclose such information to prospective purchasers, to
prospective or existing Mortgagees, to prospective or existing Lessors and in any statement
required to filed with the Securities and Exchange Commission, Internal Revenue Service, New
York State Insurance Department or other similar Goverrimental Authorities or pursuant to any
subpoena or judicial process.


                                            ARTICLE28
                                            SERVICES

        Section 28.1. Except as otherwise expressly provided in this Article 28, Landlord shall
not be required to furnish any services to the Premises.

         Section 28.2. Landlord, throughout the Tenn, shall have free access to any and all
mechanical installations of Landlord, including but not limited to air-cooling, fan, ventilating and
machine rooms, perimeter fan coil units and electrical closets. Tenant shall not construct
partitions or other obstructions which may interfere with Landlord's free access thereto, or
interfere with the moving of Landlord's equipment to and from the enclosures containing said
installations. Neither Tenant, nor its agents, employees or contractors shall at any time enter the
said enclosures or tamper with, adjust or touch or otherwise in any manoer affect said mechanical
installations.

        Section 28.3. Tenant, at Tenant's expense, shall keep the Premises in good order, shall
cause the Premises and entry area, all glass surfaces (interior and exterior) and all fixtures,
furnishings and property ofTenant and any service entrance area (notwithstanding that Landlord
has not leased to Tenant any rights in or to the exterior walls of the Building) to be cleaned daily,
shall not at any time sweep any refuse, rubbish or dirt into the gutters, streets, lobby or other
public areas of the Building and shall cause Tenant's refuse and rubbish to be removed daily.
Tenant, at Tenant's expense, shall cause the Premises to be exterminated against infestation by
vermin, roaches or rodents regularly, and, in addition, whenever there shall be evidence of any
infestation. Tenant shall cause the removal of such refuse and rubbish and the furnishing of
cleaning and exterminating services to Tenant to be performed in accordance with the Rules and
Regulations, and Tenant agrees that Tenant shall not permit any Person to enter the Premises or
the Building for such purposes, other than persons first approved by Landlord (which consent
shall not be unreasonably withheld).

         Section 28.4. Tenant shall maintain the sprinkler system located within the Premises at
its sole cost and expense. If the New York Board of Fire Underwriters or the New York Fire
Insurance Rating Organization or any Governmental Authority, bureau, department or official of
the state or city government shall require or recommend that any changes, modifications,
alterations or additional sprinkler heads or other equipment be made or supplied by reason of


3949/75979-010 NYL/81/1202597 v6                 64                          09/07/00 02:32PM (160681
Tenant's business, or the location of the partitions, trade fiXtures, or other contents of the
Premises, Tenant shall, at Tenant's cost and expense, promptly make and supply such changes,
modifications, alterations, additional sprinkler heads or other equipment.

         Section 28.5. Landlord reserves the right to stop service.ofthe elevator, electrical, steam,
plumbing or other mechanical systems or facilities in the Building when necessary, by reason of
accident or emergency, or for repairs, ·additions, alterations, replacements or improvements in the
judgment of Landlord desirable or necessary to be made, until said repairs, additions, alterations,
replacements or improvements shall have been completed (which repairs, additions, alterations,
replacements and improvements shall be performed in accordance with Section 4.3 hereof).
Landlord shall have no responsibility or liability for interruption, curtailment or failure to supply
water, electrical, plumbing or other Building Systems when prevented by Unavoidable Delays or
by any Requirement of any Governmental Authority or due to the exercise of its right to stop
service as provided in this Section 28.5, provided that Landlord shall use reasonable efforts to
restore such services in as prompt a manner as reasonably possible. The exercise of such right or
such failure by Landlord shall not constitute an actual or constructive eviction, in whole or in
part, or entitle Tenant to any compensation or to any abatement or diminution of Rental, or
relieve Tenant from any of its obligations under this Lease, or impose any liability upon Landlord
or its agents by reason of inconvenience or annoyance to Tenant, or injury to or interruption of
Tenant's business, or otherwise.


                                        ARTICLE29
                                    PARTNERSHIP TENANT

        lfTenant is a partnership (including, without limitation, a limited liability partnership) or
a professional corporation (or is comprised of two (2) or more Persons, individually or as
co-partners of a partnership (including, without limitation a limited liability partnership), or as
shareholders of a professional corporation) or if Tenant's interest in this Lease shall be assigned
to a partnership (including, without limitation, a limited liability partnership) or a professional
corporation (or to two (2) or more Persons, individually or as co-partners of a partnership, or
shareholders of a professional corporation) pursuant to Article 12 hereof (any such partnership,
professional corporation and such Persons are referred to in this Article 29 as "Partnership
Tenant"), the following provisions shall apply to such Partnership Tenant: (a) the liability of
each of the parties comprising Partnership Tenant shall be joint and several; (b) each of the
parties comprising Partnership Tenant hereby consents in advance to, and agrees to be bound by
(x) any \\Titten instrument which may hereafter be executed by Partnership Tenant or any
successor entity, changing, modifYing, extending or discharging this Lease, in whole or in part, or
surrendering all or any part of the Premises to Landlord, and (y) any notices, demands, requests
or other communications which may hereafter be given by Partnership Tenant or by any of the
parties comprising Partnership Tenant; (c) any bills, statements, notices, demands, requests or
other communications given or rendered to Partnership Tenant or to any of such parties shall be
binding upon Partnership Tenant and all such parties; (d) if Partnership Tenant shall admit new


3949175979-010 NYL!Bl/1202597 vS                 65                         09107/00 02:32 PM !16068)
partners, shareholders or members, as the case may be, Partnership Tenant shall give Landlord
notice of such event not later than ten (10) Business Days prior to the admission ofsnch
partner(s), shareholder(s) or member(s) together with an assumption agreement in form and
substance satisfactory to Landlord pursuant to which each of such new partners, shareholders or
members, as the case may be, shall, by their admission to Partnership Tenant, agree to assume
joint and several liability for the performance of all of the terms, covenants and conditions of this
Lease (as the same may have been or thereafier be amended) on Tenant's part to be observed and
performed; it being expressly understood and agreed that each such new partner, shareholder or
member (as the case may be) shall be deemed to have assumed joint and several liability for the
performance of all of the terms, covenants and conditions of this Lease (as the same may have
been or thereafter be amended), whether or not such new partner, shareholder or member shall
have executed such assumption agreement, and that neither Tenant's failure to deliver such
assumption agreement nor the failure of any such new partner or shareholder, as the case may be,
to execute or deliver any such agreement to Landlord shall vitiate the provisions of this clause (d)
of this Article 29).


                                          ARTICLE30
                                         VAULT SPACE

        Notwithstanding anything contained in this Lease or indicated on any sketch, blueprint or
plan, any vaults, vault space or other space outside the boundaries of the Real Property are not
included in the Premises. Landlord makes no representation as to the location of the boundaries
of the Real Property. All vaults and vault space and all other space outside the boundaries of the
Real Property which Tenant may be permitted to use or occupy are to be used or occupied under
a revocable license, and if any such license shall be revoked, or if the amount of such space shall
be diminished or required by any Governmental Authority or by any public utility company, such
revocation, diminution or requisition shall not constitute an actual or constructive eviction, in
whole or in part, or entitle Tenant to any abatement or diminution of Rental, or relieve Tenant
from any of its obligations under this Lease, or impose any liability upon Landlord. Any fee, tax
or charge imposed by any Governmental Authority for any such vaults, vault space or other space
occupied by Tenant shall be paid by Tenant.


                                           ARTICLE 31
                                           SECURITY

         Section 31.1. Tenant shall deposit with Landlord on the signing of this Lease an amount
equal to the Security Amount for the I" Security Period, or at Tenant's option, a "clean,"
unconditional, irrevocable and transferable letter of credit (the "Letter of Credit") in the same
amount, satisfactory to Landlord, issued by and drawn on a bank satisfactory to Landlord and
which is a member of the New York Clearing House Association, for the account of Landlord,
for a term of not less than one (I) year, as security for the faithful performance and observance by


3949175979·010 NYliBl/1202597 v6                66                          09/07/00 02:32PM {16068)
 Tenant ofthe tenns, covenants, conditions and provisions of this Lease, including, without
 limitation, the surrender of possession of the Premises to Landlord as herein provided. If an
 Event of Default shall occur and be continuing, Landlord may apply the whole or any part of the
 security so deposited, or present the Letter of Credit for payment and apply the whole or any part
 of the proceeds thereof, as the case may be, (i) toward the payment of any Fixed Rent, Escalation
 Rent or any other item of Rental as to which Tenant is in default, (ii) toward any sum which
 Landlord may expend or be required to expend by reason of Tenant's default in respect of any of
 the tenns, covenants and conditions of this Lease, including, without limitation, any damage,
 liability or expense (including, without limitation, reasonable attorneys' fees and disbursements)
 incurred or suffered by Landlord, and (iii) toward any damage or deficiency incurred or suffered
 by Landlord in the reletting ofthe Premises, whether such damages or deficiency accrue or
accrues before or after summary proceedings or other re-entry by Landlord. If Landlord applies
or retains any part of the proceeds of the Letter of Credit or the security so deposited, as the case
may be, Tenant, upon demand, shall deposit with Landlord the amount so applied or retained so
that Landlord shall have the full deposit on hand at all times during the Tenn. If Tenant shall
fully and faithfully comply with all of the tenns, provisions, covenants and conditions ofthis
Lease, the Letter of Credit or the security, as the case may be, shall be returned to Tenant after
the Expiration Date and after delivery of possession of the Premises to Landlord. In the event of
a sale or leasing of the Real Property or the Building, Landlord shall have the right to transfer the
Letter of Credit or security, as the case may be, to the vendee or lessee and Landlord shall
thereupon be released by Tenant from all liability for the return of such security or the Letter of
Credit. as the case may be, and Tenant shall cause, at no cost to Landlord, the bank which issued
the Letter of Credit to issue an amendment to the Letter of Credit or issue a new Letter of Credit
naming the vendee or lessee as the beneficiary thereunder. Tenant shall look solely to the new
landlord for the return of the Letter of Credit o~ the security, as the case may be. The provisions
hereof shall apply to every transfer or assignment of the Letter of Credit or security made to a
new landlord. Tenant shall not assign or encumber or attempt to assign or encumber the monies
deposited herein as security and neither Landlord nor its successors or assigns shall be bound by
any such assignment, encumbrance, attempted assignment or attempted encumbrance. Tenant
shall renew any Letter of Credit from time to time, at least thirty (30) days prior to the expiration
thereo( and deliver to Landlord a new Letter of Credit or an endorsement to the Letter of Credit,
and any other evidence required by Landlord that the Letter of Credit has been renewed for a
period of at least one (I) year. If Tenant shall fail to renew the Letter of Credit as aforesaid,
Landlord may present the Letter of Credit for payment and retain the proceeds thereof as security
in lieu of the Letter of Credit.

         Section 3!.2 Provided no Event of Default shall have occurred and be continuing on the
first day of the 2nd Security Period and the 3rd Security Period, as the case may be, (a) if a Letter
of Credit is on deposit, Tenant shall be entitled to replace the Letter of Credit on deposit with
Landlord with a Letter of Credit in the Security Amount for the applicable Security Period, or (b)
if Tenant shall have deposited with Landlord cash security in lieu of a Letter of Credit, provided
that the Security Amount for the applicable Security Period is less than the security then on
deposit for the immediately preceding Security Period, and further provided that Tenant shall


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have fully and faithfully complied with all of the tenns, provisions, covenants and conditions of
this Lease, then Landlord shall refund to Tenant an amount equal to the difference between the
Security Amount for the applicable Security Period and the security then on deposit for the
immediately preceding Security Period.


                                          ARTICLE32
                                          CAPTIONS

        The captions are inserted only as a matter of convenience and for reference and in no way
define, limit or describe the scope of this Lease nor the intent of any provision thereof.


                                         ARTICLE33
                                       PARTIES BOUND

       The covenants, conditions and agreements contained in this Lease shall bind and inure to
the benefit of Landlord and Tenant and their respective legal representatives, successors, and,
except as otherwise provided in this Lease, their assigns.


                                          ARTICLE 34
                                           BROKER

        Each party represents and warrants to the other that it has not dealt with any broker or
Person in connection with this Lease other than H. Stender Realty ("Broker"). The execution and
delivery of this Lease by each party shall be conclusive evidence that such party has relied upon
the foregoing representation and warranty. Tenant shall indemnifY and hold Landlord hannless
from and against any and all claims for commission, fee or other compensation by any Person
(other than Broker) who shall claim to have dealt with Tenant in connection with this Lease and
for any and all costs incurred by Landlord in connection with such claims, including, without
limitation, reasonable attorneys' fees and disbursements. Landlord shall indemnifY and hold
Tenant harmless from and against any and all claims for commission, fee or other compensation
by any Person (including Broker) who shall claim to have dealt with Landlord in connection with
this Lease and for any and all costs incurred by Tenant in connection with such claims, including,
without limitation, reasonable attorneys' fees and disbursements. Landlord shall pay Broker all
fees, commission and other compensation in connection with this Lease pursuant to a separate
agreement between Landlord and Broker. The provisions of this Article 34 shall survive the
Expiration Date.




3949/75979-010 NYUB1/1202597 v6                68                         09107/00 02:32PM (15058}
                                           ARTICLE35
                                           INDE!v1NITY

         Section 35.1. Tenant shall not do or permit any act or thing to be done upon the Premises
which may subject Landlord to any liability or responsibility for injury, damages to persons or
property or to any liability by reason of any violation of any Requirement, and shall exercise such
control over the Premises as to fully protect Landlord against any such liability. Except to the
extent the same are due to the negligence or wilful misconduct of Landlord, Landlord's
employees, agents or licensees, Tenant shall indemnifY and save the Indemnitees harmless from
and against (a) all claims of whatever nature against the Indemnitees arising from any act,
omission or negligence of Tenant, its contractors, licensees, agents, servants, employees, invitees·
or visitors, (b) all claims against the Indemnitees arising from any accident, injury or damage
whatsoever caused to any person or to the property of any person and occurring during the Term
in or about the Premises, (c) all claims against the Indemnitees arising from any accident, injury
or damage occurring outside of the Premises but anywhere within or about the Real Property,
where such accident, injury or damage results or is claimed to have resulted from an act,
omission or negligence of Tenant or Tenant's contractors, licensees, agents, servants, employees,
invitees or visitors, and (d) any breach, violation or non-performance of any covenant, condition
or agreement in this Lease set forth and contained on the part of Tenant to be fulfilled, kept,
observed and performed. This indemnity and hold harmless agreement shall include indemnity
from and against any and all liability, fines, suits, demands, costs and expenses of any kind or
nature (including, without limitation, attorneys' fees and disbursements) incurred in or in
connection with any such claim or _proceeding brought thereon, and the defense thereo£

        Section 35.2. If any claim, action or proceeding is made or brought against Landlord,
which claim, action or proceeding Tenarit shall be obligated to indemnifY Landlord against
pursuant to the terms of this Lease, then, upon demand by Landlord, Tenant, at its sole cost and
expense, shall resist or defend such claim, action or proceeding in Landlord's name, if necessary,
by such attorneys as Landlord shall approve, which approval shall not be unreasonably withheld.
Attorneys for Tenant's insurer are hereby deemed approved for purposes of this Section 35.2.
Notwithstanding the foregoing, Landlord may retain its own attorneys to defend or assist in
defending any claim, action or proceeding involving potential liability of Five Million Dollars
($5.000.000) or more, and Tenant shall pay the reasonable fees and disbursements of such
attorneys. The provisions of this Article 35 shall survive the expiration or earlier termination of
this Lease.


                                      ARTICLE36
                             ADJACENT EXCAVATION-SHORING

        If an excavation shall be made upon land adjacent to the Premises, or shall be authorized
to be made. Tenant, upon reasonable advance notice, shall afford to the person causing or
authorized to cause such excavation, a license to enter upon the Premises for the purpose of


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doing such work as said person shall deem necessary to preserve the wall or the Building from
injury or damage and to support the same by proper foundations, without any claim for damages
or indemnity against Landlord, or diminution _or abatement of Rental, provided that Tenant shall
continue to have access to the Premises and the Building.


                                          ARTICLE37
                                        MISCELLANEOUS

       Section 37.1. This Lease is offered for signature by Tenant and it is understood that this
Lease shall not be binding upon Landlord or Tenant unless and until Landlord and Tenant shall
have executed and unconditionally delivered a fully executed copy of this Lease to each other.

         Section 37.2. The obligations of Landlord under this Lease shall not be binding upon
Landlord named herein after the sale, conveyance, assignment or transfer by such Landlord (or
upon any subsequent landlord after the sale, conveyance, assignment or transfer by such
subsequent landlord) of its interest in the Building or the Real Property, as the case may be, and
in the event of any such sale, conveyance, assignment or transfer, Landlord shall be and hereby is
entirely freed and relieved of all covenants and obligations of Landlord hereunder. The
members, partners, shareholders, directors, officers and principals, direct and indirect,
comprising Landlord (collectively, the "Parties") shall not be liable for the performance of
Landlord's obligations under this Lease. Tenant shall look solely to Landlord to enforce
Landlord's obligations hereunder and shall not seek any damages against any of the Parties. The
liability of Landlord for Landlord's obligations under this Lease shall be limited to Landlord's
interest in the Real Property and Tenant shall not look to any other property or assets of Landlord
or the property or assets of any of the Parties in seeking either to enforce Landlord's obligations
under this Lease or to satisfY a judgment for Landlord's failure to perform such obligations.

        Section 37.3. Notwithstanding anything c'ontained in this Lease to the contrary, all
amounts payable by Tenant to or on behalf of Landlord under this Lease, whether or not
expressly denominated Fixed Rent, Escalation Rent, additional rent or Rental, shall constitute
rent for the purposes of Section 502(b)(7) of the Bankruptcy Code.

       Section 37.4. Tenant's liability for all items of Rental shall survive the Expiration Date.

         Section 37.5. Tenant shall reimburse Landlord as additional rent, within ten (10) days
after rendition of a statement, for all expenditures made by, or damages or fines sustained or
inclll1'ed by, Landlord, due to any default by Tenant under this Lease, with interest thereon at the
Applicable Rate.

       Section 37.6. This Lease shall not be recorded.




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        Section 37.7. Tenant hereby waives any claim against Landlord which Tenant may have
based upon any assertion that Landlord has unreasonably withheld or unreasonably delayed any
consent or approval requested by Tenant, and Tenant agrees that its sole remedy shall be an
action or proceeding to enforce any related provision or for specific performance, injunction or
declaratory judgment. In the event of a determination that such consent or approval has been
unreasonably withheld or delayed, the requested consent or approval shall be deemed to have
been granted; however, Landlord shall have no liability to Tenant for its refusal or failure to give
such consent or approval. Tenant's sole remedy forLandlord's unreasonably withholding or
delaying consent or approval shall be as provided in this Section 37. 7.

       Section 37.8. This Lease contains the entire agreement between the parties and
supersedes all prior understandings, if any, with respect thereto. This Lease shall not be
modified, changed, or supplemented, except by a written instrument executed by both parties.

         Section 3 7.9. Tenant hereby (a) irrevocably consents and submits to the jurisdiction of
 any Federal, state, county or municipal court sitting in the State ofNew York in respect to any
 action or proceeding brought therein by Landlord against Tenant concerning any matters arising
out of or in any way relating to this Lease; (b) irrevocably waives personal service of any
summons and complaint and consents to the service upon it of process in any such action or
proceeding by mailing of such process to Tenant at the address set forth herein and hereby
irrevocably designates Maloney & Porcelli, 225 Broadway, New York, New York 10007, or
other law firm located in Manhattan if disclosed to Landlord in writing (or if not so located, then
upon any member of the law firm of Maloney & Porcelli, or their successor, if so located in
Manhattan), to accept service of any process on Tenant's behalf and hereby agrees that such
service shall be deemed sufficient; (c) irrevocably waives all objections as to venue and any and
all rights it may have to seek a change of venue with respect to any such action or proceedings;
(d) agrees that the laws of the State of New York shall govern in any such action or proceeding
and waives any defense to any action or proceeding granted by the laws of any other country or
jurisdiction unless such defense is also allowed by the laws of the State of New York; and (e)
agrees that any final judgment rendered against it in any such action or proceeding shall be
conclusive and may be enforced in any other jurisdiction by suit on the judgment or in any other
manner provided by law. Tenant further agrees that any action or proceeding by Tenant against
Landlord in respect to any matters arising out of or in any way relating to this Lease shall be
brought only in the State ofNew York, county ofNew York. In furtherance of the foregoing,
Tenant hereby agrees that its address for notices given by Landlord and service of process under
this Lease shall be the Premises. Notwithstanding the foregoing provisions of this Section 37.9,
Tenant may, by written notice to Landlord, change the designated agent for a<;ceptance of service
of process to any other law firm located in the City, county and State of New York.

        Section 37.1 0. Unless Landlord shall render written notice to Tenant to the contrary in
accordance with the provisions of Article 26 hereof, MRC Management LLC is authorized to act
as Landlord's agent in connection with the performance of this Lease, including, without
limitation. the receipt and delivery of any and all notices and consents in accordance with Article


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26. Tenant shall direct all correspondence and requests to, and shall be entitled to rely upon
correspondence received from, MRC Management LLC, as agent for the Landlord in accordance
with Article 26. Tenant acknowledges that MRC Management LLC is acting solely as agent for
Landlord in connection with the foregoing, and neither MRC Management LLC nor any of its
direct or indirect members, partners, officers, shareholders, directors or employees shall have any
liability to Tenant in connection with the performance of Landlord's obligations under this Lease
and Tenant waives any and all claims against any such party arising out of, or in any way
connected with, this Lease or the Real Property.

        Section 37.1 I. (A) All of the Schedules and Exhibits attached hereto are incorporated in
and made a part of this Lease, but, in the event of any inconsistency between the terms and
provisions of this Lease :md the terms and provisions of the Schedules and Exhibits hereto, the
terms and provisions of this Lease shall control. Wherever appropriate in this Lease, personal
pronouns shall be deemed to include the other genders and the singular to include the plural. All
Article and Section references set forth herein shall, unless the context otherwise specifically
requires, be deemed references to the Articles and Sections of this Lease.

                        (B)     If any term, covenant, condition or provision of this Lease, or the
application thereof to any person or circumstance, shall ever be held to be invalid or
unenforceable, then in each such event the remainder of this Lease or the application of such
term, covenant, condition or provision to any other Person or any other circumstance (other than
those as to which it shall be invalid or unenforceable) shall not be thereby affected, and each
term, covenant, condition and provision hereof shall remain valid and enforceable to the fullest
extent permitted by law.

                       (C)     All references in this Lease to the consent or approval of Landlord
shall be deemed to mean the written consent or approval of Landlord and no consent or approval
of Landlord shall be effective for any purpose unless such consent or approval is set forth ain
written instrument executed by Landlord.


                                          ARTICLE38
                                        RENT CONTROL

        If at the commencement of, or at any time or times during the Term of this Lease, the
Rental reserved in this Lease shall not be fully collectible by reason of any Requirement, Tenant
shall enter into such agreements and take such other steps (without additional expense to Tenant)
as Landlord may request and as may be legally permissible to permit Landlord to collect the
maximum rents which may from time to time during the continuance of such legal rent restriction
be legally permissible (and not in excess of the amounts reserved therefor under this Lease).
Upon the termination of such legal rent restriction prior to the expiration of the Term, (a) the
Rental shall become and thereafter be payable hereunder in accordance with the amounts
reserved in this Lease for the periods following such termination, and (b) Tenant shall pay to


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Landlord, iflegally permissible, an amount equal to (i) the items of Rental which would have
been paid pursuant to this Lease but for such legal rent restriction less (ii) the rents paid by
Tenant to Landlord during the period or periods such legal rent restriction was in effect.


                                          ARTICLE39
                                        TENANT'S SIGNS

          Tenant shall not install any store front, exterior or interior signs, interior or exterior
 lighting schemes, awnings, security gates, exterior decorations, projections, curtains, blinds,
 shades, screens, advertisements, notices or lettering on glass (including any changes to any of the
 foregoing) in, on or about the Premises unless Landlord shall have approved Tenant's plans for
 any such installation or change as to quality, type, dimension, content, color, material, location,
 manner of installation and design, prior to the ·making of such installation or change. Any such
 installation or change shall be made and performed in accordance with the provisions of Article 3
 hereof. Tenant agrees to remove immediately after demand by Landlord, and as often as such
 demand shall be made, any sign, display, or other material located in the Premises to which
 Landlord shall not approve, and further agrees to discontinue immediately, after demand by
 Landlord, and as often as such demand shall be made, the sale, exhibition, display (window or
 othenvise), or advertisement in or with respect to the Premises or any part thereof, of any article
or material, or the manner of sale, exhibition, display or advertisement of same to which
 Landlord shall not approve. Tenant shall observe and comply with, and shall not permit the
violation of, any rules Landlord may reasonably prescribe, on notice to Tenant, from time to
time, with respect to Tenant's signs, awnings, exterior decorations, projections, curtains, blinds,
shades, screen advertisements, notices and lettering. No Alterations to the store front whatsoever
may be made at any time during the Term without Landlord's prior approval, which approval
shall not be unreasonably withheld in accordance with Section 3.1 hereof. Tenant acknowledges
Landlord's damages resulting from any )>reach of the provisions of this Article 41 are difficult, if
not impossible, to ascertain and agrees that, among other remedies for such breach permitted by
law or the provisions of this Lease, Landlord shall be entitled to apply to a court of competent
jurisdiction to enjoin Tenant from any violation of said provisions.


                                         ARTICLE40
                                   CONTINUOUS OPERATION

         Section 40. l. Tenant acknowledges that its continuous operation at the Premises for the
regular conduct of its business therein is of utmost importance to Landlord in the renewal of
other leases in the Building, in the renting of vacant space in the Building, and in the
maintenance of the character and quality of the Building. Tenant therefore covenants and agrees
that it will with due dispatch and diligence and in accordance with the provisions of this Lease
promptly open for business in the Premises and thereafter continuously, actively and diligently
operate such business in the whole of the Premises (but in any event in compliance herewith)


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between the hours of!! :30 A.M. and 11:30 P.M. on each Business Day (except as set forth in
Section 2.1 (C) hereof) and other days throughout the term of this Lease on which Tenant is
required to be open for business under Section 2.1 (C) hereof. Landlord and Tenant acknowledge
and agree that Tenant may temporarily close its business in the Premises for the time reasonably
required (i) to repair any damage to the Premises, (ii) to perform any Alteration or refurbish the
Premises, (iii) due to a taking by eminent domain, (iv) due to strikes or other labor disputes, (v)
due to Requirements or Unavoidable Delays, or (vi) for seasonal vacations consistent with
restaurant industry practices (not to exceed five (5) consecutive days per vacation). Tenant
acknowledges that Landlord is executing this Lease in reliance upon these covenants, which are a
material inducement to Landlord to execute this Lease. Tenant further agrees that if it fails to so
continuously conduct its business in the Premises as hereinabove set forth for a period in excess
of ten ( 10) consecutive Business Days for reasons other than as set forth above, without the prior
written consent of Landlord, then such failure shall be deemed to render the Premises abandoned,
as that term is used in Article 16 of this Lease, except in the event that Tenant shall temporarily
be prevented from continuously conducting its business in the Premises by conditions beyond the
control of Tenant, such as acts of God or the elements, strikes, and labor disputes, and Tenant
could not have reasonably prevented such condition by adequate planning and provision.

        Section 40.2. The parties recognize and agree that the damage to Landlord resulting
from any breach of the covenants in Section 40.1 hereof will be extremely substantial, will be far
greater than the Rental payable for the balance of the term of this Lease, and will be impossible
of accurate measurement. The parties therefore agree as follows:

                (A) In the event of a breach orthreatened breach of the said covenants, in
addition to all of Landlord's other rights and remedies, at law or in equity or otherwise, Landlord
shall have the right of injunction.

               (B) lfTenant breaches any of the covenants in Section 40.1 hereof, and this Lease
be terminated because of such default, then, iu addition to all other rights and remedies available
to Landlord under this Lease, at law or in equity, and anything in this Lease to the contrary
notwithstanding:

                               (i) Landlord shall have the right to reenter the
               Premises and resume possession thereof, and to alter, reconstruct
               and rent all or any part of the Premises, at any Rental to which
               Landlord shall agree, fo1 any portion of or beyond the original term
               of this Lease.

                                  (ii) Any and all furniture, fixtures, equipment,
               goods, wares, merchandise and any property of every kind and
               nature remaining in the Premises shall be conclusively presumed to
               have been abandoned by Tenant, and Landlord, without liability
               whatsoever or notice to any person, may enter the Premises and


3949175979-010 NYUBl/1202597 v6                     74                           09107100 02:32PM (16068)
                remove therefrom any such furniture, fixtures, equipment, goods,
                wares, merchandise and property of every kind and nature and
                dispose of the same in such manner and upon such basis as
                Landlord may deem proper or advisable without any duty to
                account therefor to Tenant.

                                (iii) Any income received by Landlord on any such
                re-rental shall be the property of Landlord alone as compensation
                for the expenses in connection with the preparation and re-renting
                of the Premises, and, together with the rents and additional rerits
                payable as aforesaid, as liquidated damages for the breach of
                Tenant, which damages cannot be computed, as aforesaid. Tenant
                shall have no right to any portion of such income, and such
                damages shall be cumulative for Tenant's default under this Lease
                otherwise provided for.


                                        ARTICLE41
                                   OPERATING COVENANTS

        Section 41.1. Tenant's advertising and public relations, if any, shall not diminish or
detract from the character and reputation of the Building as a first-class office and retail building
and shall meet the quality and standards in keeping with the caliber of the restamant to be
operated at the Premises in accordance with Section 2.1 hereof.

        Section 41.2. Tenant shall provide Landlord, within ten (1 0) days after Landlord's request
therefor, such financial information about Tenant, guarantors hereof, or Tenant's subtenants or
assignees as Landlord may request.

        Section 41.3. Tenant shall cause Terrance Brennan ("Brennan"), at all times during the
Term, to personally plan and develop the business being operated at the Premises, personally
oversee the training of staff to be employed at the Premises, and to be present at the Premises
supervising the operation thereof on a regular basis for the first twenty-four (24) months after the
Commencement Date (collectively, the "Operator Services"); provided, however, that in the
event that Brennan shall die or become incapacitated, then Tenant, within thirty (30) days of such
event, shall appoint a replacement, who shall be a reputable operator of a first class table qnality
restaurant with at least five (5) years experience in operating first-class table cloth quality
restaurants in New York City and shall be subject to the prior approval of Landlord, which
approval shall not be unreasonably withheld or delayed (such person being hereinafter referred to
as the "Operator"). Tenant shall cause the Operator to personally perform the Operator Services.
lfBrennan becomes incapacitated, as aforesaid, then said appointment of the Operator shall be
effective only during the period that Bre!ll1an shall be incapacitated, and from and after the date
Brc!ll1an shall no longer be incapacitated, Tenant shall cause Brennan to personally perform the
Operator Services. Tenant represents and warrants that Brennan is cmrently a principal of
Tenant.
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        IN WITNESS WHEREOF, Landlord and Tenant have respectively executed this Lease as
of the day and year first above written.


                                   TWO PARK COMPANY, Landlord

                                   By: MIH Two Park Associates L.P ., general partner

                                      By: Vomado MIH L.L.C., general partner

                                          By: Vornado Realty L.P., member

                                             By: Vomado Realty Trust, general partner



                                                    Name:
                                                    Title: Irwin Goldberg. Vice P ident
                                                           Orief Financial Officer




                                ARTISANAL, FROMAGERIE & BISTRO, LLC, Tenant


                                By:
                                         N_ame: f.._r""""-/1(~1'!~
                                         Title: 1'1'\~c~ ~

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State of New York  )
                   ) ss.:
County of New York )


        On the Jii     day of                           in the year ,;z.,:,-ao
undersigned, a Notary P Ii nand said State, personally appeared TG?fANfl::: l3~NA
                                                                                 before me, the
                                                                                                          J<i
personally known to me or proved to me on the basis of satisfactory evidence to be the
individual~ whose namey6 is (pel subscribed to the within instrument and acknowledged to me
that helsfieltfiey executed the same in hisiheF.'their capacity(ies), and that by hisfheE'their
signatur>*S) on the instrument, the individual(fl, or the person upon behalf of which the
individual(;;-5 acted, executed the instrument.



                                  u~~    Notary Pu ·

                                                  CARlA MEYER lOIS
                                            Notary Public. State of New York
                                                     No 4694406
                                               Quahf1ed m Rockland County
                                  r.-~mr<;siOn f ~prres July 31. ~ {




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                                             Schedule A

                                   RULES AND REGULATIONS

        (I) The sidewalks, entrances, passages, courts, elevators, vestibules, stairways, corridors,
or halls shall not be obstructed or encumbered by Tenant or used for any purpose other than
ingress and egress to and from the Premises and for delivery of merchandise and equipment in
prompt and efficient manner, using elevators and passageways designated for such delivery by
Landlord.

        (2) No awnings, air-conditioning units, fans or other projections shall be attached to the
outside walls of the Building. No curtains, blinds, shades, or screens, other than those which
conform to Building standards as established by-Landlord from time to time, shall be attached to
or hung in, or used in connection with, any window or door of the Premises, without the prior
written consent of Landlord which shall not be unreasonably withheld or delayed. Such awnings,
projections,ocurtains, blinds, shades, screens or other fixtures must be of a quality, type, design
and color, and attached in the manner reasonably approved by Landlord. All electrical fixtures
hung in offices or spaces along the perimeter of the Premises must be of a quality, type, design
and bulb color approved by Landlord, which consent shall not be withheld or delayed unrea-
sonably unless the prior consent of Landlord has been obtained for other Iamping.

         (3) No sign, advertisement, notice or other lettering shall be exhibited, inscribed, painted
or affixed by Tenant on any part of the outside of the Premises or Building or on the inside of the
Premises if the same can be seen from the outside of the Premises without the prior written
consent of Landlord (which consent shall not be unreasonably withheld in accordance with the
provisions of the Lease) except that the name of Tenant may appear on the entrance door of the
Premises. In the event of the violation of the foregoing by Tenant, if Tenant has refused to
remove same after reasonable notice from Landlord, Landlord may remove same without any
liability, and may charge the expense incurred by such removal to Tenant. Interior signs on doors
and directory tablet shall be of a size, color and style reasonably acceptable to Landlord.

        (4) The exterior windows and doors that reflect or admit light and air into the Premises
or the halls, passage'IYays or other public places in the Building, shall not be covered or
obstructed by Tenant.

        (5) No showcases or other articles shall be put in front of or affixed to any part of the
exterior of the Building, nor placed in the halls, corridors or vestibules, nor shall any article
obstruct any air-conditioning supply or exhaust without the prior written consent of Landlord.

        (6) The water and wash closets and other plumbing fixtures shall not be used for any
purposes other than those for which they were constructed, and no sweepings, rubbish, rags,
acids or other substances shall be deposited therein. All damages resulting from any misuse of
the fixtures shall be borne by Tenant.


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        (7) Subject to the provisions of Article 3 of this Lease, Tenant shall not mark, paint, drill
into, or in any way deface any part of the Premises or the Building. No boring, cutting or
stringing of wires shall be permitted, except with the prior written consent of Landlord, which
consent shall not be unreasonably witbbeld or delayed, and as Landlord may direct

        (8) No space in the Building shall be used for manufacturing.

        (9) Tenant shall not make, or permit to be made, any unseemly or disturbing noises or
disturb or interfere with occupants of this or neighboring buildings or premises or those having
business with them whether by the use of any musical instrument, radio, ielevision set, talking
machine, unmusical noise, whistling, singing, or in any other way.

        (I 0) Tenant, or any of Tenant's employees, agents, visitors or licensees, shall not at any
time bring or keep upon the Premises any inflammable, combustible or explosive fluid, chemical
or substance except such as are incidental to usual restaurant occupancy.

        (II) No additional locks or bolts of any kind shall be placed upon any of the doors or
windows by Tenant, nor shall any changes be made in existing locks or the mechanism thereof,
unless Tenant promptly provides Landlord with the key or combination thereto. Tenant must,
upon the termination of its tenancy, return to Landlord all keys of stores, offices and toilet rooms,
and in the event of the loss of any keys furnished at Landlord's expense, Tenant shall pay to
Landlord the cost thereof.

       (12) No bicycles, vehicles or animals of any kind except for seeing eye dogs shall be
brought into or kept by Tenant in or about the Premises or the Building.

         (13) All removals, or the carrying in or out of any safes; freight, furniture or bulky matter
of any description must take place in the manner and during the hours which Landlord or its
agent reasonably may determine from time to time. Landlord reserves the right to inspect all
safes, freight or other bulky articles to be brought into the Building and to exclude from the
Building all safes, freight or other bulky articles which violate any of these Rules and
Regulations or the Lease of which these Rules and Regulations are a part.

        (14) Tenant shall not occupy or permit any portion of the Premises demised to it to be
occupied as an office for a public stenographer or typist, or for the possession, storage,
manufacture, or sale ofliquor, narcotics, dope, or as a barber or manicure shop, or as an
employment bureau. Tenant shall not engage or pay any employees on the Premises, except
those actually working for Tenant at the Premises, nor advertise for labor giving an address at the
Premises.

        ( 15) Tenant shall not purchase towels or other like service, or accept barbering or boot-
blacking services in the Premises, from any company or persons not approved by Landlord,
which approval shall not be withheld or delayed unreasonably and at hours and under regulations
other than as reasonably fixed by Landlord.

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        ( 16) Landlord shall have the right to prohibit any advertising by Tenant which, in
Landlord's reasonable opinion, tends to impair the reputation of the Building or its desirability as
a building for first class office and retail use, and upon written notice from Landlord, Tenant
shall refrain from or discontinue such advertising.

        (17) Landlord reserves the right to exclude from the Building (other than the Premises)
between the hours of6 P.M. and 8 A.M. and at all hours on days other than Business Days all
persons who do not present a pass to the Building signed or approved by Landlord. Tenant shall
be responsible for all persons for whom a pass shall be issued at the request of Tenant and shall
be liable to Landlord for all acts of such persons.

       ( 18) Tenant shall, at its expense, provide artificial light for the employees of Landlord
while making repairs or aiterations in the Premises.

        (19) The requirements of Tenant will be attended to only upon written application at the
office of the Building. Building employees shall not perform any work or do anything outside of
the regular duties, unless under special instructions from the office of Landlord.

       (20) Canvassing, soliciting and peddling in the Building is prohibited and Tenant shall
cooperate to prevent the same.

       (21) There shall not be used in any space, or in the public halls of the Building, either by
Tenant or by jobbers or others, iMhe delivery or receipt of merchandise, any hand trucks, except
those equipped with rubber tires and side guards.

       (22) Subject to the provisions of this Lease, Tenant shall not cause or permit any
unreasonable odors of cooking or other processes or any unusual or objectionable odors to
emanate from the Premises.

        (23) Tenant shall keep the entrance door to the Premises closed at all times.




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                                           EXHIBIT"A"

                                    FLOOR PLAN OF THE PREMISES

        The floor plan annexed to and made a part of this Lease solely to indicate the Premises by
outlining and diagonal marking. All areas, conditions, dimensions, and location are approximate.




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                 ., ~
                                                                     330 MADISON AVENUE
- 'r - .!!: . .._r.:_                    MEZZANINE FLOOR             NEW YORK N.Y. 10017
                                                                       (2t2) 557-1100
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                                                      -?       2 PARK AVENUE
                                                               GROUND FLOOR
                                                                                                     THE MENDIK COMPANY
                                                                                                       330 M4.DISON A VENUE
                                                                                                       NEW YORK N.Y. 10017
                                                                                                          (212) 557-1100
                                   EXHIBIT"B"

                   LIST OF APPROVEQ CONTRACTORS IN CONNECTION
                            Willi rn'E INITIAL ALTERATIONS

                                   See Attached




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                         APPROVED CONTRACTORS
                                                           R~4/25/00


 GENERAL CONTRACTORS               PHONE#            GQNTACf J'ERSQN
AMBASSADOR CONSTRUcnON             (212) 922-1020    JAY KOVEN
BRISTOL CONSTRUcnON                (212)2~11         GEORGE KATZMAN
JAMES E. FITZGERALD. me.           (212) 930-3034    HUGH O'CONNELL
LEHR CONSTRUcnON                   (212) 353·1160    GERALD LAZER
LEHR MCGOVERN BOVIS                (212) 592-6700    RALPH ESPOSITO
MCCANN, me.                       (212) 586-8000     BRUCE FAHEY
OCEAN VALLEY I LESAL INTERIORS    (718) nrroon       GARY SHERWOOD
STRUCTURE TONE                    (212) 481-6100     JOHN WHITE
1DX INTERIORS                     (212) 279-1981     JANmE KOURAKOS
TISHMAN.INTERIORS                 (212) 399-3600     ROB BLACKMAN
TRI-STAR CORP.                    (212) 486-0008     BILL WEINER
MDA                               (212) 30275566    . DEREK SCHUSTER


                             SUB-CQNTRACfORS

ASBESTOS ABATEMENT
ABATEMENT mT.                     (718) 994-2000    BILL McKENZIE
ABTRON                            (516)364-4678     JIM TIIURSTON
NAC                               (212} 219-0&80    MIKE CAPlTfO ·


AWNINGS
ACME AWNING CO.                  (71&) 409-!88 1    KEN COHEN


BLINDS
DRAPERIES FOR BUSINESS           (718} 729-8310     KENHOHI.
ULTIMATE SERVICES                (203) 531-0623     DAVID MARmELLI
WEXLER SERVICES                  (212) 245-!110     VERA YOUNG

BOILERS
CONTROLLED COMBUSTION            (718) 367-9&00     JERRY WILLIAMS
MARmE WELD fiG                   (718) 991-3203     WILLIAM FALCO


CERAMIC/MARBLE
CORCORAN MARBLE                  (516) 423-8737     JOE CORCORAN
PORT MORRIS                      (718) 378-6100     CAROLNARO
QUARRY TILE                      (212) 679-8889     FRANK GIARAMITA




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          COMMUNICA TIQNSl!ELE!;;OMMUNICATIONS
                    '                    {718) 494-4400         SAL CAPONE
          ADCOM COMMUNICATIONS
          FOREST DATA COM                (212)318-1700          PHILALTHEIM
          HUGH o·KANE ELECI"RIC          (212) 431-6007         HUGHo•KANE
          I-LITE ELECTRIC                (212) 262-9488         ANTHONY JZZO
          METROCOMM                      (212) 459-9128         DARIO GRISTINA
          PETROCEW ELECTRIC              {718) 937-1200         MICHAEL SPATOLA

          m!:!Q!E1E
'-        BRISTOL CONSTRUCTION               (212} 750-2087     GEORGE KATZMAN
          C&D                                (718) 3&4-0999     GARY BROWN
         GRACIANO                            (973} 857.0507     1HOMAS CORBO
         MEl.VA                              {718) 4&2-1932     CHRJS BATALIAS
         OCEAN VALLEY I LESAL INTERIORS      (718) 776-0077     GARY SHERWOOD


         COli!'VECTORSICOVERS
         WENIG CORP.                         (718) 542-3600     RAY ZIMMERMAN
         HACK ENVIRONMENTAL                  (914) 946-3800     KEN HACK
         AlRFLUX                             (516) 752-1219     JOHNATHAN FOGELMAN


         DEMOLlTION
         ADVANCE CARTING                      (212) 691-3200   GENE SKOWRONSKI
         BREEZE DEMOLITION                   {718) 266-7336    DYAL RAMCHARAN
         CASALINO DEMOLmON                   {718) 478-2292    ANNA CASALINO
         DaCOSTA DEMOLITION                  (718) 565-8588    ERNIE DaCOSTA
         GENERAL INDUSTRIAL                  (718) 834-8100    CHARLIE RAFFA
         MANHATTAN DEMOLmON                  (718) 361.0397    JACK BORDOME
         R1TEWAY INTERNAL REMOVAL, INC.      (718) 45&-8900    MIKE TIAMUTOLO
         SEASONS CONTRACTING                 (201) 861-9600    SAVATORECARUCCI


         DRYWALLffiHEETROCK
         CLK CONSTRUCI10N                   (2!2) 986-4580     CORY KOVEN
         DEIIL                              (718) 939-3700     SYLEV!NE
         ESS &VEE                           (718) 7&6-1100     TONY VERDERAME
         JOHN MORESKY                       (516) 735-70!5     JOHN MORESKY
         NORDIC INTERIORS. INC              (718) 456-7000     LLOYD JACOBSON
         OCEAN VALLEY I LEASAL INTERIORS    (718) 776-0077     GARY SHERWOOD
         SWEENEY & HARKIN                   (718) 392.0190     DON MASTERSON


      );;I,ECfRIC
     CALL ELECI"RIC                         (718) 932-5344     DAVE SPINDELL
     C.W.GREENE                             (212) 267-{)440    JAMES ANGUS
     EGG EI...EC1lUC                        (212) 633-955 I    ELLEN ASCHENDORF
     FOREST ELECTRIC                        (212) 318-1500     PHILALTHEIM
     GELLER ELECTRIC                        (718) 729-2944     AL SAM!LENKO
     I - LITE ELECTRIC                      (212) 262-9488     ANTHONY IZZO
     R. B. SAMUELS ELECfRJC                 (212) 686-6700     DAVE SAMUELS


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     "Fi..OOI<lrJ~
      ASHI..AND INDUSTRIES           (914) 777-4507    CARMINE NOTARO
      BCEXCHANGE                     (212) 686-5100    DAVE SIMON
•.    LORRAINE FLOORING              (718) 482-0068    STEPHEN VERDERAME
      WEXLER. SERVICES               (212) 245-1110    VERA YOUNG


     FOLDING WALLS
     FLEXWALL                        (516) 561-3900    RONSARACO
     MODERNFOLD DOORS                (212} 684-4210    ROBERT STYLES
     NATIONAL                        (212) 924-1567    EDMUND GRECCO


     QLASSREPLA~MENT
     EAST SIDE GLASS                 (212) 674-8355    MARK ROSEN
     KNICKERBOCKER GLASS             (212) 247-&SOO    SIDNEY GLASSER
     SCHULDINER                      (718) 386-5200    DICK LAND


     H.V.A.C
     1.C.&F. SERVICES, INC.         (718) 296-6951    GERALD LaCHANCE
     IDP MECHANICAL                 (118} 204-5500    PETER MANOS SR. & JR
     NELSON AIR DEVICE              (718) 729-3801    NELSON BLITZ
     OMEGA COOLING                  (212) 26&-7100    RON IRVING
     PENGUIN AIR CONDmONING         (718) 706-2503    WILLIAM ASH
     P. J. MECHANICAL               (212} 243-2555    MITCHELL SINGER
     P & L MECHANICAL               (212) 966-6054    NICK PIZZONE


     HARDW6RE/DOOR LOCKS
     MIDTOWN                        (212) 730-2052    BILL FERRARA
     RAM TECH                       (71&) 476-240&    ANlliONY ZAMPELLI
     WEINSTEIN &HOLTZMAN            (212) 233-4651    JEFF HYMOWITZ


     MOVING COMPANIES
     CENTRAL MOVING & STORAGE       (2!2) 268-8989    GENE TOSCANI
     GLOBE MOVING & STORAGE         (212) 925-3555    GLEN PRESSL!ER
     MEGA VAN &STORAGE              (718) 875-7313    JOHN WILLIAMS
     TIME MOVING & STORAGE          (718) 85H700      JAMES McVIEGH


     LATH & ACOUSTICS
     ESS&VEE                        (718) 786-!100    TONY VERDERAME
     SUPERIOR                       (118) 894-2417    KEN MCGUIGAN


     LlGHTING/ELECfR!CAL SUPPLIES
     BENFIELD ELECTRIC              (718) 706-8600    MICHAEL F. O'BRIEN
     CONSERVE ELECTRIC              (7!8) 937-6671    LARRY SULUVAN
     SPECUTE       )
                                    (5 I6) 822-8800   JAMES WILLEY
     PROJECT LIGHTING               (718) 417-8182    TONY CAPR.t..NZANO
     MIDTOWN ELECTRIC SUPPLY        (212) 255-3388    TIM GOLD


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 CIROCCO & OZZIMO                      (516) 841.0185    GREGOZZIMO



 MET6LlGLASS PARTITIQN
 ACME                                 (718} 384-noo      IIMGRECO
 A·VJJ.. ARCHITECTIJRAL METAL         (718) 539-2391     VLADIMIR BLASKOVIC
 LANDMARK                             (718} 495-7300     CHARLES Gl.JITMAN
 METRALITE                            (718) 961-1770     DON SILVERMAN


PAIN1JNG
BOND PAlNTING                       (212} 944-0070       Sl1JARTFELD
J. I. HASS                          (212) 687-fj678      JAYHASS
L&.LPAINnNG COMPANY. INC.           (516) 349-1900      . BRAD ZORFAS
STATEPAINTING&OECORATING CO .• INC. (212) 7.51-8330       STEPHEN WOLF
WEXLER SERVICES                     (212) 245:1110        VERA YOUNG


PLUMBING
CREST PLUMBING & HEATING, INC.        (212} 967-2276     BILL BOWERMAN
PAR PLUMBING                          (5 16) 887-4000    SANDI DEUTSCH
M J M PLUMBING                        (212) 966-2444     MIKE CARBONE


RATSEO FLOOR
RAISED FLOORS                         (973) 778-2444    ERIC LAGERSTRUM
COMPtrrER FLOORS                      (973) 340-3666    TORSUNDLIN


ROLLll!!:!IREVOL VING QOOR~
AMERICAN REVOLVING DOORS             (718) 192-7198       KEITH JOHNSON
FRANKLIN SQ. IRON WORKS              (201) 6!2-1995     · RICHIE SINGER
MIRIC INDUS11UES                     (212) 594-9898       MIKE PETRICO
MACKENZIE                            (212) 227-1630       GEORGE MACKENZIE


RQOTINGA¥6TERPRQQflNG
A BEST                               (71 &) 779-3000    WNBEST
ARROW RESTORATION                    (718) 729-o411     MARSHALL GELLAR
BRISTOL CONSTRUCTION                 (212) 750-2087     GEORGE KATZMAN
C&D                                  (718) 384.{)999    GARY BROWN
GRACIANO                             (973) 857.0507     1HOMAS CORBO
KILROY METALS                        (718) 638-2503     CHARLES KROBOT
LAWRENCE WATERPROOFING CORP.         (718) 746-7600     SCOTT SMITH
MELVA                                (718) 482-1932     CHRIS BATALIAS




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                                       EXHIBIT "C"

                               TENANT'S PROJECTED START-UP
                                 & CAPITAL EXPENDITURES

                                       See Attached




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                                                  ARTISANAL
                                     PROJECTED CAPITAL EXPENDITUR!::S
                                     ( NB. These numbers are c:;ti!Illites only and may be higher.
                                     Actuals will be substantiated with receipts)

             PurchaJe Price: $425,000.00
             EQUJPMENJ:

               Kitchen:        S30,000.00
               Smallwares:   $35,000.00
               Oflice:      SJS,OOO.OO
              China. Glassware
              Silver       $50,000.00
              POS System $5,000.00


             Renovatfqn'

             Furnishing. $200,000.00
             Banqucttos,Chairs, Batbroams, Tables, Service Stations, Maitre d' Stand, Chrome
            Railings. Tempered Glass with Logo, Shelving, Faucets, Sinks, Toilets, Sconce.;,
            Lighting for Bar and Banquetes, Tile, Wall Tile.

            Bar Refrigeration: $21,000.00

            Cheese Caye and Counters: $60,000.00

            Labour: $390,000.00

            awning: $12,000.00

            Security: $5,000.00

            Lock Smith: $1,000.00

            Total : Sl.ZSO.llOO.OO




              Joe Porcelli:
             Any questions tell free to c;,ll me; the Chef ill out oftown ...Msrk Shay... 724·8905




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                                    AMENDMENT OF LEASE

                                                                                        7./d
               THIS AMENDMENT OF LEASE (this "Amendment"), made as ofth~ day

of October, 2001, by and between TWO PARK COMPANY, aNew York limited partnership,

having an office c/o Vomado Office Management LLC, 330 Madison Avenue, New York, New

York 10017 ("Landlord"), and ARTIS ANAL, FROMAGERIE & BISTRO, LLC, a New York

limited liability company, having an office at Two Park Avenue, New York, New York

("Tenant").




               WHEREAS, by Agreement of Lease, dated as of September 8, 2000 (the

"Lease"), Landlord did demise and let unto Tenant, and Tenant did hire and take from Landlord,

portions of the basement, mezzanine and ground floors (the "Premises"), as more particularly

described in the Lease, of the building known as and by the street address ofTwo Park Avenue,

New York, New York (the "Building"); and

               WHEREAS, Landlord and Tenant desire to modify the Lease as set forth herein.

               NOW, THEREFORE, in consideration of the mutual covenants contained herein,

and of the sum ofTen Dollars ($10.00) paid by Tenant to Landlord, and for other good and

valuable consideration, the mutual receipt and legal sufficiency of which are hereby

acknowledged, the parties hereto, for themselves, their legal representatives, successors and

assigns, hereby agree as follows:

                       1.     Definitions. All capitalized terms used herein shall have the

meanings ascribed to them in the Lease, unless otherwise defined herein.

4577n5979-010 NYLIBl/1402652 v1                  1
                2.         Modification of Lease. From and after the date hereof (the "Effective

Date"), the Lease is hereby modified and amended as follows:

                          (a}    The Fixed Rent with respect to the Premises for the month of

September, 2001, in the amount of Twenty-Five Thousand and 001100 Dollars ($25,000.00),

which was due September 1, 2001 as set forth in Section 1.1(1) of the Lease, shall be deferred

until the six month period commencing on November 1, 2001 and ending on April30, 2002 (the

"Rent Deferral Period").

                          (b)    The Fixed Rent, with respect to the Rent Deferral Period only,

shall be One Hundred Seventy-Five Thousand and 00/100 Dollars ($175,000.00), payable in

advance in equal monthly installments of Twenty-Nine Thousand One Hundred Sixty-Six and

67/100 Dollars ($29,166.67) on the first (1st) day of each calendar month during the Rent

Deferral Period, in the manner provided in the Lease. The Fixed Rent shall otherwise remain as

set forth in the Lease.


                3.        Brokerage.    Tenant represents and warrants to Landlord that it has not

dealt with any broker, finder or like agent in connection with this Amendment. Tenant does

hereby indemnify and hold Landlord harmless of and from any and all loss, costs, damage or

expense (including, without limitation, attorneys' fees and disbursements) incurred by Landlord

by reason of any claim of or liability to any broker, finder or like agent who shall claim to have

dealt with Tenant in connection herewith. The provisions of this Paragraph 3 shall survive the

expiration or termination of the Lease, as amended by this Amendment.




4577n5979-010 NYUBl/1402652 v1                     2
               4.      Limitation ofLiabilitv.    The obligations ofLandlord under the Lease, as

amended by this Amendment, shall not be binding upon Landlord named herein after the sale,

conveyance, assignment or transfer by such Landlord (or upon any subsequent landlord after the

sale, conveyance, assignment or transfer by such subsequent landlord) of its interest in the

Building or the land upon which it is erected, as the case may be, and in the event of any such

sale, conveyance, assignment or transfer, Landlord shall thereafter be and hereby is entirely freed

and relieved of all covenants and obligations of Landlord under the Lease, as amended by this

Amendment. The members, partners, shareholders, directors, officers and principals, direct and

indirect, of Landlord (collectively, the "Parties") shall not be liable for the performance of

Landlord's obligations under the Lease, as amended by this Amendment. Tenant shall look

solely to Landlord to enforce Landlord's obligations under the Lease, as amended by this

Amendment, and shall not seek any damages against any of the Parties. The liability of

Landlord for Landlord's obligations under the Lease, as amended by this Amendment, shall be

limited to Landlord's interest in the Building and the land upon which the Building is erected and

Tenant shall not look to the property or assets of any of the Parties in seeking either to enforce

Landlord's obligations under the Lease, as amended by this Amendment, or to satisfY a judgment

for Landlord's failure to perform such obligations.


               5.      Authorization .. Tenant represents and warrants to Landlord that its

execution and delivery of this Amendment has been duly authorized and that the person

executing this Amendment on behalfofTenant has been duly authorized to do so, and that no

other action or approval is required with respect to this transaction.




4577n5979-010 NYUBl/1402652 v1                    3
               6.      Full Force and Effect of LeaSe. Except as modified by this Amendment,

the LeaSe and all covenants, agreements, terms and conditions thereof shall remain in full force

and effect and are hereby in all respects ratified and confirmed.


               7.      Entire Agreement. The LeaSe, as amended by this Amendment,

constitutes the entire understanding between the parties hereto with respect to the Premises

thereunder and may not be changed orally, but only by an agreement in writing signed by the

party against whom enforcement of any waiver, change, modification or discharge is sought.




4577175979-010 NYLIB1/1402652 v1                 4
               IN WTINESS WHEREOF, the parties hereto have executed this Amendment of

Lease as of the date first above written.


                               TWO PARK COMPANY, Landlord

                               By: M1H Two Park Associates L.P., general partner

                                     By: Varnado M1H L.L.C., general partner

                                            By: Varnado Realty L.P ., member

                                                By: Varnado Realty Trust, general partner



                                                ·~~~    J~aCl10W
                                                        Executive Vice-President -Finance and
                                                        Administration and Chief Financial Officer



                               ARTISANAL, FROMAGERIE & BISTRO, LLC, Tenant


                               By:   ~!;:<,~ ~
                                     Name:
                                                               (-WJ r1   lh-/              --
                                     Title: M    ~t ~           9"" ~ll..
                                     Fed.I.D. N o . : - - - - - - - -




4577/75979-010 NYLIB1/1402652 v1                    5
STATE OF NEW YORK                 )
                                  ) ss.:
COUNTY OF NEW YORK                )



        On the_ day of                                 in the year 2001 before me, the undersigned,
personally appeared                              personally known to me or proved to me on the
basis of satisfactory evidence to be the individual{s) whose narne(s) is (are) subscribed to the
within instrument and acknowledged to me that he/she/they executed the same in his/her/their
capacity(ies), and that by his/her/their signature(s) on the instrument, the individual(s), or the
person upon behalf of which the individual(s) acted, executed the instrument.



                                      Notary Public




4577n5979-010 NYLIBl/1402652 v1                  6
                             SECOND AMENDMENT OF LEASE

         This Second Amendment of Lease (this "Amendment"), dated as ofthe 151 day of July,
2007, by and between PPF OFF TWO PARK AVENUE OWNER, LLC, a Delaware limited
liability company, having an office at c/o Morgan Stanley Real Estate Advisor, Inc.,
1585 Broadway, New York, New York 10038 ("Landlord"), and ARTISINAL,
FROMAGERIE & BISTRO, LLC, a New York limited liability company, having an office at
Two Park Avenue, New York, New York 10016 ("Tenant").



        WHEREAS, by Agreement of Lease, dated as of September 8, 2000, between Two Park
Company, a New York partnership, and Tenant, as amended by that certain Amendment of
Lease, dated October 31, 2001, (the Agreement ofLease as heretofore amended is hereinafter
referred to as the " Lease"), Landlord's predecessor-in-interest did demise and let unto Tenant,
and Tenant did hire and take from Landlord's predecessor-in-interest, portions of the basement,
mezzanine and ground floors (the "Original Premises") of the building commonly known as Two
Park Avenue, New York, New York (the "Building") as more particularly described in the
Lease;

        WHEREAS, Landlord wishes to lease to Tenant and Tenant wishes to hire from Landlord
certain storage space adjacent to the loading dock of the Building for the temporary containment
of Tenant's refuse, and, accordingly, to modify and amend the Lease in order to provide for the
foregoing;

        NOW, THEREFORE, in consideration of the mutual covenants contained herein, and of
the sum of Ten Dollars ($10.00) paid by Tenant to Landlord, and for other good and valuable
consideration, the mutual receipt and legal sufficiency of which are hereby acknowledged, the
parties hereto, for themselves, their legal representatives, successors and assigns, hereby agree to
further modify and amend the Lease as follows :

                                             Article I.
                                              Terms

       Section 1.1 . All capitalized terms used but not defined herein shall have the meanings
ascribed to such terms in the Lease.

                                           Article II.
                                     Demise of Storage Space

        Section 2.1. Landlord hereby leases to Tenant and Tenant hereby hires from Landlord
certain space consisting of approximately Two Hundred and Forty One (241) rentable square feet
in the Building as shown on Exhibit A attached hereto and made a part hereof (the "Storage
Space"), for a term commencing on July 1, 2007 (the ''Storage Space Commencement Date")
and ending on the Fixed Expiration Date or such earlier date upon which the Term of the Lease
shall sooner expire (the "Storage Space Term").
                                            Article III.
                                        Storage Space Rent

       Section 3.1. From and after the Storage Space Commencement Date, Tenant shall pay to
Landlord an annual rent for the Storage Space (the "Storage Space Rent") in an amount equal to:

       Four Thousand Dollars ($4,000.00) ~annum payable in equal monthly installments of
Three Hundred Thirty-Three Dollars and Thirty-Three Cents ($333.33) during the period
commencing on the Storage Space Commencement Date and ending on the Fixed Expiration
Date.

       Storage Space Rent shall be due and payable by Tenant in equal monthly installments in
advance on the first (1st) day of each calendar month during the Storage Space Term in
accordance with and subject to the terms and conditions of the Lease for the payment of Fixed
Rent.

                                          Article IV.
                              Completion and Use of Storage Space

        Section 4.1. Tenant agrees to accept the Storage Space in its "AS IS" condition on the
Storage Space Commencement Date, and further agrees that Landlord shall not be required to
perform any work, supply any materials, or incur any expense to prepare t he Storage Space for
Tenant's use and occupancy. If for any reason the Storage Space shall not be ready for
occupancy by Tenant as of the Storage Space Commencement Date, Tenant hereby waives and
releases Landlord from any and all claims arising out of such delay. The acceptance of
possession of the whole or any part of the Storage Space by Tenant shall be conclusive evidence,
as against Tenant, that Tenant accepts possession of the same and that the Storage Space was in
good and satisfactory condition at the time such possession was so taken.

        Section 4.2. As of the Storage Space Commencement Date, the Storage Space shall be
deemed to be a part of the Premises for all purposes of the Lease, except (i) Tenant shall use the
Storage Space only as storage space for the temporary containment of Tenant's refuse in
connection with the business conducted by Tenant at the Original Premises pursuant to the Lease
and for no other purpose, and (ii) as otherwise set forth herein.

                                            Article V.
                                  Refrigeration of Storage Space

        Section 5.1. Subject to the approval of Landlord, during the Storage Space Term, Tenant
shall install, maintain, service and repair a refrigeration and air-conditioning system serving the
Storage Space, which system shall at all times maintain the Storage Space at a temperature
reasonably required by Landlord and consistent with sound waste management practices for
dignified, first-class restaurant establishments in Midtown Manhattan.




                                                - 2-
                                           Article VI.
                              Services by Landlord to Storage Space

        Section 6.1. Tenant acknowledges and agrees that Landlord shall not supply any services
to the Storage Space, including, without limitation, air-conditioning, heat, hot or cold water,
janitorial service, elevator service or any other similar or dissimilar service or utility (excepting
electricity). Landlord shall not be liable in any respect for the failure or stoppage of services that
Landlord may be obligated to supply, if any, and any such failure or stoppage shall not be
construed as a constructive eviction of Tenant or as grounds for the abatement of Storage Space
Rent and shall not relieve Tenant from the fulfillment of any term, covenant or agreement under
the Lease.

                                             Article VII.
                                              Brokers

        Section 7.1. Tenant represents and warrants to Landlord that Tenant has not dealt with
any real estate broker, agent or finder in the negotiation or making of this Amendment. Tenant
agrees to indemnify and hold Landlord harmless from and against any and all liabilities, losses,
damages, claims, costs and expenses (including, without limitation, attorneys' fees) arising out of
any claim, demand or proceeding for a real estate brokerage commission, finder's fee or other
compensation made by any Person in connection with this Amendment arising from a breach of
the foregoing representation. The provisions of this Article shall survive the expiration or earlier
termination of the Lease and/or this Amendment.

                                            Article VIII.
                                            Relocation

         Section 8.1 . At any time and from time to time during the Storage Space Term, upon
thirty (30) days' notice to Tenant, Landlord shall have the right to relocate the Storage Space at
Tenant's expense to a new location within the Building, which new location shall be of at least
the same rentable square footage and proximity to the loading to the dock of the Building as the
existing Storage Space.

                                            Article IX.
                                           Miscellaneous

       Section 9.1. Tenant represents and warrants that its execution and delivery of this
Amendment has been duly authorized, that the individual executing this Amendment on behalf
Tenant has been duly authorized to do so, and that no further action or approval is required by
Tenant with respect to this transaction.

        Section 9.2. This Amendment may be executed in counterparts, each of which when so
executed and delivered shall be deemed an original, but all of which taken together shall
constitute but one and the same instrument.

       Section 9.3. This Amendment shall be construed and enforced in accordance with the
laws of the State of New York, without regard to principles of conflict oflaw.


                                                 -3-
Signature Page to Second Amendment



       IN WITNESS WHEREOF, the parties hereto have executed this Amendment as of the
day and year fust written above.

                                        LANDLORD:

                                        PPF OFF TWO PARK AVENUE OWNER, LLC,
                                        a Delaware limited liability company

                                        By: PPF OFF TWO PARK AVENUE, LLC, a
                                        Delaware limited liability company, its Member

                                           By: PPF OFF, LLC, a Delaware limited liability
                                           company, its Member

                                               By: PPF OP, LP, a Delaware limited
                                               partnership, its Member

                                                  By: PPP OPGP, LLC, a Delaware
                                                  limited liability company, its General
                                                  Partner

                                                      By: PRIME PROPERTY FUND,
                                                      LLC, a Delaware limited liability
                                                      company, its Member

                                                         By: MORGAN STANLEY
                                                         REAL ESTATE ADVISOR,
                                                         INC., a Delaware corporation, its


                                                         ~·~~
                                                         ~/hornASf,
                                                            Title: rzk~".._f7vc]) 1y.cc for-



                                        TENANT:

                                        ARTISINAL, FROMAGERIE & BISTRO, LLC,
                                        a New York limited liability company

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IS
:E MANAGEWENT SDMCE:S
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••
II
••II                                                      PARK AVENUE
•,.    •     IU I II CIIJIIllll
                                                        2 PARK AVENUE   THE MENDIK COMPANY
.;r          ,.                       r· ~                 BASEMENT
                                                                           330 MADISON AVENUE
'"'"'l'll"'' ,,.. ll'P"'rniiTI! l'llll All'll   ~                          NEW YORK N.Y. 10017
                                                                             ,,.,.,.,,I!' ....... ••"""'
Exhibit B
  CIVIL COURT OF THE CITY OF NEW YORK
  COUNTY OF NEW YORK: NON-HOUSING PART 52

  PPF OFF TWO PARK AVENUE OWNER, LLC,
                                                                             L&T Index No.: 50707/2016
                                       Petitioner Landlord,
                                                    -



                -against-                                                   REPLY AFFIDAVIT OF MARIA
                                                                            BLAKE IN FURTHER SUPPORT
  ARTISANAL FROMAGERIE & BISTRO, LLC,                                       OF PETITIONER'S CROSS-
                                                                            MOTION FOR ENTRY OF AN
  Portions of the basement, mezzanine and ground floors in                  ORDER OF SUMMARY
  the building located at Two Park Avenue, New York,                        JUDGMENT AWARDING
  New York,                                                                 PETITIONER POSSESSION AND
                                                                            USE AND OCCUPANCY
                                       Respondent Tenant.
                                                        -                   PURSUANT TO CPLR § 409(B)
                                                                            AND RPAPL §745, AND
                                                                            ISSUANCE OF A WARRANT OF
                                                                            EVICTION PURSUANT TO
                                                                            RPAPL §749

  STATE OF NEW YORK                            )                                                                    ■       ,




                                                   ss.:
  COUNTY OF NEW YORK                           )                                                     A 6 3 NS
            MARIA BLAKE, being duly sworn, deposes and says:                                 NEWYORK COUNTY
                                                                                              ROSING COURT
                                                                                             ‘*'
                                                                                                                        .




           1.      I submit this reply affidavit in further support of Two Park's cross-motion for entry of

  an order of summary judgment awarding Two Park possession and use and occupancy pursuant

  to CPLR § 409(b) and RPAPL § 745, and issuance of a warrant of eviction pursuant to RPAPL §

  749 (the "Cross-Motion"). 1

  The Lease

      2.           In its opposition to the Cross-Motion, Sarid Drory, principal of Artisanal, says he

cannot admit that the Lease attached as Exhibit A to the Blake Affidavit is true and accurate. See

Affidavit of Sarid Drory in Support of Respondent's Motion and in Opposition to Petitioner's

Cross-Motion, dated April 15, 2016 ("Drory Aff.") 113. Mr. Drory also argues that since the Lease


  ' Capitalized terms not defined herein have the same meaning set forth in my affidavit dated April 4, 2016 (the
  "Blake Affidavit" or "Blake Aff").
was entered into prior to my involvement with the Building, I could not lay a foundation for the

accuracy and admissibility of the Lease, and therefore the Lease should not be considered. Id.

      3.      This argument is unfounded and has no merit, as I am very familiar with Two Park's

corporate records and I can confirm that the Lease attached as Exhibit A to the Blake Affidavit

came out of Two Park's files and is the document that governs Two Park's relationship with

Artisanal. 2 Therefore, it makes no difference whether I worked at the Building when the Lease was

executed. See Reply Memorandum of Law in Support of Petitioner's Cross-Motion, dated May 2,

2016 ("Reply Br.") at 3, n.4. Moreover, Mr. Drory has been operating his business at the Premises

for nearly two years and has never claimed that this document was not the Lease. Indeed, he has

referenced the Lease and cited its provisions in correspondence to me including, for example, the

letter dated October 16, 2014 that is attached hereto as Exhibit 1. Mr. Drory also does not identify

any different document that he claims is the Lease.

  Use and Occupancy'

      4.       Turning to Artisanal's arguments regarding use and occupancy, Artisanal concedes

that liquidated damages provisions similar to the one in Article 20 of the Lease are enforceable.

See Reply Affirmation of Jeffrey L. Goldman, dated April 15, 2016 ("Goldman Reply Aff.") ¶ 20.

However, it argues that the liquidated damages provision in Article 20 is an unenforceable penalty

because the amount it requires Artisanal to pay for use and occupancy is disproportionate to the

damages Artisanal's holdover has actually caused Two Park. See id. 1121. That is not the case, but

more importantly, that is not a valid basis for avoiding the liquidated damages provision. See

Reply Br. at 8-10.


  2Exhibit A to the Blake Affidavit includes the: (i) Agreement of Lease signed September 8, 2000, (ii) Amendment
  of Lease signed October 31, 2001, and (iii) Second Amendment of Lease signed July 1, 2007 ("Second
  Amendment"), which together make up the complete Lease. There have been no other amendments to the Lease.




                                                          2
      5.      Artisanal also complains that I did not provide a "detailed breakdown" of my

calculation of the amount of use and occupancy owed by Artisanal. Goldman Reply Aff. 1120.

However, that calculation was made in accordance with the plain terms of Article 20 of the Lease,

which states that use and occupancy is equal to the "greater of (i) two (2) times the aggregate of

that portion of the Fixed Rent, Escalation Rent and Rental which was payable under the Lease

during the last month of the Term, and (ii) two (2) times the then fair market rental value for the

Premises." See Blake Aff. Ex. A. at 53-54 (emphasis added). Thus, when I submitted the Blake

Affidavit, I first calculated the amount of "Fixed Rent," "Escalation Rent" and "Rental" that was

due for September 2015, the last month of the Lease, i.e., the "Last Term Rent," and then

multiplied that amount by two to reach the amount of use and occupancy due under Article 20. As

described more fully below, "Fixed Rent," "Escalation Rent," and "Rental" are all defined terms in

the Lease.

      6.      The term "Fixed Rent" is defined in the Lease as $36,000 for each month during the

"3rd Rental Period," which includes September 2015.       See Blake Aff. Ex. A at 9. Beginning in

July 2007, the monthly Fixed Rent was increased by $333.33 for "Storage Space Rent," as that

term is defined under Section 3.1 of the Second Amendment. See Blake Aff. Ex. A, Second

Amendment, at 2. Thus, the amount of Fixed Rent I used to calculate Last Term Rent was

$36,333.33.

      7.      The term "Escalation Rent" is defined in the Lease as "individually or collectively,

the Tax Payment and the Percentage Rent." Blake Aff. Ex. A at 3.

      8.      The term "Tax Payment" is defined in the Lease as Artisanal's share of any increase

in real estate taxes relating to the Building over the amount of such taxes due during the first year

of the Lease. See Blake Aff. Ex. A. at 7, 57-60. The Tax Payment due each month during the




                                                   3
second half of 2015 is $5,535.15, as shown in the statement sent to Mr. Drory on July 1, 2015,

which is attached as Exhibit 2. However, I made an error in my initial calculation by including

only $1,842.63 for the Tax Payment portion of the Last Term Rent.

     9.      The term "Percentage Rent" is defined in the Lease as 6% of the difference between

Artisanal's Gross Sales made during a Sales Year and $5,000,000. Blake Aff. Ex. A at 5, 61. As I

explained in the Blake Affidavit, Artisanal has not provided Two Park with its Gross Sales for

2015, and thus I had to estimate the amount of Percentage Rent due for September 2015 by using

the Percentage Rent that Artisanal paid for 2014. See Blake Aff. ¶ 17. That amount was

calculated by Artisanal itself and checked by its accountants. Attached as Exhibit 3 is a letter

from Artisanal's accountant to Two Park dated March 26, 2015, which purports to calculate

Percentage Rent due for 2014 as $117,168. I divided that number by 12 and used the resulting

number, $9,764, as an estimate of the amount of the Percentage Rent attributable to September

2015. Thus, the total amount of Escalation Rent (i.e., the Tax Payment plus the estimated

Percentage Rent) that I used to calculate the Last Term Rent was $11,606.63.

      10.    Finally, the term "Rental" is defined in the Lease as "Fixed Rent, Escalation Rent, all

additional rent and any other sums payable by [Artisanal under the Lease]." Blake Aff. Ex. A at 6.

"Rental" includes, among other things, electricity and water usage in connection with the operation

of the Premises. As reflected in the utility bills attached hereto as Exhibit 4, the amount of

electricity and water usage by Artisanal for September 2015 was $16,045.53 and $11,900.69,

respectively. However, I inadvertently omitted the electricity sales tax charge of $1,307.96 in my

initial calculation. Thus, the amount that I included for electricity usage in calculating the Last

Term Rent was only $14,737.57, and the total amount of "Rental" that I used to calculate Last

Term Rent was only $26,638.26.




                                                  4
      11.     To summarize, I calculated the Last Term Rent included in the Blake Affidavit by

adding: (i) Fixed Rent of $36,333.33, (ii) estimated Escalation Rent (i.e., Tax Payment and

estimated Percentage Rent) of $11,606.63, and (iii) Rental (i.e., electricity and water) of

$26,638.26, for a total of $74,578.22, which I then doubled to reach a monthly use and occupancy

amount of $149,156.44. As also detailed above, however, I made two errors in my initial

calculation by omitting: (i) real estate taxes in the amount of $3,692.52 and (ii) an electricity sales

tax charge in the amount of $1,307.96, amounts which fall under the definition of Escalation Rent

and Rental, respectively. Correcting these errors increases Last Term Rent to $79,578.70, and

increases the monthly amount of use and occupancy required under Article 20 to $159,157.40 (2 x

79,578.70).

      12.     None of these amounts are controversial. The amount of Fixed Rent is stated in the

Lease, see Blake Aff. Ex. A at 53-54, Second Amendment at 2; my estimate of Percentage Rent

was based on Artisanal's own calculations from last year, see Exhibit 3 hereto; and, while the

Lease was in effect, Artisanal was billed monthly for real estate taxes, electricity and water usage,

and paid such charges without objection. Attached as Exhibit 5, for example, is the invoice that

was sent to Artisanal on February 24, 2015 reflecting such line items, as well as the record of

Artisanal's payment of the full amount of that invoice.

      13.     Artisanal has unlawfully remained in possession of the Premises for over seven

months without paying the vast majority of the use and occupancy it owes under Article 20 of the

Lease for the holdover period. It is therefore crucial that Artisanal be required to immediately pay




                                                    5
use and occupancy for the holdover period to date, and continue making use and occupancy

payments until it vacates the Premises. 3

  Harm To Two Park From Artisanal's Continued Failure To Vacate The Premises

      14.     Artisanal's unlawful refusal to vacate the Premises has caused, and continues to

cause, substantial harm to Two Park.

      15.     Contrary to Artisanal's assertion, Two Park is in the process of negotiating a lease

with a new tenant that has signed a letter of intent to lease the Premises beginning August 31, 2016.

A redacted copy of the letter of intent is attached as Exhibit 6. Two Park will need between six

and twelve weeks after Artisanal vacates to repair the substantial damage that Artisanal has done

(and continues to do) to the Premises and otherwise get the Premises ready for the new Tenant.

The holiday season is the most important time of the year for many businesses, and adequate lead-

time is crucial to their ability to successfully operate and maximize profits during that period. It is

therefore vital that Two Park be able to perform the repairs and deliver the Premises on time.

      16.     Moreover, as Mr. Drory admits, he has repeatedly threatened Two Park's and its

affiliates' representatives — including myself — with physical violence over the past year and

interfered with Two Park's right to show the Premises to prospective tenants. He has also engaged

in a pattern of making frivolous complaints and false accusations about the Building, and has even

threatened to make false and derogatory statements to investors in the Fund that could severely

damage its reputation. See, e.g., Blake Aff. Ex. I. Dealing with all of Mr. Drory's misconduct has

required (and continues to require) a substantial amount of my time and attention — as well as the

time and attention of other employees of Two Park and its affiliates — and has been (and continues

  3
   As discussed below, Artisanal made one payment toward use and occupancy in the amount of $62,000, and that
  amount should be deducted from the total use and occupancy Artisanal owes for the period October 2015-May 2016.
  See Reply Br. at 11, n.13.




                                                         6
to be) very disruptive to our business. Two Park has also incurred (and is continuing to incur) a

substantial amount of legal fees as a result of Artisanal's breaches of the Lease.

  Letter of Credit and Alleged Month-to-Month Tenancy

      17.     During the term of the Lease, Artisanal posted a $50,000 letter of credit (the "LOC")

with Two Park as security for the Premises. Two Park is entitled to retain the proceeds of the LOC

as security until "after [Artisanal's] delivery of possession of the Premises" under Section 31.1 of

the Lease. Blake Aff. Ex. A at 67. However, the LOC was set to expire on September 6, 2015,

i.e., before the Lease expired on September 30, 2015. Therefore, Two Park made a request to draw

down the funds from the LOC on August 26, 2015. A copy of the draw-down request, which

reflects the LOC' s expiration date, is attached hereto as Exhibit 7.        The LOC proceeds were

received by Two Park on September 9, 2015, and have not been applied to any amounts due from

Artisanal. Artisanal's claim that the LOC was applied to October 2015 rent, see Drory Aff. 114, is

simply not accurate.

      18.     Artisanal's claim that Two Park accepted rent payments during the holdover period

thereby creating a month-to-month tenancy, see Goldman Reply Aff. ¶ 16, is also wrong. Two

Park accepted one wire transfer of $62,000 from Artisanal after the Expiration Date. That was in

December 2015 after Mr. Drory indicated that he would sign a stipulation setting a specific date for

Artisanal to vacate the Premises, which it never did. See Affirmation of Jonathan A. Grippo in

Opposition to Respondent's Motion to Dismiss and in Support of the Cross Motion 7118-9. That

payment, however, goes toward the amount of use and occupancy that Artisanal owes for the

holdover period under Article 20 of the Lease. Reply Br. at 3-5. It was never Two Park's intent to

create a month-to-month tenancy with Artisanal.




                                                     7
     Decision Not To Renew The Lease

        19.      In his affidavit, Mr. Drory repeatedly accuses me of trying to "give the false

impression" to the Court that the discussions of a potential Lease renewal began in October 2014

rather than August 2014. Drory Aff. ¶¶ 8, 13. However, I clearly and accurately stated in the

Blake Affidavit that renewal discussions began "[i]n or around August 2014."            Blake Aff.   114
(emphasis added). Additionally, Mr. Drory's allegations that Two Park engaged in "bad faith

negotiations" and other alleged misconduct, see, e.g., Drory Aff. r 7-19, are simply false.

        20.      In any event, the renewal discussions are irrelevant because there is no dispute that

Two Park notified Artisanal in writing that it was not renewing the Lease on February 11, 2015,

i.e., nearly eight months before the Lease expired,       giving Artisanal ample time to find a new

location. See Blake Aff. Ex. C. Thus, Artisanal cannot excuse or extend its unlawful holdover

based on the false claim that Two Park "pulled the rug out from under [Artisanal]," Drory Aff.

1115, by exercising its discretion to decline to renew the Lease, which it had every right to do, over
a year ago.

     Two Park Never Agreed to an August 2016 Vacate Date

        21.      Finally, contrary to Artisanal's claim, Goldman Reply Aff.     1137, Two Park never
agreed to allow Artisanal to remain in the Premises until August 2016.




     Sworn to before me this
           day of May, 2016




 •               JULIE F ZEITLIN
       Notary Public - State of New York
               NO. 01ZE6149901
         Qualified in New York Coun
      My Commission Expires c7//7 v.; tai,

                                                      8
Exhibit 1
                                        October 16, 2014



Ms. Maria Blake
PPF OFF Two Park Avenue Owner, LLC
c/o Morgan Stanley Real Estate Investing
1585 Broadway, 37th Floor
New York, NY 10036


Re: Artisanal Fromagerie & Bistro, LLC -- Agreement of Lease (the "Lease") dated September
8, 2000 between PPF OFF Two Park Avenue Owner, LLC as assignee of Two Park Company,
("Landlord"), and Artisanal, Fromagerie & Bistro, LLC, ("Tenant"), as amended



Dear Ms. Blake,
Per our discussion and pursuant to Section 12.1(A) of the Lease, Tenant hereby requests
Landlord's consent to permit Sarid Drory and/or his investors to acquire greater than a 49%
ownership interest in Tenant and to approve the resulting change of control of Tenant under the
Lease. Upon Landlord's consent to the transfer, Landlord agrees that such change in control
shall not constitute a breach of the terms of the Lease.

Further, the parties agree that Landlord's consent to waive Sections 12.8 and 12.9 of the
Lease shall not preclude Landlord and Tenant from negotiating new provisions relating to a
Sale of Business Assignment in an Amendment of the Lease with Tenant. Notwithstanding
the foregoing, Tenant acknowledges it shall be responsible for the payment of the additional
Assignment Rent as set forth in the Lease.

Kindly acknowledge your consent to the change of ownership requested by Tenant above by
executing and returning a copy of this letter to Tenant.

Sincerely,



Sarid Drory
Artisanal Fr•4,•ateri    Bistro, LLC
                     fir

Agreed and accepted by:
PPF OFF Two Park Avenue Owner, LLC, Landlord


By:                                   Date: October , 2014
Name:
Exhibit 2
  Ir.). WAKEFIELD.
0:11 ii CUSHMAN &
     Global Real Estate Solutions




July 1, 2015

Artisanal Fromagerie
2 Park Avenue
New York, NY 10016


Lease ID                                       ny2p0003
Unit                                           011RT/111LL



Re: Two Park Avenue - 2015/2016 Preliminary Real Estate Taxes



*** Additional Rent Based upon Real Estate Tax Escalation per Lease***

Current Year Real Estate Taxes                                                       $ 10,808,372.16

Base Year                                      2000                                      4,220,341.00

Increase over Base Year                                                                  6,588,031.16

Your Pro Rata Share as per Lease                        1.0000%                              65,880.31
Proration for days occupied                               92/365                             16,605.45

Your Share of the Tax Increase for the Current Fiscal Period                                 16,605.45

Less: Amounts Previously Billed

Total Preliminary Real Estate Taxes for Fiscal 2015-2016                             $       16,605.45


Estimated Monthly Billing starting July 1, 2015                                      $        5,535.15


Billable Assessed                                 98,534,070.00
Tax Rate                                               10.6840%
Property Taxes                                    10,527,380.04
Bid Taxes                                            280,992.12
Tax Certiorari Fee
Gross Property Taxes                              10,808,372.16


If you have any questions regarding this statement, please feel free to call Noemi Nin @ (212) 481-3480
or noemi.nin@cushwake.com
Exhibit 3
      SECKENDORF HASSON & REILLY CPA'S, LLC
                                   CERTIFIED PUBLIC ACCOUNTANTS

Bruce S. Seckendorf; CPA                                                     3000 Marcus Avenue, Suite 3 W 4
David M. Hasson, CPA                                                           Lake Success, New York 11042
Robert P. Reilly, CPA                                                    (516) 488-8400 Fax: (516) 488-8487




     March 26, 2015


     2 Park Avenue Management
     2 Park Avenue
     New York New York 10016

     Gentlemen,

     We are the accountants for Artisanal Fromagerie & Bistro LLC. Attached please find a copy of
     the Percentage Rent calculation for 2014, in accordance with the lease. Please note that these
     calculations have been checked by us, and we are in agreement with them. Sales per the
     calculation are in accordance with company records, for which there are appropriate records.

     Please contact the undersigned with any further questions.

     Sincerely,



     David M. Hasson, CPA
Artisanal Fromagerie & Bistro LLC
Percentage Rent
January through December 2014
                                       Jan - Dec 14
                                       ■




        Income
           Comps, Discounts & Promos         228,698
                                               -




           Sales                           7,181,496
        Total NET Income                   6,952,798



           Less : 5 million                -   5,000,000


           Excess of 5 million                 1,952,798


           Multiply by 6 %

           Payable to PPF                  117,168




                                                           Page 1 of 1
Exhibit 4
lectric ServicE                                                                                                                                    Amount Due This Period

 rvice Address:
:cupant Name:
.nant Number:
                                   2 Park Avenue Acct#: 0003
                                   Artisinal
                                   26455
                                                                                                                                               I              $16,045.53


II To:                                                                                                                                                                           Page 1 of 1

                       Artisinal                                                                                     Cushman & Wakefield A/A/F
                       Fromagerie & Bistro - LLC                                                                     ATTN: Nancy Roman
                       2 Park Avenue                                                                                 PPF OFF Two Park Avenue Owner, LLC
                       New York, NY 10016                                                                            2 Park Avenue
                                                                                                                     New York, NY 10016




r 37 days from August 24, 2015 to September 30, 2015                                                     Average Cost: 0.121531/KWH + 41.185/KW + 4.000%

     Meter                                            Energy (KWH)                                                    Demand (KW)                                           Charge
                                           On Peak                Off Peak                 Transmission         Primary                   Secondary             _


                          Cur                   691566                                                                    23.000
  005858                 Prior                  677216                                                                     0.000
                         Mult                      1.00                                                                     1.00
                         Use                     14350                                                                    23.000

                          Cur                   662218                                                                    94.000
  005945                 Prior                  606718                                                                     0.000
                         Mult                      1.00                                                                     1.00
                         Use                     55500                                                                    94.000

                          Cur                    24411                                                                    10.500
  081575                 Prior                   20867                                                                     0.000
                         Mult                      1.00                                                                     1.00
                          Use                     3544                                                                    10.500

                       Totals:                   73394                                                                  127.500                                                 14,170.74

                                                                                                                               Admin Fee@ 4.000%                                    566.83
                                                                                                                                Sales Tax@ 8.875%                                 1,307.96

                                                                                                                                                          Total               $16,045.53


                                                                                Historical Usage
                                                                  On Peak KWH -- Off Peek KWH -- KW
     80000                                                                                                                                                                              140




                                                  II
                                                                                                                                                                                    — 120

                                                                                                                                                                                    — 100
                                                                                                                                                                                    — 8.0

                                                                                                                                                                                    — 60

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     20000 -
                                                                                                                                                                                    — 20


                    Sep           Oct           Nov   l Dec           Jan          Feb         Mar          Apr          May          Jun           Jul    r Aug            Sep
                    23            23            21       23           26           25          26           24           26           24            24          24          23
                    14            14            14       14           15           15          15           15           15           15            15          15          15




                                       •-• - —


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         LJuilly a. I 1,11,7vrizacip.i7itarvu             prepared by: Utilities Research Associates Group, Inc.
rates are based on a 30-day bill period. Where a bill Is rendered for other than a 30-day period, the rates and charges are prorated on the basis of the number of elapsed days divided by 30.
Vater Service                                                                                                                          Amount Due This Period

 rvice Address:
:cupant Name:
nant Number:
,
                                   2 Park Avenue
                                   Artisinal
                                   26455
                                                                                                                                                 $11,900.69
                                                                                                                                                                          1
II To:                                                                                  Remit To:                                                                   1 ^f1


                         Artisinal                                                                                      Cushman & Wakefield A/A/F
                         Fromagerie & Bistro - LLC                                                                      ATTN: Nancy Roman
                         2 Park Avenue                                                                                  PPF OFF Two Park Avenue Owner, LLC
                         New York, NY 10016                                                                             2 Park Avenue
                                                                                                                        New York, NY 10016




    r 37 days from August 24, 2015 to September 30, 2015                                                                 H=Hot, C=Cold, A=Air Conditioning, M=Master

        Meter                                           Water                                                     Amount ($)                             Charge
                                                                   Cubic Feet                                           Water          Sewer
                                   .                                                                                                               —

                           Cur                684372
33038139                   Prior              672312
                           Mult                   10
                           CuFt               120600                    120600                                          4,594.86       7,305.83               11,900.69

                         Totals:                                        120600                                          4,594.86       7,305.83               11,900.69

                                                                                                                                        Sales Tax                  0.00

                                                                                                                                               Total         $11,900.69


                                                                                 Historical Usage
                                                                                  Water (Cubic Feet)
        140000                                                                                                                                                 140000

        120000 —                                                                                                                                              - 120000

        100000 --                                                                                                                                              100000

          8000.0 +                                                                                                                                            - 80000

          60000 --                                                                                                                                            - 60000

          40000 • -                                                                                                                                            40000

          20000 —                                                                                                                                            -- 20000

                0                                                                                                                                              0
                        Sep     1I
                                Oct             Nov     1    Dec    1   Jan         Feb     I   Mar     I   Apr     1   May     Jun   II
                                                                                                                                      Jul Aug          Sep
                        23             23       21           23         26          25          26          24          26      24    24  24           23
                        14             14       14           14         15          15          15          15          15      15    15   15          15




    (31.tiniv CROUP
                                                            prepared by: Utilities Research Associates Group, Inc.
    trges covered by this invoice are now due and payable. Late charges may be applied to the unpaid portion of your account.
Exhibit 5
                                                                                            C UASKHERI
                                                                                  141411101IN       FA I EN
                                                                                                          LD81,,
         Cushman & Wakefield, Inc.                                                                                                                               Page 1 of 2
         1290 Avenue of the Americas
         7th Floor
         New York, NY 10104-6178


    Direct Inquiries To:                                                                                   emit To:      PPF OFF Two Park Avenue Owner LLC
    Building Office                                                                                        are Of:
    2 Park Avenue                                                                                         0 Box 30941
                                                                                                          ew York, NY 10087-0941
    Phone: (212)481-3480

                Artisanal Fromagerie
                2 Park Avenue                                                                                         Statement Date:           2/24/2015
                New York, NY 10016
                                                                                                                      Note: Payments received after 2/24/2015
                                                                                                                             may not be reflected on this statement.


    PLEASE MAKE CHECKS PAYABLE TO :                                          PPF OFF Two Park Avenue Owner LLC

                                     Charge                                                                                                                 Running
                   Date               Code                                           Description                                   Balance                  Balance

            02/01/2015           parking         Garage/Parking (01/2015)                                                                 300.00                  $300.00
            02/01/2015           parking         Garage/Parking (02/2015)                                                                 300.00                   600.00
            02/01/2015           salestax        Sales Tax (01/2015)                                                                       55.13                   655.13
            02/01/2015           salestax        Sales Tax (02/2015)                                                                       55.13                   710.26
            03/01/2015           submeter        12/23-01/26/15 Electric                                                                 9,719.11               10,429.37
            03/01/2015           salestax        12/23-01/26/15 Electric Sales Tax                                                        862.57                11,291.94
            03/01/2015           water           12/23-01/26/15 Water                                                                    8,842.23               20,134.17
            03/01/2015           rent            Base Rent (03/2015)                                                                    36,000.00               56,134.17
            03/01/2015           rent            Base Rent (03/2015)                                                                      333.33                56,467.50
            03/01/2015           parking         Garage/Parking (03/2015)                                                                1,200.00               57,667.50

-   Tear Here                                                                               Tear Here                                                              —    Tear Here

     PLEASE MAKE CHECKS PAYABLE TO :                                    PPF OFF Two Park Avenue Owner LLC                     Return this Stub w/Payment

         TENANT CODE:                       ny2p0003                                        TENANT NAME:    Artisanal Fromagerie
         PROPERTY CODE:                     ny2park                                         PROPERTY NAME: Two Park Avenue

                            Charge                                                                                              Charge                    Please Check
                Date         Code                                             Description                                        Amt.                   your paid charges
      02/01/2015          parking            Garage/Parking (01/2015)                                                                300.00                         )


      02/01/2015          parking            Garage/Parking (02/2015)                                                                300.00                         )


      02/01/2015          salestax           Sales Tax (01/2015)                                                                        55.13                       )


      02/01/2015          salestax           Sales Tax (02/2015)                                                                        55.13                       )


      03/01/2015          submeter            12/23-01/26/15 Electric                                                              9,719.11                         )


      03/01/2015          salestax            12/23-01/26/15 Electric Sales Tax                                                      862.57                         )


      03/01/2015          water               12/23-01/26/15 Water                                                                 8,842.23                         )


      03/01/2015          rent               Base Rent (03/2015)                                                                  36,000.00                         )


      03/01/2015          rent               Base Rent (03/2015)                                                                     333.33                         )


      03/01/2015          parking            Garage/Parking (03/2015)                                                              1,200.00                         )
                                                                                          C UASKHERI
                                                                                141411101IN       FA I EN
                                                                                                        LD81,,
         Cushman & Wakefield, Inc.                                                                                                                             Page 2 of 2
         1290 Avenue of the Americas
         7th Floor
         New York, NY 10104-6178


    Direct Inquiries To:                                                                                  emit To:      PPF OFF Two Park Avenue Owner LLC
    Building Office                                                                                       are Of:
    2 Park Avenue                                                                                         0 Box 30941
                                                                                                          ew York, NY 10087-0941
    Phone: (212)481-3480

                Artisanal Fromagerie
                2 Park Avenue                                                                                        Statement Date:         2/24/2015
                New York, NY 10016
                                                                                                                     Note: Payments received after 2/24/2015
                                                                                                                            may not be reflected on this statement.


    PLEASE MAKE CHECKS PAYABLE TO :                                          PPF OFF Two Park Avenue Owner LLC


                                       Charge                                                                                                             Running
                   Date                Code                                         Description                                   Balance                 Balance

            03/01/2015           rtc             RE Tax - Curr Yr estimate (03/2015)                                                   5,501.00               $63,168.50
            03/01/2015            salestax        Sales Tax (03/2015)                                                                    220.50                63,389.00

                                                        Total                                                                      $63,389.00




-   Tear Here                                                                               Tear Here                                                             —    Tear Here

     PLEASE MAKE CHECKS PAYABLE TO :                                    PPF OFF Two Park Avenue Owner LLC                    Return this Stub w/Payment

         TENANT CODE:                        ny2p0003                                       TENANT NAME:    Artisanal Fromagerie
         PROPERTY CODE:                      ny2park                                        PROPERTY NAME: Two Park Avenue

                                Charge                                                                                         Charge                  Please Check
                Date            Code                                          Description                                       Amt.                 your paid charges
      03/01/2015          rtc                 RE Tax - Curr Yr estimate (03/2015)                                                 5,501.00                (        )


      03/01/2015          salestax            Sales Tax (03/2015)                                                                   220.50                (        )




                                                    Total                                                                              $63,389.00
Yardi Systems, Inc. - Receivables - Detailed Receipt                                                                        Page 1 of 2



                                                                                                                 Jump To I


  Property Iny2park                     Two Park Avenue         Ctrl 92382 Batch 35269                              Data/ Reports
                                                                Date Received     103/09/2015                         Attachment
  Unit           LL111                  2 Park Avenue
                                                                                                                            Memo
                                                                Post Month        103/2015
                 ny2p0003               Artisanal Fromacierie
  Tenant
                                        Status=Current          Check Num.        16007

  Amount 63,389.00

  Payer      1                                                  Payment Method I Check                    V


                              C harge                                             Prior
          Pay                               Acct         Date       Charge                       Ref       Description          Chg
                               Code                                               Paid
                                                                                               :CAM
                                                                                                          Garage/Parking
   300.00                 parking          4105030   02/01/2015       1,100.00     800.00    PostTran                         236028
                                                                                                            (
                                                                                                            (02/2015)
                                                                                             Unit:0011
                                                                                               :CAM
                                                                                                               Sales Tax
   55.13                  salestax         2109930   02/01/2015          202.13     147.00   PostTran                         236026
                                                                                                              (01/2015)
                                                                                             Unit:0011
                                                                                               :CAM
                                                                                                          Garage/Parking
   300.00                 parking          4105030   02/01/2015       1,100.00     800.00    PostTran                         236024
                                                                                                            ( 01/2015)
                                                                                             Unit:0011
                                                                                               :CAM
                                                                                                               Sales Tax
   55.13                  salestax         2109930   02/01/2015          202.13     147.00   PostTran                         236030
                                                                                                              (02/2015)
                                                                                             Unit:0011
                                                                                                           RE Tax - Curr
                                                                                               :Post
   5,501.00               rtc              4103010   03/01/2015       5,501.00        0.00                 Yr estimate        237346
                                                                                             Unit:0011
                                                                                                            (03/2015)
                                                                                                 Post     Garage/Parking
   1,200.00               parking          4105030   03/01/2015       1,200.00        0.00                                    237347
                                                                                             Unit:0011      (03/2015)
                                                                                               :Post           Sales Tax
   220.50                 salestax         2109930   03/01/2015          220.50       0.00                                    237348
                                                                                             Unit:0011        (03/2015)
                                                                                               :Post           Base Rent
   36,000.00              rent             4101010   03/01/2015     36,000.00         0.00                                    237345
                                                                                             Unit:0011        (03/2015)
                                                                                                :Post          Base Rent
   333.33                 rent             4101010   03/01/2015          333.33       0.00                                    237344
                                                                                             Unit:LL111       (03/2015)
                                                                                                              12/23-
   8,842.23               water            4103522   03/01/2015       8,842.23        0.00   Unit:0011                        236497
                                                                                                          01/26/15 Water
                                                                                                               12/23-
   9,719.11               submeter         4103520   03/01/2015       9,719.11        0.00      :Load 0       01/26/15        236519
                                                                                                               Electric
                                                                                                              12/23-
                                                                                                             01/26/15
   862.57                 salestax         2109930   03/01/2015          862.57       0.00      :Load 0
                                                                                                           Electric Sales
                                                                                                                Tax

                          Unapplied


                   Deposit Information                                            Notes
  Number                 44                                     03/09/2015 Cash receipt
  Date                   03/09/2015
  Memo                                                                                                    V


            NSF                          Print Rec                Help




https://www.yardiasp.com/cushwake/iData.ASP?WCI=begin&Action=D&iFunction=3&i.. . 4/28/2016
Exhibit 6
                                                                               11111111 CUSHMAN 8t
                                                                                        WAKEFIELD
                                                                                Cushman & Wakefield, Inc.
Jason Greenstane                                                                 1290 Avenue of Americas
Retail ServicesGroup                                                             New York, NY 10014
                                                                                (212)841 7713 Direct
                                                                                (212)841 7500 Tel
                                                                                Jason Greenstone@cudiwake cam




         April 7, 2016




          RE:                           - 2 Park Avenue, New York, NY


         Dear

            e are pleased to submit the following proposal for                     to lease of the
                     space currently occupied by Artisanal at 2 Park Avenue.

         Following your review and approval, please execute and return at your convenience. We
         look forward to proceeding with                    's tenancy.


          Thank you,




         Jason Greensrone



         cc: Maria Blake, Morgan Stanley
             Jacob Lewis, Morgan Stanley
             Michael O'Neill, Cushman & Wakefield, Inc.
                                                                                                                                                    Cushman & Wakefield, Inc.
   2 Park Aven ue
   April 7,2016
   Page 2 of 6

     Property:                                        2 Park Avenue

     Tenant:                                                              to be operated by


     Security Deposit:                                          0
     Guaranty:

     Landlord:                                        PPF OFF Two Park Avenue Owner, LLC

     Premises:                                        The Premises shall consist of Ground Floor, Mezzanine, and Lower Level space
                                                      as noted below and as illustrated on the attached plans in Exhibit A

                                                      Mezzanine                            3,296 sf
                                                      Mech. Mezzanine                        713 sf
                                                      Ground Floor
                                                      Lower Lev el
                                                      Total
                                                                                         _ 4,225 sf
                                                                                           1,032 sf
                                                                                           9,266 sf

     Use:




     Lease Term:

     Renewal Option:




     Lease Date:


     Base Rent:

     Base Rent Escalations:

     Percentage Rent:




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                                                                                                                                                  Cushman& Wakefield, Inc.
   2 Park Ave n ue
   Apri17, 2016
   Page 3 of 6

      Rent Commencement Date:

      Possession Date:                               Upon substantial completion of Landlord's Work and delivery of Vacant Space
                                                     estimated to be August I, 2016.
      Real Estate Taxes:

      Landlord's Work :




     Tenant Improvements:                            I
                                                    I


                                                    ■
                                                    ■

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                                                                                                                                                                         Cushman & Wakefield, Inc
   2 Park Avenue
   April 7,2016
   Page 4 of 6

      Cleaning & Maintenance:




      Assignment & Sublet:

      Legal Use & Occupancy:


      Operating Covenant                                       I


                                                                                                                                                                                             r
                                                               I




      Hazardous Materials:




      Restoration;




      Signage:




      Utilities:




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                                                                                                                                                             Cushman & Wakefield, Inc.
   2 Park Avenue
   April 7,2016
   Pages of 6

      Brokerage:




      Confidentiality:




     AGREED AN ACCEPTED:                                                             AGREED ND ACCEPTED:

    By                                                                               By:

                       /ie-Q. 6'01 iVivj

    Date:            Z 17/         //Gt                                              Date:




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                                                                                                                                                         Cushman & Wakefield, Inc.
    2 Park Avert ut
    April 7,2016
    Page 6 of 6



                                                                  FLOOR PLAN - EXHIBIT A



                                                                                                                       %VW Vet W.LiAlthi
                                                                                                                             1.244




                                                                                                                         MEZZANINE
                                                                                                                         3,296 SF
                                                            OW..0 i.

                                                                    ICI



                                                                   13




                                                 GROUND FLOOR- 32ND ST
                                                 4,225 SF




                                            BASEMENT STORAGE                                        MECHANICAL MEZZANINE
                                            1,032 SF                                                713 SF




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Exhibit 7
Tran. Date                                                                                        Report Time
Value Date   Description                 Customer Ref.             Bank Ref.      Credit Amount           (ET)

09/09/2015   LETTER OF CREDIT CDT                                  0205319111LC       50,000.00     05:48 PM
09/09/2015

             RS NO :         T205319 SEQ# 111
             ACC NO :        000111
             DESCR :         STANDBY LC SIGHT PAYMENT CREDIT
             BENE    :       L/C BENEFICIARY
             DRAFT AMT :     50,000.00 USD
             TENOR :         SIGHT
             FX RATE :       1.000000000 /USDUSD EQUIV 50,000.00
             EXPIRATION :    09/06/15
                                            Face of the draft

 Drawn under JPMorgan Chase, N.A. Letter of Credit Number T-205319 dated September 8, 2000.


                                                        Date:    August 26, 2015

 At Sight of this SOLE BILL OF EXCHANGE,

 Pay to the order of PPF OFF Two Park Avenue Owner, LLC the sum of USD $50,000.00

 ***FIFTY THOUSAND DOLLARS AND NO CENTS*** U.S. Dollars




 To: JPMorgan Chase, N.A.                          From:        PPF OFF Two Park Avenue Owner, LLC
      131 S. Dearborn, 5th Floor
     Mail Code IL1-0236
     Chicago, IL 60603-5506
     Attn: Standby Letter of Credit Department

                                                                Maria Blake, Authorized Signer



        *If so stated in the LC, form of this phrase must be identical to language specified in LC




Back of draft




          PPF OFF TWO PARK AVENUE OWNER, LLC




             Maria Blake, Authorized Signer
Exhibit C
Exhibit D
Exhibit E
Exhibit F
                                                                    COURT COURTE'L ►


  CIVIL COURT OF THE CITY OF NEW YORK
  COUNTY OF NEW YORK


 PPF OFF TWO PARK AVENUE OWNER, LLC,                            L&T No. 50707/16

                              Petitioner-Landlord,
                against                                            DECISION & ORDER

 ARTISANAL FROMAGERIE & BIS fRO, LLC,

 2 Park Ave.,
 New York, NY 10016
                              Respondent-Tenant.


 Anthony Cannataro, J.:

               In this holdover proceeding, respondent moves to dismiss for failure to
 establish personal jurisdiction. Petitioner cross-moves for summary judgment seeking a
judgment of possession as well as a money judgment for use and occupancy.



Factual Background

               On September 8, 2000, respondent entered into a lease for the premises with
petitioner's predecessor-in-interest. The lease expired on September 30, 2015, and was
not renewed.

               Section 1.1 of the lease establishes the base rent for the period from
September 30, 2010 to September 30, 2015 at $36,000 per month. Section 27.5 of the lease
provides for an additional rent that is 6% of all of respondent's annual gross sales after
the first $5,000,000. There is also an escalation rent that accounts for rising taxes.
                                                                   COURT COuRTEs CoPY I

                Section 37.9 of the lease states that the tenant submits to jurisdiction in any
  New York court for a proceeding brought by the landlord on a matter arising from the
  lease, and waives personal service of the summons and complaint. The tenant consents
  to service by mail to the address of the premises.

               Article 20 of the lease contains the following provisions:

        "Tenant expressly waives. . . any right which Tenant or any such person
        may have under the provisions of Section 2201 of the New York Civil
        Practice Law and Rules. . . in connection with any holdover summary
        proceedings which Landlord may institute to enforce the foregoing
        provisions. . . The parties recognize and agree that the damage to
        Landlord... will exceed the amount of the monthly installments... and will
       be impossible to accurately measure. . . . Tenant shall pay to Landlord on
        account of use and occupancy. . a sum equal to the greater of (i) two (2)
       times the aggregate of that portion of the Fixed Rent, Escalation Rent and
       Rental which was payable under this lease during the last month of the
       Term, and (ii) two (2) times the then fair market rental value for the
       Premises. . . . [N]o acceptance by Landlord of payments from Tenant after
       the Expiration Date shall be deemed to be other than on account of the
       amount to be paid by Tenant in accordance with the provisions of this
       Article 20."

              Service upon respondent was first attempted on January 11, 2016. Mr.
Pariente, the manager of respondent, refused to accept process. On January 12, 2016,
service was attempted again, and a copy of the summons and complaint were mailed to
respondent at the premises.



Arguments

             Respondent moves to dismiss by alleging failure to serve properly on
January 11 and January 12. There is a great deal of disagreement regarding what exactly
happened on those two days, which prompts respondent to suggest that, at a minimum,

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  a traverse hearing is needed. Petitioner disagrees pointing out, among other assertions,
  that respondent consented to service by mail in Sections 37.9 of the lease.

                 Petitioner cross-moves for summary judgment seeking possession and use
  and occupancy, attaching the lease and pointing out that it has expired and has not been
  renewed. Petitioner seeks use and occupancy at $149,156.44 per month, twice the total
 rent for the last month of the term, or $74,578.22.

                Respondent argues that it has the right to first file an answer to the petition,
 pursuant to CPLR § 3211 and CPLR § 404(a). Respondent further argues that because it
 has been billed by petitioner and paid the bill, a month-to-month tenancy has been
 established. Finally, respondent - asserts that petitioner cannot prove that the lease it has
 attached is the actual lease that respondent signed with petitioner's predecessor-in-
 interest. Regarding petitioner's request for use and occupancy, respondent contends that
 it only paid $36,000 in rent for the final month of the term, and that such a high calculation
 of use and occupancy is unreasonable and disproportionate to the damages incurred by
 petitioner.

               Petitioner asserts that there is no absolute right to file an answer following
denial of a motion to dismiss. The court may permit an answer to be interposed, but the
law does not require it. Petitioner points to CPLR § 409(b) regarding summary
proceeding determinations. Further, petitioner points out that under Article 20 of the
lease any billing and payments between the landlord and the tenant following the
conclusion of the term are deemed to be use and occupancy, not rent. On the doubling of
rent as a measure of use and occupancy, petitioner argues that courts routinely uphold
liquidated damages provisions in leases.

               Respondent requests a stay on the warrant of eviction pursuant to CPLR §
2201, needing more time to relocate. Petitioner points out in response that respondent

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   waived that right in Article 20 of the lease, and further argues that a stay would
   substantially harm petitioner by delaying the entrance of a new tenant.



  Discussion

  I. Respondent's Motion to Dismiss

                There is a great deal of dispute as to what exactly happened on January 11
  and 12, 2016. However, both parties agree that the process server attempted to serve Mr.
  Pariente on his first visit and that Mr. Pariente refused to accept service. The parties
  further agree that some form of second attempt at service was made the following day.
 Both sides agree that a copy of the papers was mailed on January 12, 2016.

               As petitioner points out, paragraph 37.9 of the lease states that the tenant
 waives personal service and consents to service by mail, which is permissible under law
 (see, Alfred E. Mann Living Trust v ETIRC Aviation S.a.r.I.,   17 A.D.3d 137, 140 [1st Dept
 20101). As it is conceded that service by mail was made on January 12, 2016, petitioner
 has established personal jurisdiction over respondent by serving in the manner
 prescribed by the lease.



II. Petitioner's Cross Motion for Summary Judgment

             "The proponent of a summary judgment motion must make a prima fade
showing of entitlement to judgment as a matter of law, tendering sufficient evidence to
demonstrate the absence of any material issues of fact" (Alvarez v. Prospect Hosp., 68
N.Y.2d 320, 324 [19861). The opposition to a motion for summary judgment must
"assemble and lay bare her affirmative proof to demonstrate the existence of genuine,
triable issues" (Corcoran Group, Inc. v Morris, 107 A.D.2d 622, 624 [1st Dept 19851 affd, 64

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  N.Y.2d 1034 [1985]). "[Mjere conclusions, expressions of hope or unsubstantiated
  allegations or assertions are insufficient" (Zuckerman v. City of New York, 49 N.Y.2d 557,
  562 [19801), and "a shadowy semblance of an issue" will not defeat the motion (see Gordian
  v Consol. Edison Co. of New York, Inc., 60 A.D.3d 600, 6W. [1st Dept 2009]). Petitioner has
  averred and shown in evidence that the lease expired on September 30, 2015, and was not
  renewed, and that it is therefore entitled by law to possession and use and occupancy.
  Respondent has raised a host of arguments in opposition to petitioner's cross motion,
 which this Court will address in seriatim.

               First, respondent argues that it has the right to file an answer to a petition
 before summary judgment is decided, pursuant to CPLR § 3211 and CPLR § 404(a).
 However, § 404(a) says that a respondent may respond in an answer or a motion to
 dismiss, and that if a motion to dismiss is denied, "the court may permit the respondent
 to answer." CPLR § 3211 goes into more depth about motions to dismiss. This Court has
 Respondent's objections in point of law in its motion and reply papers, and is disinclined
 to delay proceedings further by permitting service of additional, redundant papers (see
 In re Dodge's Trust, 25 N.Y.2d 273, 286-87 [19691; In re Application of Cunningham, 75 A.D.2d
521, 522 [1st Dept 19801).

              Second, respondent argues that a month-to-month tenancy has been
created because petitioner billed respondent and respondent paid the bill. This might
raise a triable issue but for the fact that the lease accounts for such an event. Article 20 of
the lease provides that any acceptance by the landlord of payment after the expiration of
the lease is use and occupancy, not rent. The lease therefore precludes a month-to-month
tenancy from being established in the manner proposed by respondent (See RPL § 232-c
[Acceptance of rent after the expiration of a term creates a month-to-month tenancy
unless an agreement provides otherwise]).



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               Third, as a last resort argument, respondent states that petitioner cannot
 prove that the lease it has attached is the actual lease that respondent signed with
 petitioner's predecessor-in-interest. However, respondent has not provided any
 affirmative proof to substantiate this argument especially, as one might expect to see, in
 the form of an alternative lease for the premises. This assertion barely meets the criteria
 for "unsubstantiated allegations or assertions" which the Court of Appeals long ago held
 cannot be successfully' used to defeat a prima facie showing of entitlement to summary
 judgment (Zuckerman, 49 N.Y.2d at 562 [1980]). This argument only warrants discussion
 insofar as it exemplifies that sort of semantic gamesmanship that will rarely, if ever,
 suffice to defeat summary judgement.



 III. Use and Occupancy

              Article 20 of the lease sets use and occupancy for a holdover at the greater
of either two times the last month's rent, or two times the fair market value. Petitioner
alleges that the total rent for the last month of the term was $74,578.22, and it is therefore
entitled to use and occupancy at 8149,156.44 per month.

              Both sides have argued the reasonableness of this figure and provided case
law to support their respective positions, but most persuasive is the binding Court of
Appeals case that both parties cited. "A liquidated damage provision has its basis in the
principle of just compensation for loss. A clause which provides for an amount plainly
disproportionate to real damage is not intended to provide fair compensation but to
secure performance by the compulsion of the very disproportion" (Truck Rent-A-Center,
Inc. v Puritan Farms 2nd, Inc., 41. N.Y.2d 420, 424 11977] [internal citation omitted]). The
Court of Appeals stated that a liquidated damages provision could not be upheld if it
were found to be disproportionate to the damage incurred by the non-breaching party.

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 Following this guideline, this Court need only look at the language in the lease which
 provides for such a calculation to determine whether it meets the standard of "fair
 compensation".

               The lease mandates that the tenant pay the greater of either two times the
 last month's rent or two times the fair market value. The amount requested is two times
 the alleged total rent for the last month, which this Court infers from the language of the
 lease to be equal to or greater than twice the fair market value. Respondent argues that
 fair market value would be a reasonable estimation of the actual damages suffered by
 petitioner for not being able to lease the premises to a new tenant. At a glance, this
provision calls for an amount that is "plainly disproportionate" to that value, and one
that the Court of Appeals instructs is designed to "secure performance by the compulsion
of the very disproportion" (Id.).

              While this Court acknowledges that petitioner has cited to cases where
other courts have upheld exorbitant liquidated damages provisions, it is unprepared to
enforce a provision here that is of a type that the Court of Appeals has so unequivocally
disapproved — at least absent a hearing to determine the fair value for use and occupancy
(see, e.g., Truck Rent-A-Center, Inc., 41 N.Y.2d at 424; Equitable Lumber Corp. v IPA Land
Development Corp., 38 N.Y.2d 516, 521 119761 IA liquidated damages provision is valid if
it is proportional to either the damages anticipated by the parties in the event of a breach,
or the actual damages incurred by the non-defaulting party as a result of the breach1).



IV. A Stay on the Warrant of Eviction

              Respondent requests a stay on the warrant of eviction pursuant to CPLR §
2201. The arguments on this issue are replete with ad hominem attacks from both sides,
but in substance boil down to respondent's claim of not having enough time to relocate

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and petitioner's claim that it needs to free up the space for the next tenant. Petitioner
further argues that respondent has waived its right to seek a stay under article 20 of the
lease, and is therefore precluded from requesting a stay. Given the determination the
other issues above, there is no need for a stay any longer. Accordingly, it is

                ORDERED    that Respondent's motion to dismiss is denied; and it is further

                ORDERED    that Petitioner's cross motion for summary judgment is granted;
and it is further

                ORDERED   that the warrant of eviction shall issue forthwith; and it is further

                ORDERED    that the parties shall appear in Part 52 on /0/3                2016
                                                                               ■
for a hearing to determine a fair value of past use and occupancy to be paid by
respondent.

                This constitutes the decision and order of this court.

Dated:   ..‘"




                                                   ENTER:




                                                   Anthony Cannataro, JCC




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Exhibit G
Exhibit H
Exhibit I
Exhibit J
